        Case 3:19-cv-01743-SI       Document 91        Filed 11/21/19   Page 1 of 125




JOSEPH H. HUNT
Assistant Attorney General, Civil Division
BILLY J. WILLIAMS
United States Attorney
AUGUST E. FLENTJE
Special Counsel, Civil Division
WILLIAM C. PEACHEY
Director, Office of Immigration Litigation
District Court Section
COURTNEY E. MORAN
Trial Attorney
BRIAN C. WARD
Senior Litigation Counsel
P.O. Box 868, Ben Franklin Station
Washington, D.C. 20044
(202) 616-9121
brian.c.ward@usdoj.gov
Attorneys for Defendants

                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                   PORTLAND DIVISION
                                                   )
JOHN DOE #1; JUAN RAMON MORALES;                   )    CASE NO. 3:19-cv-01743-SI
JANE DOE #2; JANE DOE #3; IRIS                     )
ANGELINA CASTRO; BLAKE DOE; BRENDA                 )
VILLARRUEL; and LATINO NETWORK,                    )
                                                   )    DOCUMENTS PRODUCED
              Plaintiffs,                          )    TO PLAINTIFFS PURSUANT
   v.                                              )    TO ECF NO. 83
                                                   )
DONALD TRUMP, in his official capacity as          )
President of the United States; U.S.               )
DEPARTMENT OF HOMELAND SECURITY;                   )
CHAD F. WOLF, in his official capacity as          )
Acting Secretary of the Department of Homeland     )
Security; U.S. DEPARTMENT OF HEALTH                )
AND HUMAN SERVICES; ALEX M. AZAR II,               )
in his official capacity as Secretary of the       )
Department of Health and Human Services; U.S.      )
DEPARTMENT OF STATE; MICHAEL                       )
POMPEO, in his official capacity as Secretary of   )
State; and UNITED STATES OF AMERICA,               )
                                                   )
              Defendants.                          )
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 2 of 125




                              001
      Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 3 of 125




9 FAM 302.14-11 (U) PRESIDENTIAL
PROCLAMATION 9945

9 FAM 302.14-11(A) (U) Grounds
(CT:VISA-XXX;     XX-XX-2019)
a. (U) On October 4, 2019, President Trump issued Presidential
   Proclamation 9945 on the Suspension of Entry of Immigrants who
   will Financially Burden the United States Healthcare System, in
   Order to Protect the Availability of Healthcare Benefits for
   Americans.
b. (U) INA 212(f) provides that whenever the President finds that
   the entry of any aliens or of any class of aliens into the United
   States would be detrimental to the interests of the United States,
   he may by proclamation, and for such period as he deems
   necessary, suspend the entry of all aliens or any class of aliens as
   immigrants or nonimmigrants, or impose on the entry of aliens
   any restrictions he may deem to be appropriate.
c. (U) P.P. 9945 takes effect on November 3, 2019, at 12:01 EDT,
   and suspends and limits entry of aliens as immigrants who
   cannot demonstrate that they will be covered by approved health
   insurance within 30 days of entry into the United States or that
   they possess the financial resources to pay for reasonably
   foreseeable medical costs in the United States.

9 FAM 302.14-11(B) (U) Application

9 FAM 302.14-11(B)(1) (U) P.P. 9945 Applicable to
Certain Immigrant Visa Applicants
(CT:VISA-XXX;     XX-XX-2019)
(U) The suspension and limitation on entry pursuant to P.P. 9945
applies only to aliens seeking to enter the United States pursuant to
an immigrant visa. The suspension and limitation on entry does not
apply to:



                                       002
                              SENSITIVE BUT UNCLASSIFIED
     Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 4 of 125




  (1) (U) Any alien holding (or who held) a valid immigrant visa as
      of November 3, 2019;
  (2) (U) Any alien seeking to enter the United States pursuant to
      a Special Immigrant Visa, in either the SI or SQ classification,
      who is also a national of Afghanistan or Iraq, and/or his or
      her spouse and children, if any;
  (3) (U) Any alien who is the child, whether adopted, biological,
      or step-child, of a United States citizen or who is seeking to
      enter the United States pursuant to an IR-2, CR-2, IR-3, IR-
      4, IH-3, or IH-4 visa;
  (4) (U) Any alien seeking to enter the United States pursuant to
      an IR-5 visa, provided that the alien or the alien’s sponsor
      demonstrates to the satisfaction of the consular officer that
      the alien’s healthcare will not impose a substantial burden on
      the United States healthcare system;
  (5) (U) Any alien seeking to enter the United States pursuant to
      a SB-1 visa;
  (6) (U) Any alien under the age of 18, except for any alien
      accompanying a parent who is also immigrating to the United
      States and subject to P.P. 9945;
  (7) (U) Any alien whose entry would further important United
      States law enforcement objectives, as determined by the
      Secretary of State or his designee based on a
      recommendation of the Attorney General or his designee;
  (8) (U) Any alien whose entry would be in the national interest,
      as determined by the Secretary of State or his designee on a
      case-by-case basis; or
  (9) (U) Any alien entering the United States without an
      immigrant visa, such as nonimmigrant visa applicants,
      including K visa applicants, lawful permanent residents,
      refugees, and asylees.

9 FAM 302.14-11(B)(2) (U) Inapplicable to
Nonimmigrants
(CT:VISA-XXX;    XX-XX-2019)



                                      003
                             SENSITIVE BUT UNCLASSIFIED
      Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 5 of 125




(U) P.P. 9945 is not applicable to nonimmigrants.

9 FAM 302.14-11(B)(3) (U) Qualifying Insurance or Ability
to Pay for Reasonably Foreseeable Medical Costs
(CT:VISA-XXX;     XX-XX-2019)
a. (U) P.P. 9945 suspends and limits the entry as immigrants of
   aliens who will financially burden the United States healthcare
   system. The P.P. provides that an alien will financially burden the
   United States healthcare system unless the alien will be covered
   by approved health insurance within 30 days of the alien’s entry
   into the United States, or the alien possesses the financial
   resources to pay for reasonably foreseeable medical costs.
b. (U) Approved health insurance means coverage under any of the
   following plans or programs:
  (1) (U) an employer-sponsored plan, including retiree plans,
      association health plans, and coverage provided by the
      Consolidated Omnibus Budget Reconciliation Act of 1985
      (COBRA);
  (2) (U) an unsubsidized health plan offered in the individual
      market within a State;
  (3) (U) a short-term limited duration health policy effective for a
      minimum of 364 days or until the beginning of planned,
      extended travel outside the United States;
  (4) (U) a catastrophic plan;
  (5) (U) a family member’s plan;
  (6) (U) a medical plan under chapter 55 of title 10, United States
      Code, including coverage under the TRICARE program;
  (7) (U) a visitor health insurance plan that provides adequate
      coverage for medical care for a minimum of 364 days or until
      the beginning of planned, extended travel outside the United
      States;
  (8) (U) a medical plan under the Medicare program; or




                                       004
                              SENSITIVE BUT UNCLASSIFIED
      Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 6 of 125




  (9) (U) any other health plan that provides adequate coverage
      for medical care as determined by the Secretary of Health
      and Human Services or his designee.

c. (U) For persons over the age of 18, approved health insurance
does not include coverage under the Medicaid program.

d. (U) A family member’s plan is an approved health insurance plan
even if subsidized, except that it may not include coverage under
the Medicaid program for persons over the age of 18, but may
include coverage under the Medicaid program for persons under the
age of 18.

9 FAM 302.14-11(B)(4) (U) Determining Ineligibility
Under P.P. 9945
(CT:VISA-xxx;     xx-xx-2019)
a. (U) Approved health insurance. Applicants subject to P.P.
   9945 must demonstrate, to the satisfaction of the consular
   officer, eligibility for coverage under an approved health
   insurance plan or program, including the means to pay for
   premiums, if any, for such a plan, and the intent to enroll such a
   plan or program within 30 days of arrival to the United States. As
   many forms of health insurance cannot be secured prior to
   establishing a U.S. residence, this determination may be made in
   the course of the visa interview rather than through document
   submission.
b. (U) Financial resources. In lieu of approved health insurance,
   the applicant may demonstrate possession of the financial
   resources to pay for reasonably foreseeable medical costs in the
   United States. P.P. 9945 does not include a time-bound
   limitation on how far into the future officers should look when
   assessing “reasonably foreseeable medical costs,” and officers
   should not engage in unsupported speculation. To assess
   “reasonably foreseeable medical costs,” consular officers should
   evaluate costs based on an applicant’s current medical state as
   reflected in the medical report by the panel physician. Officers
   should not speculate on an applicant’s potential future health and
   may only make this determination based on the applicant’s


                                       005
                              SENSITIVE BUT UNCLASSIFIED
      Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 7 of 125




  current medical state. An officer should consider the applicant’s
  financial resources as well as funds that could be provided by the
  applicant’s sponsor, which can be determined using Form I-864.
  For example, if an officer finds that an applicant with a properly
  filed, non-fraudulent and sufficient Form I-864 is healthy and has
  no “reasonably foreseeable medical costs,” the officer can
  reasonably conclude that the applicant meets the requirements of
  the P.P. for visa issuance.
c. (U) IR-5: IR-5 applicants are largely exempted from P.P. 9945
   provided that the alien or the alien’s sponsor demonstrates to the
   satisfaction of the consular officer that the alien’s healthcare will
   not impose a substantial burden on the United States healthcare
   system. To determine if an alien’s health will not impose a
   substantial burden, officers should rely on the medical exam to
   determine if there are current health issues, including acute or
   chronic conditions, which will require extensive medical care and
   likely result in particularly high medical costs. If the applicant
   has such a condition, officers must determine if the applicant has
   either health insurance or funds to cover foreseeable medical
   costs.
d. Applicants Under the Age of 18: P.P. 9645 applies to
   derivative applicants under the age of 18 who are accompanying
   a parent who is also immigrating to the United States and subject
   to P.P. 9945. “Accompanying” means derivative applicants who
   are: (1) in the physical company of the principal applicant; or (2)
   issued an immigrant visa within six months of the date of
   issuance of a visa to the principal applicant, the date of
   adjustment of status in the United States of the principal
   applicant, or the date on which the principal applicant personally
   appears and registers before a consular officer abroad to confer
   foreign state chargeability or immigrant status upon the child.
   Applicants under the age of 18 who are not considered
   “accompanying,” (i.e., the beneficiary of an immediate relative
   petition, the principal beneficiary of a family preference petition,
   or who are following to join the principal applicant) are exempt
   from P.P. 9645.
e. (U) Case Note: If you find the applicant either has or will have
   approved health insurance within 30 days of entry or possesses


                                       006
                              SENSITIVE BUT UNCLASSIFIED
      Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 8 of 125




  financial resources to pay for reasonably foreseeable medical
  costs, you must enter a clear case note stating why the applicant
  overcomes the P.P. 9945’s limitation on entry.

9 FAM 302.14-11(B)(5) (U) No Documentary Requirement
(CT:VISA-xxx;     xx-xx-2019)
(U) Consular officers should determine an alien’s eligibility under
P.P. 9945 in the course of the visa interview and adjudication;
consular officer should request documentation only as they deem
necessary. Applicants are not required to bring supporting
documentation to the interview, but a consular officer should deny
the case under INA 221(g) if the officer deems the documentation
necessary to determine eligibility under P.P. 9945, to allow the
applicant time to provide documentation. If documentation is
provided, it does not have to be scanned or included in the
applicant’s file – the consular officer should simply make a case
note of the applicant’s ability to meet the requirement. Applicants
are not required to provide information establishing that they meet
this requirement to the National Visa Center (NVC) in order to be
considered documentarily qualified.

9 FAM 302.14-11(B)(6) (U) Refusals
(CT:VISA-xxx;     xx-xx-2019)
a. (U) HC1 Refusal: If an applicant is not able to establish, to the
   consular officer’s satisfaction, that he or she will have approved
   health insurance within 30 days of entry or, that he or she
   possesses financial resources to pay for reasonably foreseeable
   medical costs, the applicant should be refused under the refusal
   code HC1. Applicants may overcome an HC1 refusal by
   submitting additional evidence to establish that they have or will
   have appropriate health insurance within 30 days of arrival, or
   that they have the financial resources to pay for reasonably
   foreseeable medical expenses in the absence of health insurance.
   For applicants with an approved provisional unlawful presence
   waiver (I-601-A), a determination that the applicant is ineligible
   to receive an IV pursuant to P.P. 9945 will result in automatic




                                       007
                              SENSITIVE BUT UNCLASSIFIED
      Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 9 of 125




  revocation of the waiver, even if the refusal is subsequently
  overcome. See 9 FAM 302.11-3(D)(1).
b. (U) INA 221(G) versus HC1 Refusals: If, at the time of
   interview, the consular officer requests additional information to
   establish that the applicant has qualifying insurance or the ability
   to pay for appropriate healthcare, the case should first be refused
   under INA 221(g) in order to allow the applicant to submit the
   requested documentation. If the applicant submits documents
   that are insufficient to overcome the INA 221(g) refusal, the
   applicant must be refused HC1.
c. (U) P.P. 9945 and Public Charge: Refusal under P.P. 9945 is
   distinct from ineligibility under INA 212(a)(4) for public charge.
   Consular officers will make this determination irrespective of
   whether or not an applicant is found likely to become a public
   charge. Should a consular officer also find an applicant ineligible
   under public charge, they must refuse the applicant under both
   4A and HC1.
d. (U) Consular officers may use the following refusal language
   when refusing an applicant HC1:
  This office regrets to inform you that a consular officer refused
  your visa application because you have been found ineligible to
  receive a visa under Section 212(f) of the Immigration and
  Nationality Act, pursuant to Presidential Proclamation 9945,
  which suspends and limits entry into the United States as
  immigrants individuals who either will not be covered by
  approved health insurance within 30 days of their entry into the
  United States, or who do not possess the financial resources to
  pay for reasonably foreseeable medical costs.
  No waiver is available for the grounds of ineligibility. While you
  are ineligible for a visa at this time, you may overcome this
  ineligibility in the future by providing additional evidence that you
  will be covered by approved health insurance or that you possess
  the financial resources to pay for reasonably foreseeable medical
  costs.



9 FAM 302.14-11(B)(7) (U) Law Enforcement Exemption


                                       008
                              SENSITIVE BUT UNCLASSIFIED
     Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 10 of 125




(CT:VISA-xxx;    xx-xx-2019)

(U) The P.P. 9945 limitation on entry does not apply to any alien
whose entry would further important U.S. law enforcement
objectives, as determined by the Secretary of State or his designee
based on a recommendation of the Attorney General or his
designee. The Secretary’s authority has been delegated to the
Assistant Secretary of Consular Affairs and the Deputy Assistant
Secretary of the Visa Office. If you are contacted by a
representative from a U.S. law enforcement agency at post about a
particular applicant or if the Department informs you that a U.S. law
enforcement agency has expressed interest in a particular applicant,
you should refuse the applicant under INA 221(g) and submit an
email to your VO/F post liaison officer to request the Department’s
approval of an exemption.

9 FAM 302.14-11(B)(8) (U) National Interest Exemption
(CT:VISA-xxx;    xx-xx-2019)
(U) The P.P. 9945 limitation on entry provides an exception for “any
alien whose entry would be in the national interest, as determined
by the Secretary of State or his designee on a case-by-case basis.”
That authority has been delegated to the Assistant Secretary of
Consular Affairs and the Deputy Assistant Secretary of the Visa
Office. Consular officers should only consider the following
circumstances as possibly satisfying the national interest exception:

       • Foreign Relations: Refusal of the immigrant visa
         application would become a bilateral irritant or be raised
         by a foreign government with a high-ranking U.S.
         government official;
       • National Security: Admission to the United States would
         advance a U.S. national security interest;
       • Significant Public Interest: Admission to the United
         States would advance a significant U.S. public interest; or
       • Urgent Humanitarian or Medical Reasons: Admission to
         the United States is warranted due to urgent
         humanitarian or medical reasons.




                                      009
                             SENSITIVE BUT UNCLASSIFIED
     Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 11 of 125




(U) If you determine that an applicant is ineligible under P.P. 9645,
but you believe the applicant’s entry may be in the national interest,
you should refuse the applicant under INA 221(g) and submit an
email to your VO/F post liaison officer to request the Department’s
approval of an exemption.

9 FAM 302.14-11(C) (U) Waiver

9 FAM 302.14-11(C)(1) (U) Waivers for Immigrants
(CT:VISA-xxx;    xx-xx-2019)
(U) No waiver is available for immigrant visa applicants ineligible
under P.P. 9945.

9 FAM 302.14-11(C)(2) (U) Waivers for Nonimmigrants
(CT:VISA-XXX;     XX-XX-2019)
(U) P.P. 9945 is not applicable to nonimmigrants.

9 FAM 302.14-11(D) (SBU)

9 FAM 302.14-11(D)(1) (SBU)
(CT:VISA-XXX;     XX-XX-2019)
(SBU)




9 FAM 302.14-11(D)(2) (SBU)
(CT:VISA-XXX;     XX-XX-2019)
(SBU)




                                      010
                             SENSITIVE BUT UNCLASSIFIED
      Case 3:19-cv-01743-SI          Document 91        Filed 11/21/19       Page 12 of 125


#$% . ))*',!.
 &   . ))+(-" .
                                                                                        
                                                                %(% %#(       !%&((% %(

                                                                          


P7HP=S@X7ª3URªUH4D2PPA;B75ª                                     J_\aª() ª( !.ª

                     
                                      

8OJF/ª         42ª 4Yª4ªOt_rª

PV3C74S0ª       P3UªPY`Y`ªY`ªK_a` aªpªLat`atYªL_YYtª..*+ª

 (         P3Vª42ªaªsaªYY_ra`ªY`Y`ªY`ª_a` aªlªtaauqª
               Lat`auYªK_YYuª..*+ªMLª..*+ ª 7-)&/'&='=&3,;='= $% &3.=
               '= ##=&&##9=7*&=5=&4= 33/=#3*= :03$=&= **=5'=
                 *'53=5=8# #6<='=#5+=&"51=(*=$*!&2=

  %$(
P3UªTrYª¥ 1ª
    2£aªsaªYY_sa`ª2E624ªY`ª9auqª2biZxªFY Yª:2Gªq t`Y_aª¤us
       [`Y`ªY`ª_a` aªkªtaatqªLLª..*+ª 42ª¤tªsaªYvªsa
       2D624ªY`ª ]trªraª:2Fªq u`Y_aª 2£a5tY£aª]¥ª " (.'.

    ( 6atqYaªsaª2tYªPa_aY¥ªlª42ªY`ªraª5a ¥ª2tYªPa_aY¥ªjªXuY
        Pa£t_aªª`aawaªsYªYªYxaªa¦ª¤ `ªY`£Y_aªxYªUxa`ªPYaªY¤
        ah_aaª^a_y£aª `aªPa_uª(^£tuªªsYªYªYtaªa¥ª¤¡`ª]aªyªra
        YuYªtaaª `aªPa_uª(]ª£xttªcªraª_YYtª 2£a5xY£a
        ]¥ª! (.#.


 "'(
V KLª..*+ª a`ªraªa¥ªdªYtaªYªttqYªªsaªUxa`ªPYaª `a
Pa_tª($(mªeªraª>zqYtªY`ªIYtYy¥ª2_ª,ªWQ4ª%&-(h ª¤saªsaªYtaªa¥
¤uªj~Y_tY¥ª] `aªraªVxa`ªPYaªsaYr_Yaª¥aª L  YªªLLª..*+ ªYªYta
aatqªY`ttªªsaªVta`ªPYaªYªYªtxqYª¤{ªk~Y_tY¥ª] `aªraªUxa`ªPYa
raYs_Yaª¥aª  aªraªYtaª¤uª^aª_£aa`ª]¥ªY£a`ªraYrªt Y_aªYª`al~a`ªt
Pa_tª ? ª ]a_tª^ªfªLKª..*+ªªaaªraªoY_tYªa _aªªY¥ªpªaYY]¥
laaaY\aªa`t_Yª_ª Pa_tª)YªgªKLª..*+ª[aªraªPa_aY¥ªgªPYaªY¥ªaY\xr
saªY`Y`ªY`ª_a` aªª^aª a`ª]¥ª_ Yªn~_aªª`aataªYªYtaªtatq|\tu¥
lªa¥ª `aªLªLª..*+ª Pa_xª(^ªª£u}ªY rt§aªsaªQa_aY¥ªcªQYaªªsxª`atqaaª
`aataª]Ya`ªªYªa_a`Yxªcªraª2a¥ª<aaYªªrtª`atqaaªrYªYªYta
a¦ªuªª a`a`ª `aªLLª..*+ª\a_Y aªraªYtaªa¥ª¤ `ªl¢raªtY
Uua`ªPYaªY¤ªaj_aaª\a_t£aª Pa_tª(]£xtuªY rt¨aªraªPa_aY¥ªcªPYaª
ruª`atqaaªª`aaxaªªYª_Ya]¥_Yaª^YtªrYªYªYtaªa¥ªtªª a`a`ª `a
LNª..*+ª\a_Y aªraªYtaªa¥ª¤ `ª\aªtªraªYuYªtaaª LLª..*+ªY rt©aªra


                                                 

                                                011
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 13 of 125




                               012
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 14 of 125




                               013
                 Case 3:19-cv-01743-SI            Document 91          Filed 11/21/19        Page 15 of 125
UNCLASSIFIED




                                                      UNCLASSIFIED
                                                          SBU




               MRN:                         19 STATE 115030
               Date/DTG:                    Oct 30, 2019 / 301514Z OCT 19
               From:                        SECSTATE WASHDC
               Action:                      ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE ROUTINE
               E.O.:                        13526
               TAGS:                        CVIS, CMGT
               Captions:                    SENSITIVE
               Subject:                     Presidential Proclamation: Suspension of Entry of Immigrants Who Will
                                            Financially Burden The United States Healthcare System, in Order to
                                            Protect the Availability of Healthcare Benefits for Americans


               1. (U) SUMMARY: On October 4, 2019, the President issued Presidential Proclamation (P.P.)
               9945 titled “Suspension of Entry of Immigrants Who Will Financially Burden the United States
               Healthcare System, in Order to Protect the Availability of Healthcare Benefits for Americans.”
               P.P. 9945 takes effect November 3, 2019, at 12:01 EDT, and suspends and limits entry for aliens
               as immigrants who cannot demonstrate that they will be covered by approved health insurance
               within 30 days of entry into the United States or that they have the financial resources to pay for
               reasonably foreseeable medical costs. Implementation of PP 9945 is contingent on OMB
               approval of certain information collection, which is still pending. Please see paragraph 18 for
               details. P.P. 9945 applies to individuals seeking to enter the United States pursuant to an
               immigrant visa only; it does not apply to nonimmigrant visa applicants, including K visa
               applicants. P.P. 9945 also includes a number of exceptions, which are discussed in paragraph 3.
                The types of approved health insurance plans are discussed in paragraph 4. Note: this ALDAC
               provides an overview of the presidential proclamation and implementation; consular officers
               should refer to 9 FAM 302.14-11 for full adjudication guidance. End Summary.

               Suspension and Limitation on Entry for Certain Immigrant Aliens

               2. (U) The President issued P.P. 9945 pursuant to his authority under sections 212(f) and 215(a)
               of the Immigration and Nationality Act (INA) (8 U.S.C. 1182(f) and 1185(a)) and section 301 of
               title 3 of the United States Code. The suspension and limitation on entry only applies to
               immigrant and diversity visa applicants (i.e., aliens seeking to enter the United States as
               immigrants).

               Exceptions to P.P. 9945

               3. (U) The P.P. includes a number of exceptions. It does not apply to:
                       (A) any alien who is holding (or who held) a valid immigrant visa as of November 3,




                                                              014
UNCLASSIFIED                                                                                                         Page 1 of 7
                 Case 3:19-cv-01743-SI            Document 91          Filed 11/21/19       Page 16 of 125
UNCLASSIFIED




                      2019;
                      (B) aliens seeking and qualifying for the following immigrant visa classifications:
                              (1) SI and SQ for Iraqi and Afghan special immigrants and/or their spouses and
                              children;
                              (2) IR-2, CR-2, IR-3, IR-4, IH-3, and IH-4 for children, whether adopted,
                              biological, and step-children, of U.S. citizens; and
                              (3) SB-1 for an immigrant admitted for permanent residence who is returning
                              from a temporary visit abroad;
                      (C) any alien seeking to enter the United States pursuant to an IR-5 visa, “provided that
                      the alien or the alien’s sponsor demonstrates to the satisfaction of the consular officer
                      that the alien’s healthcare will not impose a substantial burden on the United States
                      healthcare system.”
                      (D) any alien under the age of 18, except for those accompanying a parent who is also
                      immigrating to the United States and is subject to P.P. 9945 ;
                      (E) any alien whose entry would further important United States law enforcement
                      objectives, as determined by the Secretary of State or his designee based on a
                      recommendation of the Attorney General or his designee;
                      (F) any alien whose entry would be in the national interest, as determined by the
                      Secretary of State or his designee on a case-by-case basis; and
                      (G) any alien entering the United States without an immigrant visa, such as
                      nonimmigrant visa travelers, including K visa applicants, lawful permanent residents,
                      refugees, and asylees.


               Qualifying Insurance or Ability to Pay for Reasonably Foreseeable Medical Costs

               4. (U) In order to overcome the suspension and limitations on entry imposed by P.P. 9945,
               immigrant visa applicants—other than those covered by exceptions enumerated in paragraph
               three—must demonstrate, to the satisfaction of a consular officer, either A) eligibility for
               coverage under an approved health insurance plan or program, including the means to pay for
               premiums, if any, for such a plan, and the intent to enroll in such a plan or program within thirty
               days of entry to the United States or, B) that they possess the financial resources to pay for
               reasonably foreseeable medical costs. P.P. 9945 indicates that approved health insurance plans
               or programs include:

                       (A) an employer-sponsored plan, including retiree plans, association health plans, and
               coverage provided by the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA);
                       (B) an unsubsidized health plan offered in the individual market within a State;
                       (C) a short-term limited duration health policy effective for a minimum of 364 days or
               until the beginning of planned, extended travel outside the United States;
                       (D) a catastrophic plan;
                       (E) a family member’s plan;
                       (F) a medical plan under chapter 55 of title 10, United States Code, including coverage
               under the TRICARE program;
                       (G) a visitor health insurance plan that provides adequate coverage for medical care for a
               minimum of 364 days or until the beginning of planned, extended travel outside the United




                                                              015
UNCLASSIFIED                                                                                                         Page 2 of 7
                 Case 3:19-cv-01743-SI            Document 91         Filed 11/21/19       Page 17 of 125
UNCLASSIFIED




               States;
                       (H) a medical plan under the Medicare program;
                       (I) for individuals 18 or younger, coverage under the Medicaid program; or
                       (J) any other health plan that provides adequate coverage for medical care as determined
               by the Secretary of Health and Human Services or his designee.

               5. (SBU) Medicaid does not constitute approved health insurance for individuals over the age of
               18. Non-U.S. citizens are only eligible for Medicare after five years in LPR status; therefore,
               immigrant applicants may not be able to rely on the Medicare program as viable coverage to
               meet the requirements under P.P. 9945, even though it is an approved program. The provider of
               an approved health insurance plan or program does not need to be a U.S.-based company, but
               the plan or program must provide coverage for healthcare costs incurred in the United States.

               6. (SBU) Alternatively, applicants may demonstrate qualification for entry through possession
               of financial resources to pay for reasonably foreseeable medical costs. Given the fact that all IV
               applicants undergo a medical examination and most must also overcome public charge, consular
               adjudicators will already have sufficient medical and financial information at their disposal to
               determine whether or not an individual has a medical condition that will require care once in the
               United States and what financial resources the applicant possesses to cover the cost of that care.
               For the purposes of this assessment, consular officers may consider financial resources of
               sponsors that are available to the applicant.

               Processing

               7. (SBU) For those applicants to whom this mandate applies, during the immigrant visa
               interview consular officers must determine if the applicant currently has or will have (within 30
               days of entry) health insurance, for instance the applicant has a plan to obtain health insurance
               within 30 days via an employer, under a family member’s plan, or through any of the other
               approved mechanisms specified above. Especially since many forms of health insurance cannot
               be secured prior to establishing a U.S. residence, this determination may be made in the course
               of the visa interview rather than through document submission. Consular officers should
               request documentation only as they deem necessary. Applicants are not required to bring
               documentation to the interview, but should be denied under INA section 221(g) to provide
               documentation, as the consular officer deems necessary. If documentation is provided, it does
               not have to be scanned or included in the applicant’s file.

               8. (SBU) In lieu of health insurance, the applicant may demonstrate possession of financial
               resources to pay for reasonably foreseeable medical costs in the United States. P.P. 9945 does
               not include a time-bound limitation on how far into the future officers should look when
               assessing “reasonably foreseeable medical costs,” and officers should not engage in unsupported
               speculation. To assess “reasonably foreseeable medical costs,” consular officers should
               evaluate costs based on an applicant’s current medical state as reflected in the medical report by
               the panel physician. Officers should not speculate on an applicant’s potential future health and
               may only make this determination based on the applicant’s current medical state. An officer
               should consider the applicant’s financial resources as well as funds that may be provided by the
               applicant’s sponsor, which can be determined using Form I-864. For example, if an officer




                                                             016
UNCLASSIFIED                                                                                                        Page 3 of 7
                 Case 3:19-cv-01743-SI            Document 91          Filed 11/21/19        Page 18 of 125
UNCLASSIFIED




               finds that an applicant with a properly filed, non-fraudulent and sufficient Form I-864, is
               healthy, and has no “reasonably foreseeable medical costs,” the officer can reasonably conclude
               that the applicant meets the P.P 9945 requirements for visa issuance.

               9. (SBU) IR-5 applicants are largely exempted from P.P. 9945, provided that the alien or the
               alien’s sponsor demonstrates to the satisfaction of the consular officer that the alien’s healthcare
               will not impose a substantial burden on the United States healthcare system. To determine if an
               alien’s health will not impose a substantial burden, officers should rely on the medical exam to
               determine if there are current health issues, including acute or chronic conditions, that will
               require extensive medical care and likely result in particularly high medical costs. If the
               applicant has such a condition, officers must determine if the applicant has either health
               insurance or funds that will be available to cover foreseeable medical costs.

               10. (SBU) P.P. 9945 applies to derivative applicants under the age of 18 who are accompanying
               a parent who is also immigrating to the United States and subject to P.P. 9945
               “Accompanying” means derivative applicants who are: (1) in the physical company of the
               principal applicant; or (2) issued an immigrant visa within six months of the date of issuance of
               a visa to the principal applicant, the date of adjustment of status in the United States of the
               principal applicant, or the date on which the principal applicant personally appears and registers
               before a consular officer abroad to confer foreign state chargeability or immigrant status upon
               the child. Applicants under the age of 18 who are not considered “accompanying,” (i.e., the
               beneficiary of an immediate relative petition, the principal beneficiary of a family preference
               petition, or who are following to join the principal applicant) are exempt from P.P. 9945.

               11. (SBU) If the consular officer is satisfied that the applicant either has, or will have, health
               insurance within 30 days of entry or possesses sufficient financial resources to pay for
               reasonably foreseeable medical costs, the officer must make a clear case note stating why the
               applicant overcomes P.P. 9945.’s limitation on entry, e.g. “Applicant plans to obtain health
               insurance through spouse’s health insurance policy.” As the applicant is overcoming the
               limitations of P.P. 9945 rather than receiving a waiver, consular officers may proceed directly to
               issuance without entering any refusal codes. If the consular officer is not satisfied that the
               applicant overcomes P.P. 9945, the officer should refuse the applicant under the new refusal
               code “HC1.”

               12. (SBU) Applicants will not be required to provide information demonstrating their eligibility
               under P.P. 9945 to the National Visa Center (NVC) in order to be considered documentarily
               qualified. Therefore, if at the time of interview the consular officer requests additional evidence
               to establish that the applicant has approved health insurance or the financial resources to pay for
               medical costs, the case should first be refused under INA 221(g) in order to allow the applicant
               to submit the requested documentation. If the applicant submits documents that are insufficient
               to overcome the reasons for the INA 221(g) refusal, the applicant must be refused using the
               refusal code HC1. Applicants may still overcome an HC1 refusal by submitting additional
               evidence to convince you that they have or will have approved health insurance within 30 days
               of entry, or that they have the financial resources to pay for reasonably foreseeable medical
               costs in the absence of health insurance. Per Department regulations, an IV applicant may
               present evidence that he or she overcomes a ground of refusal up to one year from the date of




                                                              017
UNCLASSIFIED                                                                                                          Page 4 of 7
                 Case 3:19-cv-01743-SI            Document 91         Filed 11/21/19        Page 19 of 125
UNCLASSIFIED




               refusal. See 9 FAM 504.11-4(A) and (C). For applicants with an approved provisional
               unlawful presence waiver (I-601A), a determination that the applicant is ineligible to receive an
               IV pursuant to P.P. 9945 will result in automatic revocation of the waiver, even if the refusal is
               subsequently overcome. See 9 FAM 302.11-3(D)(1).

               13. (SBU) As P.P.9945’s effective date is November 3, 2019, it will apply to immigrant visa
               cases that were refused under INA 221(g) or any other ground of refusal before November 3,
               2019, but are subsequently overcome or waived. Consular officers reviewing such a case on or
               after November 3, 2019 will need to determine whether the applicant overcomes P.P. 9945’s
               limitation on entry and may need to request additional information from the applicant to do so.
               14. (SBU) Consular officers may use the following refusal language when refusing an applicant
               HC1:
                      This office regrets to inform you that a consular officer refused your visa application
                      because you have been found ineligible to receive a visa under Section 212(f) of the
                      Immigration and Nationality Act, pursuant to Presidential Proclamation 9945, which
                      suspends and limits entry into the United States as immigrants individuals who either
                      will not be covered by approved health insurance within 30 days of their entry into the
                      United States, or who do not possess the financial resources to pay for reasonably
                      foreseeable medical costs.
                      No waiver is available for the grounds of ineligibility. While you are ineligible for a
                      visa at this time, you may overcome this ineligibility in the future by providing
                      additional evidence that you will be covered by approved health insurance or that you
                      possess the financial resources to pay for reasonably foreseeable medical costs.

               15. (SBU) The HC1 refusal is distinct from the public charge ground of ineligibility under INA
               212(a)(4)(A) (4A) and thus, consular officers will make this determination irrespective of
               whether or not an applicant is found ineligible under public charge. Should a consular officer
               find an applicant is subject to P.P. 9945 and ineligible under public charge, they must refuse the
               applicant under both 4A and HC1.

               16. (SBU)P.P. 9945 provides an exception for “any alien whose entry would be in the national
               interest, as determined by the Secretary of State or his designee on a case-by-case basis.”
               Consular officers should only consider the following circumstances as possibly satisfying the
               national interest exception:

                          •    Foreign Relations: Refusal of the immigrant visa application would become a
                              bilateral irritant or be raised by a foreign government with a high-ranking U.S.
                              government official;

                          •    National Security: Admission to the United States would advance a U.S.
                              national security interest;

                          •    Significant Public Interest: Admission to the United States would advance a
                              significant U.S. public interest; or

                          •    Urgent Humanitarian or Medical Reasons: Admission to the United States is




                                                             018
UNCLASSIFIED                                                                                                        Page 5 of 7
                 Case 3:19-cv-01743-SI            Document 91          Filed 11/21/19        Page 20 of 125
UNCLASSIFIED




                              warranted due to urgent humanitarian or medical reasons.
                      If a consular officer determines that an applicant is ineligible under this P.P. 9945 but
                      believes the applicant’s entry may be in the national interest under this criteria, then the
                      consular officer should refuse the applicant under INA 221(g) and submit an email to
                      their VO/F post liaison officer to request the Department’s approval of an exemption.

               17. (U) To inform applicants of this new requirement, CA will update the travel.state.gov
               website, and the National Visa Center and Kentucky Consular Center will also send a message
               to all immigrant visa and diversity visa applicants. However, posts should also engage in a
               concerted effort to inform applicants so that they are adequately prepared to address this issue
               during the visa interview.

               18. (SBU) Posts may not begin implementing P.P.9945 until we update the FAM after receiving
               approval from the Office of Management and Budget (OMB), under the Paperwork Reduction
               Act, of our proposed information collection concerning health insurance-related information. A
               notice of the Department’s proposed information collection will be published in the Federal
               Register on October 30, 2019. We expect OMB approval on November 1 and VO will send an
               e-mail to posts as soon as we learn of OMB’s decision. If OMB approves prior to November 3,
               2019, as expected, then posts must begin implementation of P.P. 9945 on November 3, 2019, in
               accordance with the terms of P.P. 9945. If OMB does not approve the information collection
               prior to November 3, 2019, posts should continue to await further instruction before
               implementing P.P 9945.

               19. (SBU) 9 FAM 302.14-11 will be updated to reflect the new guidelines. Post may address
               questions to the IV portfolio holder in CA/VO/F.


                                                SENSITIVE BUT UNCLASSIFIED

               Signature:                   Pompeo

               Drafted By:                  CA/VO/F:Lee, Edith
               Cleared By:                  CA:Brownlee, Ian G
                                            CA:Stoddard, Kaitlin V
                                            CA:Whiteley, John W
                                            CA/VO:Ramotowski, Edward J
                                            CA/VO/F:Craig, Sara M
                                            CA/VO/F/IE:Marwaha, Brianne C
                                            CA/VO/F/IE:Tyson, Amanda J
                                            CA/VO/L:Herndon, Megan
                                            CA/VO/L:Newman, David S
                                            CA/VO/L/A:McNeil, Matthew C
                                            CA/VO/L/A:Fifield, Joel A
                                            L/CA:Scimeca, Natalya K
                                            CA/P:Henderson, Lindsay N
                                            CA/P:Hillman, Ian T
                                            CA/P:Landry, Kelly C




                                                              019
UNCLASSIFIED                                                                                                         Page 6 of 7
                 Case 3:19-cv-01743-SI    Document 91     Filed 11/21/19   Page 21 of 125
UNCLASSIFIED




                                     CA/P:Kierski, David A
                                     CA:Benning, Douglass R
                                     CA/EX:Glazeroff, Josh
                                     CA/EX/PAS:Evans, Michael P
                                     S/P:Weiland, Cart
                                     P:Ruppel, Emily A
                                     D:Daucher, Kevin G
                                     WHA/EX:Hamilton, Conard C
                                     EUR-IO/EX/PMO:Kilburg, Keely Z
                                     EAP/EX:LaMontagne, David M
                                     NEA-SCA/EX:Moore, Anne Marie
                                     AF/EX:Dille, Benjamin B
                                     GPA:Chulick, Nicole A
                                     R:Spellberg, Jason P
                                     WHA/PPC:Slusher, Rhonda L
                                     SES\YooJL
               Approved By:          CA:Risch, Carl C
               Released By:          CA_FO:Corby, Julie H
               XMT:                  BASRAH, AMCONSUL; CARACAS, AMEMBASSY; SANAA,
                                     AMEMBASSY; ST PETERSBURG, AMCONSUL; ALEXANDRIA,
                                     AMCONSUL

               Dissemination Rule:   Archive Copy


                                              UNCLASSIFIED
                                                  SBU




                                                    020
UNCLASSIFIED                                                                                Page 7 of 7
                                                                    Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19              Page 22 of 125

                                                                 Federal Register / Vol. 84, No. 196 / Wednesday, October 9, 2019 / Presidential Documents                              53991

                                                                                                    Presidential Documents



                                                                                                    Proclamation 9945 of October 4, 2019

                                                                                                    Suspension of Entry of Immigrants Who Will Financially
                                                                                                    Burden the United States Healthcare System, in Order To
                                                                                                    Protect the Availability of Healthcare Benefits for Americans

                                                                                                    By the President of the United States of America

                                                                                                    A Proclamation
                                                                                                    Healthcare providers and taxpayers bear substantial costs in paying for med-
                                                                                                    ical expenses incurred by people who lack health insurance or the ability
                                                                                                    to pay for their healthcare. Hospitals and other providers often administer
                                                                                                    care to the uninsured without any hope of receiving reimbursement from
                                                                                                    them. The costs associated with this care are passed on to the American
                                                                                                    people in the form of higher taxes, higher premiums, and higher fees for
                                                                                                    medical services. In total, uncompensated care costs—the overall measure
                                                                                                    of unreimbursed services that hospitals give their patients—have exceeded
                                                                                                    $35 billion in each of the last 10 years. These costs amount to approximately
                                                                                                    $7 million on average for each hospital in the United States, and can
                                                                                                    drive hospitals into insolvency. Beyond uncompensated care costs, the unin-
                                                                                                    sured strain Federal and State government budgets through their reliance
                                                                                                    on publicly funded programs, which ultimately are financed by taxpayers.
                                                                                                    Beyond imposing higher costs on hospitals and other healthcare infrastruc-
                                                                                                    ture, uninsured individuals often use emergency rooms to seek remedies
                                                                                                    for a variety of non-emergency conditions, causing overcrowding and delays
                                                                                                    for those who truly need emergency services. This non-emergency usage
                                                                                                    places a large burden on taxpayers, who reimburse hospitals for a portion
                                                                                                    of their uncompensated emergency care costs.
                                                                                                    While our healthcare system grapples with the challenges caused by uncom-
                                                                                                    pensated care, the United States Government is making the problem worse
                                                                                                    by admitting thousands of aliens who have not demonstrated any ability
                                                                                                    to pay for their healthcare costs. Notably, data show that lawful immigrants
                                                                                                    are about three times more likely than United States citizens to lack health
                                                                                                    insurance. Immigrants who enter this country should not further saddle
                                                                                                    our healthcare system, and subsequently American taxpayers, with higher
                                                                                                    costs.
                                                                                                    The United States has a long history of welcoming immigrants who come
                                                                                                    lawfully in search of brighter futures. We must continue that tradition while
                                                                                                    also addressing the challenges facing our healthcare system, including pro-
                                                                                                    tecting both it and the American taxpayer from the burdens of uncompensated
                                                                                                    care. Continuing to allow entry into the United States of certain immigrants
                                                                                                    who lack health insurance or the demonstrated ability to pay for their
                                                                                                    healthcare would be detrimental to these interests.
                                                                                                    NOW, THEREFORE, I, DONALD J. TRUMP, by the authority vested in me
                                                                                                    by the Constitution and the laws of the United States of America, including
khammond on DSKJM1Z7X2PROD with PRESDOC4




                                                                                                    sections 212(f) and 215(a) of the Immigration and Nationality Act (8 U.S.C.
                                                                                                    1182(f) and 1185(a)) and section 301 of title 3, United States Code, hereby
                                                                                                    find that the unrestricted immigrant entry into the United States of persons
                                                                                                    described in section 1 of this proclamation would, except as provided for
                                                                                                    in section 2 of this proclamation, be detrimental to the interests of the
                                                                                                    United States, and that their entry should be subject to certain restrictions,
                                                                                                    limitations, and exceptions. I therefore hereby proclaim the following:

                                                                                                                               021
                                           VerDate Sep<11>2014   16:11 Oct 08, 2019   Jkt 250001   PO 00000   Frm 00001   Fmt 4790   Sfmt 4790   E:\FR\FM\09OCD3.SGM   09OCD3
                                                                    Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19              Page 23 of 125

                                                53992            Federal Register / Vol. 84, No. 196 / Wednesday, October 9, 2019 / Presidential Documents

                                                                                                    Section 1. Suspension and Limitation on Entry. (a) The entry into the United
                                                                                                    States as immigrants of aliens who will financially burden the United States
                                                                                                    healthcare system is hereby suspended and limited subject to section 2
                                                                                                    of this proclamation. An alien will financially burden the United States
                                                                                                    healthcare system unless the alien will be covered by approved health
                                                                                                    insurance, as defined in subsection (b) of this section, within 30 days of
                                                                                                    the alien’s entry into the United States, or unless the alien possesses the
                                                                                                    financial resources to pay for reasonably foreseeable medical costs.
                                                                                                       (b) Approved health insurance means coverage under any of the following
                                                                                                    plans or programs:
                                                                                                       (i) an employer-sponsored plan, including a retiree plan, association health
                                                                                                       plan, and coverage provided by the Consolidated Omnibus Budget Rec-
                                                                                                       onciliation Act of 1985;
                                                                                                       (ii) an unsubsidized health plan offered in the individual market within
                                                                                                       a State;
                                                                                                       (iii) a short-term limited duration health policy effective for a minimum
                                                                                                       of 364 days—or until the beginning of planned, extended travel outside
                                                                                                       the United States;
                                                                                                       (iv) a catastrophic plan;
                                                                                                       (v) a family member’s plan;
                                                                                                       (vi) a medical plan under chapter 55 of title 10, United States Code,
                                                                                                       including coverage under the TRICARE program;
                                                                                                       (vii) a visitor health insurance plan that provides adequate coverage for
                                                                                                       medical care for a minimum of 364 days—or until the beginning of planned,
                                                                                                       extended travel outside the United States;
                                                                                                       (viii) a medical plan under the Medicare program; or
                                                                                                      (ix) any other health plan that provides adequate coverage for medical
                                                                                                      care as determined by the Secretary of Health and Human Services or
                                                                                                      his designee.
                                                                                                      (c) For persons over the age of 18, approved health insurance does not
                                                                                                    include coverage under the Medicaid program.
                                                                                                    Sec. 2. Scope of Suspension and Limitation on Entry. (a) Section 1 of
                                                                                                    this proclamation shall apply only to aliens seeking to enter the United
                                                                                                    States pursuant to an immigrant visa.
                                                                                                      (b) Section 1 of this proclamation shall not apply to:
                                                                                                      (i) any alien holding a valid immigrant visa issued before the effective
                                                                                                      date of this proclamation;
                                                                                                       (ii) any alien seeking to enter the United States pursuant to a Special
                                                                                                       Immigrant Visa, in either the SI or SQ classification, who is also a national
                                                                                                       of Afghanistan or Iraq, or his or her spouse and children, if any;
                                                                                                       (iii) any alien who is the child of a United States citizen or who is
                                                                                                       seeking to enter the United States pursuant to an IR–2, IR–3, IR–4, IH–
                                                                                                       3, or IH–4 visa;
                                                                                                       (iv) any alien seeking to enter                  the United States pursuant to an IR–
                                                                                                       5 visa, provided that the alien                  or the alien’s sponsor demonstrates to
                                                                                                       the satisfaction of the consular                 officer that the alien’s healthcare will
                                                                                                       not impose a substantial burden                  on the United States healthcare system;
                                                                                                       (v) any alien seeking to enter the United States pursuant to a SB–1 visa;
khammond on DSKJM1Z7X2PROD with PRESDOC4




                                                                                                       (vi) any alien under the age of 18, except for any alien accompanying
                                                                                                       a parent who is also immigrating to the United States and subject to
                                                                                                       this proclamation;
                                                                                                       (vii) any alien whose entry would further important United States law
                                                                                                       enforcement objectives, as determined by the Secretary of State or his
                                                                                                       designee based on a recommendation of the Attorney General or his des-
                                                                                                       ignee; or

                                                                                                                               022
                                           VerDate Sep<11>2014   16:11 Oct 08, 2019   Jkt 250001   PO 00000   Frm 00002   Fmt 4790   Sfmt 4790   E:\FR\FM\09OCD3.SGM   09OCD3
                                                                    Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19              Page 24 of 125

                                                                 Federal Register / Vol. 84, No. 196 / Wednesday, October 9, 2019 / Presidential Documents                              53993

                                                                                                       (viii) any alien whose entry would be in the national interest, as determined
                                                                                                       by the Secretary of State or his designee on a case-by-case basis.
                                                                                                       (c) Consistent with subsection (a) of this section, this proclamation does
                                                                                                    not affect the entry of aliens entering the United States through means
                                                                                                    other than immigrant visas, including lawful permanent residents. Further,
                                                                                                    nothing in this proclamation shall be construed to affect any individual’s
                                                                                                    eligibility for asylum, refugee status, withholding of removal, or protection
                                                                                                    under the Convention Against Torture and Other Cruel, Inhuman or Degrad-
                                                                                                    ing Treatment or Punishment, consistent with the laws and regulations
                                                                                                    of the United States.
                                                                                                    Sec. 3. Implementation and Enforcement. (a) An alien subject to this procla-
                                                                                                    mation must establish that he or she meets its requirements, to the satisfaction
                                                                                                    of a consular officer, before the adjudication and issuance of an immigrant
                                                                                                    visa. The Secretary of State may establish standards and procedures governing
                                                                                                    such determinations.
                                                                                                       (b) The review required by subsection (a) of this section is separate and
                                                                                                    independent from the review and determination required by other statutes,
                                                                                                    regulations, or proclamations in determining the admissibility of an alien.
                                                                                                       (c) An alien who circumvents the application of this proclamation through
                                                                                                    fraud, willful misrepresentation of a material fact, or illegal entry shall
                                                                                                    be a priority for removal by the Department of Homeland Security.
                                                                                                    Sec. 4. Reports on the Financial Burdens Imposed by Immigrants on the
                                                                                                    Healthcare System. (a) The Secretary of State, in consultation with the
                                                                                                    Secretary of Health and Human Services, the Secretary of Homeland Security,
                                                                                                    and the heads of other appropriate agencies, shall submit to the President
                                                                                                    a report regarding:
                                                                                                       (i) the continued necessity of and any adjustments that may be warranted
                                                                                                       to the suspension and limitation on entry in section 1 of this proclamation;
                                                                                                       and
                                                                                                       (ii) other measures that may be warranted to protect the integrity of
                                                                                                       the United States healthcare system.
                                                                                                       (b) The report required by subsection (a) of this section shall be submitted
                                                                                                    within 180 days of the effective date of this proclamation, with subsequent
                                                                                                    reports submitted annually thereafter throughout the effective duration of
                                                                                                    the suspension and limitation on entry set forth in section 1 of this proclama-
                                                                                                    tion. If the Secretary of State, in consultation with the heads of other
                                                                                                    appropriate executive departments and agencies, determines that cir-
                                                                                                    cumstances no longer warrant the continued effectiveness of the suspension
                                                                                                    or limitation on entry set forth in section 1 of this proclamation or that
                                                                                                    circumstances warrant additional measures, the Secretary shall immediately
                                                                                                    so advise the President.
                                                                                                      (c) The Secretary of State and Secretary of Health and Human Services
                                                                                                    shall coordinate any policy recommendations associated with the reports
                                                                                                    described in subsection (a) of this section.
                                                                                                    Sec. 5. Severability. It is the policy of the United States to enforce this
                                                                                                    proclamation to the maximum extent possible to advance the interests of
                                                                                                    the United States. Accordingly:
                                                                                                      (a) if any provision of this proclamation, or the application of any provision
                                                                                                    to any person or circumstance, is held to be invalid, the remainder of
                                                                                                    the proclamation and the application of its other provisions to any other
                                                                                                    persons or circumstances shall not be affected thereby; and
khammond on DSKJM1Z7X2PROD with PRESDOC4




                                                                                                      (b) if any provision of this proclamation, or the application of any provision
                                                                                                    to any person or circumstance, is held to be invalid because of the failure
                                                                                                    to follow certain procedures, the relevant executive branch officials shall
                                                                                                    implement those procedural requirements to conform with existing law and
                                                                                                    with any applicable court orders.
                                                                                                    Sec. 6. General Provisions. (a) Nothing in this proclamation shall be construed
                                                                                                    to impair or otherwise affect:

                                                                                                                               023
                                           VerDate Sep<11>2014   16:11 Oct 08, 2019   Jkt 250001   PO 00000   Frm 00003   Fmt 4790   Sfmt 4790   E:\FR\FM\09OCD3.SGM   09OCD3
                                                                    Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19              Page 25 of 125

                                                53994            Federal Register / Vol. 84, No. 196 / Wednesday, October 9, 2019 / Presidential Documents

                                                                                                       (i) United States Government obligations under applicable international
                                                                                                       agreements;
                                                                                                       (ii) the authority granted by law to an executive department or agency,
                                                                                                       or the head thereof; or
                                                                                                      (iii) the functions of the Director of the Office of Management and Budget
                                                                                                      relating to budgetary, administrative, or legislative proposals.
                                                                                                      (b) This proclamation shall be implemented consistent with applicable
                                                                                                    law and subject to the availability of appropriations.
                                                                                                       (c) This proclamation is not intended to, and does not, create any right
                                                                                                    or benefit, substantive or procedural, enforceable at law or in equity by
                                                                                                    any party against the United States, its departments, agencies, or entities,
                                                                                                    its officers, employees, or agents, or any other person.
                                                                                                    Sec. 7. Effective Date. This proclamation is effective at 12:01 a.m. eastern
                                                                                                    daylight time on November 3, 2019.
                                                                                                    IN WITNESS WHEREOF, I have hereunto set my hand this fourth day
                                                                                                    of October, in the year of our Lord two thousand nineteen, and of the
                                                                                                    Independence of the United States of America the two hundred and forty-
                                                                                                    fourth.




                                                [FR Doc. 2019–22225
                                                Filed 10–8–19; 8:45 am]
                                                Billing code 3295–F0–P
khammond on DSKJM1Z7X2PROD with PRESDOC4




                                                                                                                                                                                        Trump.EPS</GPH>




                                                                                                                               024
                                           VerDate Sep<11>2014   16:11 Oct 08, 2019   Jkt 250001   PO 00000   Frm 00004   Fmt 4790   Sfmt 4790   E:\FR\FM\09OCD3.SGM   09OCD3
        Case 3:19-cv-01743-SI        Document 91        Filed 11/21/19      Page 26 of 125




                                                         United States Department of State
                                                         Washington. D.C 20520



October 25, 2019

Oliver Potts, Director
Office of the Federal Register (F)
The National Archives and Records Administration
8601 Adelphi Road
College Park, MD 20740-6001

Director Potts:


Pursuant to 5 CFR § 1320.13, the Department of State requests OMB emergency approval to
begin a new collection of information for DS-5541, Immigrant Health Insurance Coverage.

The Presidential Proclamation on the Suspension of Entry of Immigrants Who Will Financially
Burden the United States Healthcare System ("PP 9945") was signed on October 4, 2019.
Proclamation No. 9945, 84 FR 53991 (Oct. 4, 2019). PP 9945 requires immigrant visa
applicants to establish, to the satisfaction of a consular officer, that the applicant will be covered
by an approved health insurance plan within 30 days of entry into the United States, unless the
applicant possesses sufficient financial resources to cover reasonably foreseeable medical costs,
Or if an exception in Section 2(b) appl ies. Section 3 of the Proclamation authorizes the Secretary
of State to establish standards and procedures for governing such determinations.

Therefore, the Department of State requests emergency OMB review and approval for this
collection by November 1,2019, to implement PP9945 when it goes into effect on November             3,
2019.

Sincerely,




~            !I:2O_---
Edward 1. Ramotowski,
Deputy Assistant Secretary




                                                025
    Case 3:19-cv-01743-SI         Document 91        Filed 11/21/19     Page 27 of 125




     JUSTIFICATION FOR EMERGENCY REVIEW
                      Immigrant Health Insurance Coverage


       The Presidential Proclamation on the Suspension of Entry of Immigrants Who

Will Financially Burden the United States Healthcare System (“PP 9945”) was signed on

October 4, 2019. Proclamation No. 9945, 84 FR 53991 (Oct. 4, 2019). PP 9945 requires

immigrant visa applicants to establish, to the satisfaction of a consular officer, that the

applicant will be covered by an approved health insurance plan within 30 days of entry

into the United States, unless the applicant possesses sufficient financial resources to

cover reasonably foreseeable medical costs, or if an exception in Section 2(b) applies.

Section 3 of the Proclamation authorizes the Secretary of State to establish standards and

procedures for governing such determinations. Emergency review of this information

collection is necessary for the Department to implement PP 9945 when it goes into effect

on November 3, 2019. The Department cannot reasonably comply with the normal

procedures by the implementation deadline of November 3, 2019.


The Department has therefore determined that:

1. This collection is needed prior to the expiration of time periods normally associated
   with a routine submission for review under the provisions of the Paperwork
   Reduction Act;

2. This collection is essential to the mission of the Department of State; and

3. The use of normal clearance procedures would prevent the Department from
   complying with PP 9945 when it takes effect on November 3, 2019.

Therefore, the Department of State requests emergency OMB review and approval for
this collection by October 25, 2019.




                                            026
     Case 3:19-cv-01743-SI         Document 91       Filed 11/21/19   Page 28 of 125




                           LEGAL AUTHORITIES
                    PAPERWORK REDUCTION ACT SUBMISSION
                          Immigrant Health Insurance Coverage
                                 OMB Number 1405-XXXX




1.   INA section 212(f), 8 U.S.C. § 1182(f)
2.   INA section 215(a), 8 U.S.C. § 1185(a)
3.   INA section 221(a), 8 U.S.C. § 1201(a)
4.   INA section 222(a), 8 U.S.C. § 1202(a)
5.   INA section 203, 8 U.S.C. § 1153
6.   22 CFR 42.63
7.   Proclamation No. 9945, 84 FR 53991 (Oct. 4, 2019)




                                             027
                                         SBU - LEGAL
         Case 3:19-cv-01743-SI        Document 91       Filed 11/21/19     Page 29 of 125




                  SUPPORTING STATEMENT FOR
             PAPERWORK REDUCTION ACT SUBMISSION
                 Immigrant Health Insurance Coverage
                     OMB Number 1405-XXXX


A.      JUSTIFICATION
1. Why is this collection necessary and what are the legal statutes that allow this?
     Pursuant to sections 212(f) and 215(a) of the Immigration and Nationality Act (“INA”), 8
     U.S.C. § 1182(f) and § 1185(a), and 3 U.S.C. § 301, The Presidential Proclamation on the
     Suspension of Entry of Immigrants Who Will Financially Burden the United States
     Healthcare System (“PP 9945”) requires immigrant visa applicants to establish, to the
     satisfaction of a consular officer, that the applicant will be covered by an approved health
     insurance plan within 30 days of entry into the United States, unless the applicant possesses
     sufficient financial resources to cover reasonably foreseeable medical costs. Proclamation
     No. 9945, 84 FR 53991 (Oct. 4, 2019). Section 3 of the Proclamation authorizes the
     Secretary of State to establish standards and procedures for governing such determinations.
     Id. Emergency review and approval of this information collection is necessary for the
     Department to implement PP 9945 when it goes into effect on November 3, 2019. PP 9945
     was signed on October 4, 2019, and the Department cannot comply with the normal
     procedures, if it is to implement the Presidential Proclamation on the date it takes effect.
2. What business purpose is the information gathered going to be used for?
     Consular officers will use the information provided to determine whether an immigrant visa
     applicant will be covered by an approved health insurance plan within 30 days of entry to the
     United States, unless the applicant possesses sufficient financial resources to cover
     reasonably foreseeable medical costs, as required by Presidential Proclamation 9945.
3. Is this collection able to be completed electronically (e.g. through a website or
   application)?
     No, consular officers will ask applicants questions regarding health insurance coverage in the
     United States verbally at the time of interview.
4. Does this collection duplicate any other collection of information?
     This collection is not duplicative of another existing collection. However, the Department is
     seeking approval of a separate proposed information collection (DS 5540, Public Charge
     Questionnaire) through standard procedures that will incorporate this question into a form
     asking for other financial information from applicants.
5. Describe any impacts on small business
     This information collection does not directly impact small businesses or other small entities.
6. What are consequences if this collection is not done?




                                                028
       Case 3:19-cv-01743-SI        Document 91        Filed 11/21/19     Page 30 of 125

                                                2


   This information collection is essential for determining whether certain applicants will be
   covered by an approved health insurance plan within 30 days of entry to the United States,
   unless the applicant possesses sufficient financial resources to cover reasonably foreseeable
   medical costs.

7. Are there any special collection circumstances (e.g. responding in less than 30 days,
   excessive record retention, or requiring submission of proprietary trade secrets)?
   Other than the November 3, 2019, effective date of Presidential Proclamation 9945, no
   special circumstances exist.

8. Document publication (or intent to publish) a request for public comments in the Federal
   Register
   The Department of State (Visa Office, Bureau of Consular Affairs) will solicit public
   comments on this collection via a Public Notice in the Federal Register.
9. Are any payments or gifts given to the respondents?
   No payment or gift is provided to respondents.
10. Describe assurances of privacy/confidentiality
   In accordance with INA section 222(f), 8 U.S.C. § 1202(f), information obtained from
   applicants in the nonimmigrant or immigrant visa application process is considered
   confidential and is to be used only for the formulation, amendment, administration, or
   enforcement of the immigration, nationality, and other laws of the United States, except that,
   in the discretion of the Secretary of State, it may be made available to a court or provided to a
   foreign government if the relevant requirements stated in INA section 222(f), 8 U.S.C. §
   1202(f), are satisfied.
11. Are any questions of a sensitive nature asked?
   The questions in the collection are designed to solicit the information necessary to determine
   whether an applicant will be covered by an approved health insurance plan within 30 days of
   entry to the United States, unless the applicant possesses sufficient financial resources to
   cover reasonably foreseeable medical costs.
   The proposed questions are similar in nature to questions currently on the immigrant visa
   application forms and thus do not, for the most part, present new or unusual sensitivities.
   The Department recognizes that medical conditions can be inherently sensitive information,
   however, this information collection does not solicit any additional questions about medical
   conditions. The Department has separate medical forms, Forms DS-3030, DS-2054, DS-
   3025, and DS-3026, which specifically collect information on medical conditions. These
   questions simply request information necessary to determine whether the applicant will be
   covered by an approved health insurance plan within 30 days of entry to the United States,
   unless the applicant possesses sufficient financial resources to cover reasonably foreseeable
   medical costs.
12. Describe the hour time burden and the hour cost burden on the respondent needed to
    complete this collection




                                               029
         Case 3:19-cv-01743-SI           Document 91         Filed 11/21/19       Page 31 of 125

                                                      3


     The Department estimates that 450,500 individuals per year will be asked to answer these
     questions. The average burden per response is estimated to be 10 minutes.
     Therefore, the Department estimates that the annual hour burden to visa applicants posed by
     the additional healthcare insurance coverage question is 75,083 hours (450,500 applicants x
     10 minutes). The weighted wage hour cost burden for this collection is $1,875,573 based on
     the calculation of $24.981 (average hourly wage) x 75,083 hours = $1,875,573.
13. Describe any monetary burden on the respondent needed to complete this collection
     There are no anticipated monetary burdens associated with the additional questions posed as
     part of this information collection. While Presidential Proclamation 9945 may add monetary
     burdens to certain immigrant applicants by requiring health insurance coverage, this
     information collection is not imposing a burden and is only necessary to implement PP 9945.
14. Describe the cost to the Federal Government to complete this collection
     There are no additional costs to the federal government as a result of the additional questions.
15. Explain any changes/adjustments to this collection since the previous submission
     This is a new information collection.
16. Specify if the data gathered by this collection will be published
     The information gathered by this collection will not be published.
17. Explain the reasons for seeking approval to not display the OMB expiration date
     The OMB expiration date cannot be displayed because the Department will not be using a
     form for this information collection. Rather, consular officers will verbally ask applicants at
     the time of the visa interview. However, the Department is seeking approval of a separate
     proposed information collection (DS-5540, Public Charge Questionnaire) through standard
     procedures that will incorporate this question into a form asking for other financial
     information from applicants.
18. Explain any exceptions to the OMB certification statement
     The Department is not requesting any exceptions to the certification statement requirements.


B.      COLLECTION OF INFORMATION EMPLOYING STATISTICAL METHODS
This collection does not employ statistical methods.




1
 Source: Data from the U.S. Bureau of Labor Statistics' May 2018 National Occupational Employment and Wage
Estimates for all occupations (https://www.bls.gov/oes/current/oes_nat.htm#00-0000). Retrieved September 23,
2019.




                                                    030
                   Case 3:19-cv-01743-SI             Document 91     Filed 11/21/19     Page 32 of 125
           NOTICE OF OFFICE OF MANAGEMENT AND BUDGET ACTION
                                                                                            Date     11/01/2019

Department of State
Administration of Foreign Affairs

FOR CERTIFYING OFFICIAL:            Stuart McGuigan
FOR CLEARANCE OFFICER:              Zachary Parker

In accordance with the Paperwork Reduction Act, OMB has taken action on your request received
10/22/2019

ACTION REQUESTED:           New collection (Request for a new OMB Control Number)
TYPE OF REVIEW REQUESTED:              Emergency
ICR REFERENCE NUMBER:                  201910-1405-001
AGENCY ICR TRACKING NUMBER:
TITLE:          Immigrant Health Insurance Coverage
LIST OF INFORMATION COLLECTIONS: See next page


OMB ACTION: Approved with change
OMB CONTROL NUMBER:                      1405-0231
The agency is required to display the OMB Control Number and inform respondents of its legal significance in
accordance with 5 CFR 1320.5(b).

EXPIRATION DATE: 05/31/2020                                   DISCONTINUE DATE:


BURDEN:                                                   RESPONSES                      HOURS                    COSTS
Previous                                                                0                       0                     0
New                                                               450,500                  75,083                     0
Difference
  Change due to New Statute                                             0                       0                     0
  Change due to Agency Discretion                                 450,500                  75,083                     0
  Change due to Agency Adjustment                                       0                       0                     0
  Change due to PRA Violation                                           0                       0                     0

TERMS OF CLEARANCE:


OMB Authorizing Official:      Dominic J. Mancini
                               Deputy and Acting Administrator,
                               Office Of Information And Regulatory Affairs




                                                             031
                      Case 3:19-cv-01743-SI    Document 91       Filed 11/21/19   Page 33 of 125

                                                   List of ICs
           IC Title                     Form No.                  Form Name                CFR Citation

Immigrant Health Insurance    DS-5541                   Immigrant Healthcare
Coverage                                                Questionnaire




                                                        032
                         Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19              Page 34 of 125

                               Federal Register / Vol. 84, No. 210 / Wednesday, October 30, 2019 / Notices                                                      58199

     address listed above or other locally                     State Desk Officer in the Office of                   • Obligation to Respond: Required to
     announced locations.                                      Information and Regulatory Affairs at               Obtain or Retain a Benefit.
       The following areas have been                           the Office of Management and Budget                   We are soliciting public comments to
     determined to be adversely affected by                    (OMB) and to the Department of State’s              permit the Department to:
     the disaster:                                             Bureau of Consular Affairs, Office of                 • Evaluate whether the proposed
     Primary Counties: Brevard, Duval,                         Visa Services.                                      information collection is necessary for
         Flagler, Indian River, Martin,                           All public comments must be                      the proper functions of the Department.
         Nassau, Osceola, Palm Beach,                          received by October 31, 2019.                         • Evaluate the accuracy of our
         Putnam, Saint Johns, Saint Lucie,                        You may submit comments to OMB                   estimate of the time and cost burden of
         Seminole.                                             by the following methods:                           this proposed collection, including the
                                                                  • Email: oira_submission@                        validity of the methodology and
        The Interest Rates are:                                omb.eop.gov. You must include the DS                assumptions used.
                                                               form number, information collection                   • Enhance the quality, utility, and
                                                      Percent                                                      clarity of the information to be
                                                               title, and OMB control number in the
                                                               subject line of your message.                       collected.
     For Physical Damage:
                                                                  • Fax: 202–395–5806. Attention: Desk               • Minimize the reporting burden on
        Non-Profit Organizations with
          Credit Available Elsewhere ...                 2.750 Officer for Department of State. You                those who are to respond, including the
        Non-Profit Organizations with-                         may submit comments to the Bureau of                use of automated collection techniques
          out Credit Available Else-                           Consular Affairs, Visa Office by the                or other forms of information
          where .....................................    2.750 following methods:                                  technology.
     For Economic Injury:                                         • Web: Persons with access to the                  Please note that comments submitted
        Non-Profit Organizations with-
                                                               internet  may comment on this notice by             in response to this Notice are public
          out Credit Available Else-                                                                               record. Before including any detailed
          where .....................................    2.750 going to www.Regulations.gov. You can               personal information, you should be
                                                               search for the document by entering
                                                               ‘‘Docket Number: DOS–2019–0039’’ in                 aware that your comments as submitted,
        The number assigned to this disaster                                                                       including your personal information,
     for physical damage is 161628 and for                     the Search field. Then click the
                                                               ‘‘Comment Now’’ button and complete                 will be available for public review
     economic injury is 161630.
                                                               the comment form.                                   Abstract of Proposed Collection
     (Catalog of Federal Domestic Assistance
                                                                  • Email: PRA_BurdenComments@                        The Presidential Proclamation on the Suspension of
     Number 59008)
                                                               state.gov. You must include Emergency               Entry of Immigrants Who Will Financially Burden the
     James Rivera,                                             Submission Comment on ‘‘information                                           (‘‘PP 9945’’)
                                                                                                                   United States Healthcare System
     Associate Administrator for Disaster                      collection title’’ in the subject line of           requires immigrant visa applicants to
     Assistance.                                               your message.                                       establish, to the satisfaction of a
     [FR Doc. 2019–23663 Filed 10–29–19; 8:45 am]                 You must include the DS form                     consular officer, that the applicant will
     BILLING CODE 8026–03–P                                    number (if applicable), information                 be covered by an approved health
                                                               collection title, and the OMB control               insurance plan within 30 days of entry
                                                               number in any correspondence.                       into the United States, unless the
     DEPARTMENT OF STATE                                       FOR FURTHER INFORMATION CONTACT:                    applicant possesses sufficient financial
                                                               Direct requests for additional                      resources to cover reasonably
     [Public Notice: 10934]
                                                               information regarding the collection                foreseeable medical costs. Proclamation
     Notice of Information Collection Under listed in this notice, including requests                              No. 9945, 84 FR 53991 (Oct. 4, 2019).
     OMB Emergency Review: Immigrant                           for copies of the proposed collection               Section 3 of the Proclamation authorizes
     Health Insurance Coverage                                 instrument and supporting documents                 the Secretary of State to establish
                                                               to Megan Herndon, who may be reached                standards and procedures for governing
     ACTION: Notice of request for emergency                   at (202) 485–7586 or at PRA_                        such determinations. Id. PP 9945 was
     review and approval by OMB and                            BurdenComments@state.gov.                           signed on October 4, 2019, and
     public comment.                                           SUPPLEMENTARY INFORMATION:                          emergency review of this information
                                                                  • Title of Information Collection:               collection is necessary for the
     SUMMARY: The Department of State                          Immigrant Health Insurance Coverage.                Department to prepare consular officers
     (‘‘Department’’) has submitted the                           • OMB Control Number: None.                      to implement PP 9945 when it goes into
     information collection request described                     • Type of Request: Emergency                     effect on November 3, 2019.
     below to the Office of Management and                     Review.
     Budget (‘‘OMB’’) for review and                              • Originating Office: Bureau of                  Methodology
     approval in accordance with the                           Consular Affairs, Visa Office (CA/VO).                 Consular officers will verbally ask
     emergency review procedures of the                           • Form Number: DS–5541 (oral                     immigrant visa applicants covered by
     Paperwork Reduction Act of 1995. The                      information collection).                            PP 9945 whether they will be covered
     purpose of this notice is to allow for                       • Respondents: Certain immigrant                 by health insurance in the United States
     public comment from all interested                        visa applicants.                                    within 30 days of entry to the United
     individuals and organizations.                               • Estimated Number of Respondents:               States and, if so, for details relating to
     Emergency review and approval of this                     450,500.                                            such insurance. Proclamation No. 9945,
     collection has been requested from OMB                       • Estimated Number of Responses:                 84 FR 53991 (Oct. 4, 2019). PP 9945
     by November 1, 2019. If granted, the                      450,500.                                            only applies to applicants seeking to
     approval is only valid for 180 days. The                     • Average Time Per Response: 10                  enter the United States pursuant to an
     Department is separately submitting a 3 minutes.                                                              immigrant visa. If applicants answer
     year approval through OMB’s normal                           • Total Estimated Burden Time:                   affirmatively, consular officers will ask
     PRA clearance process.                                    75,083 hours.                                       for applicants to identify the specific
     ADDRESSES: Direct any comments on                            • Frequency: Once per respondent’s               health insurance plan, the date coverage
     this request to both the Department of                    application.                                        will begin, and such other information

                                                                                    033
VerDate Sep<11>2014   17:18 Oct 29, 2019   Jkt 250001   PO 00000   Frm 00074   Fmt 4703   Sfmt 4703   E:\FR\FM\30OCN1.SGM   30OCN1
                         Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19              Page 35 of 125

     58200                     Federal Register / Vol. 84, No. 210 / Wednesday, October 30, 2019 / Notices

     related to the insurance plan as the                    operating in train stop, train control or             an opportunity for oral comment and a
     consular officer deems necessary. PP                    cab signal territory; equipped. FRA                   public hearing, they should notify FRA,
     9945 does not suspend or limit the entry                assigned the petition Docket Number                   in writing, before the end of the
     of applicants if they do not have                       FRA–2019–0087.                                        comment period and specify the basis
     coverage, but possess financial                            Specifically, Metra requests to operate            for their request.
     resources to pay for reasonably                         positive train control (PTC) equipped                   All communications concerning these
     foreseeable medical expenses.                           controlling locomotives with the                      proceedings should identify the
     Reasonably foreseeable medical                          automatic cab signals (ACS) cut-out.                  appropriate docket number and may be
     expenses are those expenses related to                  The relief is to be within a PTC revenue              submitted by any of the following
     existing medical conditions, relating to                service demonstration (RSD) area on the               methods:
     health issues existing at the time of visa              Rock Island District, on which a PTC                    • Website: http://
     adjudication.                                           system (Interoperable Electronic Train                www.regulations.gov. Follow the online
        PP 9945 does not apply to holders of                 Management System) is installed and                   instructions for submitting comments.
     valid immigrant visas issued before the                 operative; the PTC system is                            • Fax: 202–493–2251.
     effective date of the proclamation; aliens              successfully initialized; and a                         • Mail: Docket Operations Facility,
     seeking to enter the United states                      locomotive engineer trained and                       U.S. Department of Transportation, 1200
     pursuant to a Special Immigrant Visa, in                qualified in the operation of PTC is                  New Jersey Ave. SE, W12–140,
     either the SI or SQ classification; any                 present for the operation of the train                Washington, DC 20590.
     alien who is seeking to enter the United                with the ACS cut-out.                                   • Hand Delivery: 1200 New Jersey
     States pursuant to an IR–2, CR–2, IR–3,                    Locations of the requested relief on               Ave. SE, Room W12–140, Washington,
     IR–4, IH–3, or IH–4 visa; aliens seeking                the Rock Island District are:                         DC 20590, between 9 a.m. and 5 p.m.,
     to enter pursuant to an IR–5 visa,                      • Track No. 1, Westward—MP 14.5 to                    Monday through Friday, except Federal
     provided the alien or alien’s sponsor                      MP 39.9; Eastward—MP 39.9 to MP                    Holidays.
     demonstrates to the satisfaction of                        14.5                                                 Communications received by
     consular officers that they will not                    • Track No. 2, Westward—MP 14.5 to                    December 16, 2019 will be considered
     impose a substantial burden on the                         MP 39.9; Eastward—MP 39.9 to MP                    by FRA before final action is taken.
     United States healthcare system; aliens                    14.5                                               Comments received after that date will
     seeking to enter the United States                      • Main Track, MP 39.9 to 40.2.                        be considered if practicable.
     pursuant to a SB–1 visa; any alien under                   If the PTC system fails and/or is cut-               Anyone can search the electronic
     the age of 18, except for any alien                     out en route, the train crew will cut-in              form of any written communications
     accompanying a parent who is also                       the ACS onboard system, perform a                     and comments received into any of our
     immigrating to the United States and                    departure test, and if successful,                    dockets by the name of the individual
     subject to PP 9945; any alien whose                     continue the trip through the project                 submitting the comment (or signing the
     entry would further important United                    limits under ACS operation. If the ACS                document, if submitted on behalf of an
     States law enforcement objectives, as                   onboard system cut-in and/or departure                association, business, labor union, etc.).
     determined by the Secretary of State or                 test are not completed successfully, the              Under 5 U.S.C. 553(c), DOT solicits
     his designee based on a                                 train will continue to operate under the              comments from the public to better
     recommendation from the Attorney                        provisions of § 236.567, Restrictions                 inform its processes. DOT posts these
     General or his designee; or aliens whose                imposed when device fails and/or is cut               comments, without edit, including any
     entry would be in the national interest,                out en route.                                         personal information the commenter
     as determined by the Secretary of State                    Metra notes that the ACS and PTC                   provides, to www.regulations.gov, as
     or his designee on a case-by-case basis.                systems are not integrated on the                     described in the system of records
     Edward J. Ramotowski,                                   locomotive, and their concurrent use                  notice (DOT/ALL–14 FDMS), which can
     Deputy Assistant Secretary, Visa Services,              would be potentially confusing and                    be reviewed at www.transportation.gov/
     Bureau of Consular Affairs, Department of               distracting to the train crew due to                  privacy. See also http://
     State.                                                  differences in the content of their                   www.regulations.gov/#!privacyNotice
     [FR Doc. 2019–23639 Filed 10–29–19; 8:45 am]            displays, audible and visual alerts                   for the privacy notice of regulations.gov.
     BILLING CODE 4710–06–P                                  provided, and required                                  Issued in Washington, DC.
                                                             acknowledgement protocols.
                                                                                                                   John Karl Alexy,
                                                                A copy of the petition, as well as any
                                                                                                                   Associate Administrator for Railroad Safety,
     DEPARTMENT OF TRANSPORTATION                            written communications concerning the
                                                                                                                   Chief Safety Officer.
                                                             petition, is available for review online at
                                                                                                                   [FR Doc. 2019–23669 Filed 10–29–19; 8:45 am]
     Federal Railroad Administration                         www.regulations.gov and in person at
                                                                                                                   BILLING CODE 4910–06–P
                                                             the U.S. Department of Transportation’s
     [Docket Number FRA–2019–0087]                           Docket Operations Facility, 1200 New
     Petition for Waiver of Compliance                       Jersey Ave. SE, W12–140, Washington,
                                                                                                                   DEPARTMENT OF TRANSPORTATION
                                                             DC 20590. The Docket Operations
        Under part 211 of title 49 of the Code               Facility is open from 9 a.m. to 5 p.m.,               Federal Railroad Administration
     of Federal Regulations (CFR), this                      Monday through Friday, except Federal
     document provides the public notice                     Holidays.
                                                                                                                   [Docket No. FRA–2019–0004–N–19]
     that on October 16, 2019, the Northeast                    Interested parties are invited to
     Illinois Regional Commuter Railroad                     participate in these proceedings by                   Proposed Agency Information
     Corporation (Metra) petitioned the                      submitting written views, data, or                    Collection Activities; Comment
     Federal Railroad Administration (FRA)                   comments. FRA does not anticipate                     Request
     for a waiver of compliance from certain                 scheduling a public hearing in
     provisions of the Federal railroad safety               connection with these proceedings since               AGENCY: Federal Railroad
     regulations contained at 49 CFR                         the facts do not appear to warrant a                  Administration (FRA), U.S. Department
     236.566, Locomotive of each train                       hearing. If any interested parties desire             of Transportation (DOT).

                                                                                    034
VerDate Sep<11>2014   17:18 Oct 29, 2019   Jkt 250001   PO 00000   Frm 00075   Fmt 4703   Sfmt 4703   E:\FR\FM\30OCN1.SGM   30OCN1
       Case 3:19-cv-01743-SI        Document 91       Filed 11/21/19     Page 36 of 125




Response to public comments received in response to the notice of request for emergency
OMB review and approval of the DS-5541, Immigrant Health Insurance Coverage

The Department of State (“Department”) published a notice of request for emergency OMB
review and approval in the Federal Register on October 30, 2019 (84 FR 58199), and solicited
public comments on the DS-5541, Immigrant Health Insurance Coverage. This collection, which
will authorize consular officers to ask certain immigrant visa applicants about their intended
health insurance coverage in the United States, is necessary to implement Presidential
Proclamation 9945, which requires immigrant visa applicants to establish, to the satisfaction of a
consular officer, that the applicant will be covered by an approved health insurance plan within
30 days of entry into the United States, unless the applicant possesses sufficient financial
resources to cover reasonably foreseeable medical costs, or if an exception applies. The
comment period closed on October 31, 2019 at 11:59 PM, and the Department has received over
300 comments.

The Department has determined that the majority of comments fall within one of the categories
below:
           At least 11 comments recommend providing a longer time period for public
             comment. To these comments, the Department generally responds that the time
             available to accept public comments was constrained by the effective date of the
             Proclamation;
           At least 29 comments expressed concern about the acceptance of short-term
             health insurance plans. To these comments, the Department generally responds
             that the categories of approved health plans were decided by the President and,
             consequently, the comments are nonresponsive, as they fall outside the scope of
             issues relevant to this information collection;
           At least 3 comments identified specific criteria that should be considered in the
             collection’s time and cost burden estimates; and
           Many comments stated opposition to the requirement in Presidential Proclamation
             9945 that immigrant visa applicants obtain health insurance coverage. To these
             comments, the Department generally responds that the requirement relating to
             health insurance were decided by the President and, consequently, the comments
             are nonresponsive, as they the comments fall outside the scope of issues relevant
             to this information collection.

The Department cannot respond to all comments prior to the implementation deadline of
Presidential Proclamation 9945 on November 3, 2019. The Department is, however, currently
reviewing all submissions to identify responsive comments, and will respond to those comments
as appropriate.




                                              035
             Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 37 of 125


CA Press Guidance
October 4, 2019

   VISAS: Presidential Proclamation on Suspension of Entry of Immigrants Who Will
               Financially Burden the United States Healthcare System

    On October 4, 2019, the President issued a Presidential Proclamation (P.P.) titled
     “Suspension of Entry of Immigrants Who Will Financially Burden the United States
     Healthcare System, In Order to Protect the Availability of Healthcare Benefits for
     Americans.”

    Beginning November 3, 2019, in order to demonstrate qualification for entry, immigrant
     visa applicants — other than those covered by certain exceptions — must demonstrate to
     a consular officer that they will be covered by approved health insurance within thirty
     days of entry into the United States, or that they possess the financial resources to pay for
     reasonably foreseeable medical costs. Inability to do so will result in the denial of the
     visa application.

    Visa applicants subject to this proclamation must establish that they meet its
     requirements, to the satisfaction of a consular officer, prior to and in connection with the
     adjudication and issuance of an immigrant visa.

Q&A

Q. What are the exceptions?
A. The P.P. includes a number of exceptions. The limitation on entry does not apply to:
    Individuals with a valid immigrant visa issued before November 3, 2019
    Iraqi and Afghan special immigrant visas (SI and SQ visas)
    Adopted, biological, and step-children of U.S. citizens (IR2, IR3, IR4, IH3, and IH4)
    Returning Resident SB-1 applicants
    Aliens entering the United States without an immigrant visa, including lawful permanent
     residents, refugees, and asylees
    Any alien seeking to enter the United States pursuant to an IR-5 visa, provided that the
     alien or the alien’s sponsor demonstrates to the consular officer that the alien’s healthcare
     will not impose a substantial burden on the United States healthcare system
    Any alien under the age of 18 except for any alien accompanying a parent who is also
     immigrating to the United States and subject to this proclamation

                                              036
            Case 3:19-cv-01743-SI   Document 91     Filed 11/21/19   Page 38 of 125


    Any alien whose entry would further important United States law enforcement objectives,
     as determined by the Secretary of State or his designee based on a recommendation of the
     Attorney General or his designee
    Any alien whose entry would be in the national interest, as determined by the Secretary
     of State or his designee on a case-by-case basis
Q. What is approved health insurance?
A. Approved health insurance includes:
           Employer-sponsored health plans, including retiree plans
           Unsubsidized health plans offered in the individual market within a state
           Short-term, limited duration health plans effective for a minimum of 364 days or
            until the beginning of planned, extended travel outside the United States
           Catastrophic plans
           Coverage by a family member’s health plan
           U.S. military health plans, including TRICARE
           Visitor health insurance plans with adequate medical coverage for a minimum of
            364 days or until the beginning of planned, extended travel outside the United
            States
           Medical plans under the Medicare program
           Any other health plan with adequate coverage as determined by the Secretary of
            Health and Human Services
For further information and requirements, immigrant visa applicants should review the
information provided on travel.state.gov.
Q. Does Medicaid or the Children’s Health Insurance Program (CHIP) count as
approved health insurance?
A. Approved health insurance does not include coverage under the Medicaid program, except
for health insurance under subchapter XXI of chapter 7 of title 42, United States Code.
Q. What is the effective date of the change?
A. The Proclamation is effective 30 days from its signing on October 4 2019.
Q. What would be considered sufficient “financial resources to pay for reasonably
forseeable medical costs?”


                                             037
             Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 39 of 125


A. Affected applicants must demonstrate that they will be covered by approved health
insurance within thirty days of entry into the United States or that they possess the financial
resources to pay for reasonably foreseeable medical costs. All applications are adjudicated on a
case-by-case basis.
Q. Who makes the determination of whether an immigrant is qualified or not, and what
standards do they use?
A. A consular officer will determine whether the applicant is eligible for an immigrant visa
based on U.S. law and available information when the applicant applies for a U.S. visa.
Q. How are applicants expected to demonstrate they meet this requirement?
A. Applicants should be able to demonstrate to the satisfaction of a consular officer that they
possess the financial resources to pay for reasonably foreseeable medical costs or, have a plan
and ability to obtain health insurance within 30 days of arrival. Officers will review the
medical and financial documentation that is already part of the applicant’s case file and may
request additional information or documentation if needed.
Q. How exactly is an applicant expected to secure health insurance prior to traveling to
the U.S.?
A. Applicants are not required to secure health insurance prior to traveling to the United States,
but must demonstrate to the satisfaction of a consular officer that they will be covered by
approved health insurance within thirty days of entry into the United States or that they possess
the financial resources to pay for reasonably foreseeable medical costs.
Q. Why are new immigrants required to purchase health insurance when existing U.S.
citizens are exempt from this mandate?
A. As the Proclamation notes, admitting aliens as immigrants into this country who are unable
to pay for their own healthcare costs puts the burden on American taxpayers and our health
infrastructure. The President has made the determination that immigrants’ entry into this
country should not burden taxpayers and the healthcare system.
Q. Isn’t this just another way to restrict family-based immigration, on top of recent
changes to Public Charge regulations?
A. The Proclamation notes “The United States has a long history of welcoming immigrants
who come lawfully in search of the American Dream. This proclamation continues that
tradition while addressing the challenges facing our healthcare infrastructure. It recognizes that
it is in the interests of the United States to protect our healthcare system from the burdens of
uncompensated care and that the entry into the United States of certain immigrants who lack
health insurance or the ability to pay for their healthcare would be detrimental to these
interests.”

                                               038
             Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 40 of 125


Background
Link to/text of P.P. goes here.




                                            039
              Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 41 of 125


Drafted by:                 09-11-2019,

Clearances:
      VO/F:                     OK
      VO/L:                     OK
      CA/P:                     OK
      P:                        OK
      D:                        OK
      S/P:                      OK
      M:                        OK
      L:                        OK
      WH:                       OK




                                             040
             Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 42 of 125


Talking Points for Congressional Call
October 4, 2019

   VISAS: Presidential Proclamation on Suspension of Entry of Immigrants Who Will
               Financially Burden the United States Healthcare System

    Today, the President issued a Presidential Proclamation (P.P.) titled “Suspension of Entry
     of Immigrants Who Will Financially Burden the United States Healthcare System, In
     Order to Protect the Availability of Healthcare Benefits for Americans.”

    When the proclamation goes into effect in 30 days (November 3), U.S. immigrant visa
     applicants will be required to demonstrate to the satisfaction of a consular officer that
     they will be covered by approved health insurance within thirty days of entry into the
     United States, or that they possess the financial resources to pay for reasonably
     foreseeable medical costs. Inability to satisfy the stated requirements will result in the
     denial of the visa application. There will be limited exceptions to the proclamation.
     (FULL LIST OF EXCEPTIONS FOLLOWS BELOW IN QUESTION 1).

    The proclamation will apply to U.S. immigrant visas only. Nonimmigrant visas will not
     be impacted.


Q&A

Q1. What are the exceptions?
A. The P.P. includes a number of exceptions. The limitation on entry does not apply to:
    Individuals with a valid immigrant visa issued before November 3, 2019
    Iraqi and Afghan special immigrant visas (SI and SQ visas)
    Adopted, biological, and step-children of U.S. citizens (IR2, IR3, IR4, IH3, and IH4)
    Returning Resident SB-1 applicants
    Aliens entering the United States without an immigrant visa, including lawful permanent
     residents, refugees, and asylees
    Any alien seeking to enter the United States pursuant to an IR-5 visa, provided that the
     alien or the alien’s sponsor demonstrates to the consular officer that the alien’s healthcare
     will not impose a substantial burden on the United States healthcare system
    Any alien under the age of 18 except for any alien accompanying a parent who is also
     immigrating to the United States and subject to this proclamation

                                               041
            Case 3:19-cv-01743-SI   Document 91     Filed 11/21/19   Page 43 of 125


    Any alien whose entry would further important United States law enforcement objectives,
     as determined by the Secretary of State or his designee based on a recommendation of the
     Attorney General or his designee
    Any alien whose entry would be in the national interest, as determined by the Secretary
     of State or his designee on a case-by-case basis


Q2. What is approved health insurance?
A. The proclamation defined approved health insurance. Approved health insurance includes:
           Employer-sponsored health plans, including retiree plans
           Unsubsidized health plans offered in the individual market within a state
           Short-term, limited duration health plans effective for a minimum of 364 days or
            until the beginning of planned, extended travel outside the United States
           Catastrophic plans
           Coverage by a family member’s health plan
           U.S. military health plans, including TRICARE
           Visitor health insurance plans with adequate medical coverage for a minimum of
            364 days or until the beginning of planned, extended travel outside the United
            States
           Medical plans under the Medicare program
           Any other health plan with adequate coverage as determined by the Secretary of
            Health and Human Services


Q3. Does Medicaid or the Children’s Health Insurance Program (CHIP) count as
approved health insurance?
A. Approved health insurance does not include coverage under the Medicaid program, except
for health insurance under subchapter XXI of chapter 7 of title 42, United States Code (the
Children’s Health Insurance Program (CHIP)).


Q3. What is the effective date of the change?
A. The Proclamation is effective 30 days from its signing on October 4, 2019.

                                             042
             Case 3:19-cv-01743-SI    Document 91    Filed 11/21/19   Page 44 of 125




Q4. How much money does an immigrant need to have to be allowed into the U.S.?
A. An applicant does not need a set amount of money to qualify for an immigrant visa. Rather,
affected applicants must demonstrate that they will be covered by approved health insurance
within thirty days of entry into the United States or that they possess the financial resources to
pay for reasonably foreseeable medical costs. All applications are adjudicated on a case-by-
case basis.


Q5. Who makes the determination of whether an immigrant is qualified or not, and what
standards do they use?
A. A consular officer will determine whether the applicant is eligible for an immigrant visa
based on U.S. law and available information when the applicant applies for a U.S. visa.


Q6. How are applicants expected to demonstrate they meet this requirement?
A. Applicants should be able to demonstrate to the satisfaction of a consular officer that they
possess the financial resources to pay for reasonably foreseeable medical costs or, have a plan
and ability to obtain health insurance within 30 days of arrival. Officers will review the
medical and financial documentation that is already part of the applicant’s case file and may
request additional information or documentation if needed. Applicants may choose to bring
documentation of their approved health insurance, ability to obtain approved health insurance,
or financial resources to the visa interview, although they are not required to do so. Consular
officers may request additional information or documentation if needed.


Q7. How exactly is an applicant expected to secure health insurance prior to traveling to
the U.S.?
A. Applicants are not required to secure health insurance prior to traveling to the United States,
but must demonstrate to the satisfaction of a consular officer that they will be covered by
approved health insurance within thirty days of entry into the United States or that they possess
the financial resources to pay for reasonably foreseeable medical costs.


Q8. Why are new immigrants required to purchase health insurance when existing U.S.
citizens are exempt from this mandate?
A. As the Proclamation notes, admitting aliens as immigrants into this country who are unable
to pay for their own healthcare costs puts the burden on American taxpayers and our health
                                               043
             Case 3:19-cv-01743-SI   Document 91    Filed 11/21/19   Page 45 of 125


infrastructure. The President has made the determination that immigrants’ entry into this
country should not burden taxpayers and the healthcare system.


Q9. Isn’t this just another way to restrict family-based immigration, on top of recent
changes to Public Charge regulations?
A. The Proclamation notes “The United States has a long history of welcoming immigrants
who come lawfully in search of brighter futures. We must continue that tradition while also
addressing the challenges facing our healthcare system, including protecting both it and the
American taxpayer from the burdens of uncompensated care. Continuing to allow entry into the
United States of certain immigrants who lack health insurance or the demonstrated ability to
pay for their healthcare would be detrimental to these interests.”




                                              044
              Case 3:19-cv-01743-SI    Document 91   Filed 11/21/19   Page 46 of 125


Drafted by:

Clearances:
       VO/F:                    (ok)
       CA/VO: ERamotowski       (ok)
       CA/VO:                   (ok)




                                              045
                    Case 3:19-cv-01743-SI                  Document 91              Filed 11/21/19           Page 47 of 125

                                                               U.S. Department of State                                    OMB APPROVAL NO.1405-XXXX
                                                                                                                           EXPIRATION Date: XX/XX/20XX
                                       IMMIGRANT HEALTHCARE QUESTIONNAIRE                                                  ESTIMATED BURDEN: 10 MINUTES



PART 1 - INFORMATION ABOUT YOU
1. Your Current Legal Name (Do not provide a nickname)
   Family Name (Last Name) Given Name (First Name) Middle Name


PART 2 - YOUR HEALTH
2. Will you be covered by health insurance in the United States within 30 days of your entry into the United States?

             Yes        No




                                        DRAFT
3. If you answered "yes" to Question 2, identify the specific health insurance plan and date coverage will begin.



4. If you answered "no" to Question 2, how do you plan to pay for healthcare for your existing medical conditions in the United States?



                                                Federal Agency Disclosure and Authorizations

PAPERWORK REDUCTION ACT STATEMENT

Public reporting burden for this collection of information is estimated to average 10 minutes per response, including time required for searching existing
data sources, gathering the necessary documentation, providing the information and/or documents required, and reviewing the final collection. You do
not have to supply this information unless this collection displays a currently valid OMB control number. If you have comments on the accuracy of this
burden estimate and/or recommendations for reducing it, please send them to: PRA_BurdenComments@state.gov.

CONFIDENTIALITY STATEMENT

INA Section 222(f) provides that visa issuance and refusal records shall be considered confidential and shall be used only for the formulation,
amendment, administration, or enforcement of the immigration, nationality, and other laws of the United States. Visa records may be disclosed in
certain situations, as described in INA Section 222(f), including disclosure to a court as needed in a case pending before the court.

DS-5541                                                             UNCLASSIFIED
10-2019




                                                                         046
       Case 3:19-cv-01743-SI             Document 91             Filed 11/21/19   Page 48 of 125



From:          Garcia, Gabriel C
Subject:       Message to Posts: Health Insurance Proclamation
Date:          Monday, October 7, 2019 11:25:26 AM



Dear Colleagues,


On October 4, 2019, the President issued a Presidential Proclamation (P.P.)
titled “Suspension of Entry of Immigrants Who Will Financially Burden the
United States Healthcare System, In Order to Protect the Availability of
Healthcare Benefits for Americans.” This proclamation is effective November
3, 2019 at 12:01 Eastern Daylight Time. In order to demonstrate qualification
for entry, immigrant and diversity visa applicants — other than those covered
by certain exceptions — must demonstrate to a consular officer that they will
be covered by approved health insurance within thirty days of entry into the
United States, or that they possess the financial resources to pay for reasonably
foreseeable medical costs. Visa applicants subject to this proclamation must
establish that they meet its requirements, to the satisfaction of a consular
officer, at the time of visa adjudication. The Visa Office will provide more in
depth guidance to the field via ALDAC and in FAM updates within the next
two weeks.


Many thanks,


The Visa Office




                                     SENSITIVE BUT UNCLASSIFIED




                                                      047
        Case 3:19-cv-01743-SI           Document 91             Filed 11/21/19           Page 49 of 125



From:          McMillian, James J
Subject:       MESSAGE TO POSTS: PP 9945 Suspension of Entry of Immigrants Who Will Financially Burden the United States
               Healthcare System
Date:          Friday, November 1, 2019 6:07:23 PM



Dear Colleagues,

Presidential Proclamation (P.P.) 9945, which suspends and limits entry for
aliens as immigrants who cannot demonstrate that they will be covered by
approved health insurance within 30 days of entry into the United States or that
they have the financial resources to pay for reasonably foreseeable medical
costs, is effective November 3, 2019 at 12:01 Eastern Daylight Time. We
anticipate approval from the Office of Management and Budget of our
proposed information collection concerning health insurance-related
information. Posts must begin implementation of P.P. 9945 on November 3,
2019.

In addition, you may have read media reports about a lawsuit filed recently
regarding P.P. 9945. As of now, the case does not prevent the Department
from implementing P.P. 9945. We will provide additional guidance if there are
any developments that may affect case processing at post.

Thank you,

The Visa Office

                                           SBU - IMMIGRATION




                                                      048
       Case 3:19-cv-01743-SI        Document 91        Filed 11/21/19     Page 50 of 125




Presidential Proclamation on Health Care


If you are applying for an immigrant visa, including a diversity visa, on or after November 3,
2019, you must demonstrate to the consular officer at the time of interview that you will be
covered by approved health insurance within 30 days of entry into the United States or have the
financial resources to pay for reasonably foreseeable medical costs. Inability to meet this
requirement will result in the denial of the visa application.
This requirement will apply to all immigrant visa applicants and individuals seeking to
enter the United States on an immigrant visa, except:
      Individuals who are holding (or who held) a valid immigrant visa as of November 3,
       2019
      Iraqi and Afghan special immigrant visa applicants and their spouses and children (SI
       and SQ visas)
      Applicants who are children, whether adopted, biological, and step-children, of a U.S.
       citizen applying in the IR-2, CR-2, IR-3, IR-4, IH-3, or IH-4 visa classifications
      Returning Resident SB-1 applicants
      Applicants for K fiancé(e) visas and other aliens entering the United States without an
       immigrant visa, including lawful permanent residents, refugees, and asylees.
      Applicants for IR-5 visas and alien seeking to enter the United States pursuant to an IR-5
       visa, provided that the alien or the alien’s sponsor demonstrates to the satisfaction of the
       consular officer that the alien’s healthcare will not impose a substantial burden on the
       United States healthcare system
      Any alien under the age of 18, except for any alien seeking to accompany a parent who is
       also immigrating to the United States and subject to this proclamation
      Any alien whose entry would further important United States law enforcement objectives,
       as determined by the Secretary of State or his designee based on a recommendation of the
       Attorney General or his designee
      Any alien whose entry would be in the national interest, as determined by the Secretary
       of State or his designee on a case-by-case basis


Qualifying Insurance or Financial Resource to Pay for Medical Costs
If you are not covered by the exceptions above, you will need to show to a consular officer or
immigration official that you will be covered by approved health insurance within 30 days of




                                               049
                                 SENSITIVE BUT UNCLASSIFIED
        Case 3:19-cv-01743-SI        Document 91       Filed 11/21/19     Page 51 of 125




entry to the United States or that you have the financial resources to pay for reasonably
foreseeable medical costs.
Approved health insurance includes:
      Employer-sponsored health plans, including retiree plans
      Unsubsidized health plans offered in the individual market within a State
      Short-term, limited duration health plans effective for a minimum of 364 days or until the
       beginning of planned, extended travel outside the United States
      Catastrophic plans
      Coverage by a family member’s health plan
      U.S. military health plans, including TRICARE
      Visitor health insurance plans with adequate medical coverage for a minimum of 364
       days or until the beginning of planned, extended travel outside the United States
      Medical plans under the Medicare program
      Any other health plan with adequate coverage as determined by the Secretary of Health
       and Human Services
For individuals over the age of 18, approved health insurance does not include coverage under
the Medicaid program.


Requirement at visa interview
During the visa interview, applicants should be able to demonstrate to the satisfaction of the
consular officer that they have the financial resources to pay for reasonably foreseeable medical
costs or will have approved health insurance from the list above within 30 days of entry into the
United States. Officers will review the medical and financial documentation that is already part
of the applicant’s case file and may request additional information or documentation as needed.
Prior to the visa interview, applicants may wish to review costs and eligibility requirements for
approved health insurance plans or consider how they would pay for the reasonably foreseeable
medical costs of any current medical condition they may have.




                                               050
                                  SENSITIVE BUT UNCLASSIFIED
                                                              Case 3:19-cv-01743-SI                      Document 91                Filed 11/21/19           Page 52 of 125

                                          19712                Federal Register / Vol. 84, No. 87 / Monday, May 6, 2019 / Rules and Regulations

                                          BILLING CODE 4910–13–C                                  paragraph under 5 U.S.C. 552(a) and 1 CFR             recommendations relating to DHS
                                             (2) For seats identified by RECARO SB No.            part 51.                                              waivers for nonimmigrant visa
                                          3510–25–609, Original Issue, dated June 20,                (2) You must use this service information          applicants, including the requirement
                                          2016 (‘‘RECARO SB No. 3510–25–609’’):                   as applicable to do the actions required by
                                             (i) Review Planning Information, paragraph                                                                 that a consular officer, upon the request
                                                                                                  this AD, unless the AD specifies otherwise.
                                          1.A., Tables 2 and 3, in RECARO SB No.                     (i) RECARO Service Bulletin (SB) No.
                                                                                                                                                        of an applicant, must submit a report to
                                          3510–25–609, to determine if a modification             3510–25–609, Original issue, dated June 20,           State concerning a waiver. Under the
                                          is required for the specific P/N seat.                  2016.                                                 revised rule, consular officers will be
                                             (ii) Follow the Accomplishment                          (ii) RECARO SB No. 3510–25–752, Original           required to refer waiver requests to State
                                          Instructions, paragraphs 3.A., 3.B., 3.C., 3.D.,        issue, dated May 20, 2016.                            only when they involve security-related
                                          and 3.E. in RECARO SB No. 3510–25–609.                     (iii) RECARO SB No. 3510–25–753,                   inadmissibility grounds or, with respect
                                             (3) For seats identified by RECARO SB No.            Original issue, dated June 23, 2016.                  to applicant requests, only if the case
                                          3510–25–752, Original Issue, dated May 20,                 (3) For RECARO Aircraft Seating GmbH &
                                          2016 (‘‘RECARO SB No. 3510–25–752’’):
                                                                                                                                                        meets circumstances where a referral is
                                                                                                  Co. KG service information identified in this         required by State guidance. The rule
                                             (i) Review Planning Information, paragraph           AD, contact RECARO Aircraft Seating GmbH
                                          1.A., Tables 2 and 3, in RECARO SB No.                                                                        does not infringe current consular
                                                                                                  & Co. KG, Daimlerstrasse 21, 74523
                                          3510–25–752, to determine if a modification             Schwabisch Hall, Germany; phone: 49 791               officer discretion to refer cases to State
                                          is required for the specific P/N seat.                  503 7855; fax: 49 791 503 7935; email:                or to make recommendations directly to
                                             (ii) Follow the Accomplishment                       technical.support@recaro-as.com.                      the Department of Homeland Security.
                                          Instructions, paragraphs 3.A., 3.B., 3.C., 3.D.,           (4) You may view this service information          DATES: This rule is effective on May 6,
                                          and 3.E. in RECARO SB No. 3510–25–752.                  at FAA, Engine & Propeller Standards
                                             (4) For seats identified by RECARO SB No.
                                                                                                                                                        2019.
                                                                                                  Branch, 1200 District Avenue, Burlington,             FOR FURTHER INFORMATION CONTACT:
                                          3510–25–753, Original issue, dated June 23,             MA 01803. For information on the
                                          2016 (‘‘RECARO SB No. 3510–25–753’’):                   availability of this material at the FAA, call
                                                                                                                                                        Taylor Beaumont, Acting Chief,
                                             (i) Review Planning Information, paragraph           781–238–7759.                                         Legislation and Regulations Division,
                                          1.A., Tables 2 and 3, in RECARO SB No.                     (5) You may view this service information          Legal Affairs, Office of Visa Services,
                                          3510–25–753, to determine the required                  that is incorporated by reference at the              Bureau of Consular Affairs, 600 19th
                                          modification for the specific P/N seat.                 National Archives and Records                         Street NW, Washington, DC 20522, 202–
                                             (ii) Follow the Accomplishment                       Administration (NARA). For information on
                                          Instructions, paragraphs 3.A., 3.B., 3.C., 3.D.,
                                                                                                                                                        485–8910, VisaRegs@state.gov.
                                                                                                  the availability of this material at NARA, call       SUPPLEMENTARY INFORMATION: Aliens are
                                          and 3.E. in RECARO SB No. 3510–25–753.                  202–741–6030, or go to: http://
                                                                                                                                                        ineligible to receive visas if they are
                                          (h) Installation Prohibition                            www.archives.gov/federal-register/cfr/ibr-
                                                                                                  locations.html.                                       inadmissible under any of the grounds
                                            After the effective date of this AD, do not                                                                 in section 212(a) of the Immigration and
                                          install an affected RECARO model passenger                Issued in Burlington, Massachusetts, on             Nationality Act (INA), 8 U.S.C. 1182(a).
                                          seat on any aircraft, unless the seat has been          May 1, 2019.
                                                                                                                                                        Section 212(d)(3)(A)(i) of the INA, 8
                                          modified and re-identified in accordance                Robert J. Ganley,
                                          with paragraph (g)(2), (3), or (4) of this AD.                                                                U.S.C. 1182(d)(3)(A)(i), authorizes the
                                                                                                  Manager, Engine and Propeller Standards               Department of Homeland Security to
                                          (i) Alternative Methods of Compliance                   Branch, Aircraft Certification Service.               approve a waiver covering most grounds
                                          (AMOCs)                                                 [FR Doc. 2019–09184 Filed 5–3–19; 8:45 am]            in section 212(a) of the INA, if the
                                             (1) The Manager, Boston ACO Branch,                  BILLING CODE 4910–13–P                                Secretary of State or a consular officer
                                          FAA, has the authority to approve AMOCs                                                                       recommends that the alien be admitted
                                          for this AD, if requested using the procedures                                                                temporarily into the United States,
                                          found in 14 CFR 39.19. In accordance with
                                          14 CFR 39.19, send your request to your                 DEPARTMENT OF STATE                                   despite the inadmissibility. This
                                          principal inspector or local Flight Standards                                                                 provision does not authorize waivers
                                          District Office, as appropriate. If sending             22 CFR Part 40                                        under INA sections 212(a)(3)(A)(i)(I)
                                          information directly to the manager of the              [Public Notice: 10571]                                (espionage or sabotage), (3)(A)(ii)
                                          certification office, send it to the attention of                                                             (unlawful activity), (3)(A)(iii)
                                          the person identified in paragraph (j)(1) of            RIN 1400–AE72                                         (opposition to or overthrow of United
                                          this AD.                                                                                                      States Government or opposition by
                                             (2) Before using any approved AMOC,                  Visas: Waiver for Ineligible
                                                                                                                                                        force, violence, or unlawful means),
                                          notify your appropriate principal inspector,            Nonimmigrants Under Section
                                          or lacking a principal inspector, the manager                                                                 (3)(C) (serious adverse foreign policy
                                                                                                  212(d)(3)(A)(i) of the Immigration and
                                          of the local flight standards district office/                                                                consequences), (3)(E)(i) (participation in
                                                                                                  Nationality Act
                                          certificate holding district office.                                                                          Nazi persecutions), or (3)(E)(ii)
                                                                                                  AGENCY:    Department of State.                       (participation in genocide)). State
                                          (j) Related Information
                                                                                                  ACTION:   Final rule.                                 regulations at 22 CFR 40.301 describe
                                             (1) For more information about this AD,                                                                    the authority of consular officers to
                                          contact Dorie Resnik, Aerospace Engineer,               SUMMARY:   Under the Immigration and                  recommend waivers.
                                          Boston ACO Branch, FAA, 1200 District                   Nationality Act (INA), a visa applicant                 For cases in which a nonimmigrant
                                          Avenue, Burlington, MA 01803; phone: 781–
                                          238–7693; fax: 781–238–7199; email:                     found inadmissible is ineligible for a                visa applicant is inadmissible based on
                                          dorie.resnik@faa.gov.                                   visa and for admission to the United                  an inadmissibility ground for which a
                                             (2) Refer to European Union Aviation                 States. The INA provides the Secretary                waiver may be granted under section
                                          Safety Agency (EASA) AD 2017–0192, dated                of State and consular officers the                    212(d)(3)(A)(i) of the INA, and the
                                          September 28, 2017, for more information.               authority to recommend that the U.S.                  consular officer has decided not to
                                          You may examine the EASA AD in the AD                   Department of Homeland Security                       recommend a DHS waiver on the
                                          docket on the internet at http://                       (DHS) approve a waiver, of most                       officer’s own authority, but the
                                          www.regulations.gov by searching for and
jbell on DSK3GLQ082PROD with RULES




                                                                                                  grounds of inadmissibility, that will                 applicant or an interested party insists
                                          locating it in Docket No. FAA–2018–1019.
                                                                                                  allow the nonimmigrant visa applicant                 on pursuing a waiver, 22 CFR 40.301
                                          (k) Material Incorporated by Reference                  to be issued a visa and seek admission                currently requires the consular officer to
                                             (1) The Director of the Federal Register             to the United States. This rule amends                refer the request to State for a possible
                                          approved the incorporation by reference                 U.S. Department of State (‘‘State’’)                  exercise of the Secretary of State’s
                                          (IBR) of the service information listed in this         regulations relating to consular officer              authority to recommend a waiver to

                                                                                                                        051
                                     VerDate Sep<11>2014   16:48 May 03, 2019   Jkt 247001   PO 00000   Frm 00014   Fmt 4700   Sfmt 4700   E:\FR\FM\06MYR1.SGM   06MYR1
                                                              Case 3:19-cv-01743-SI                      Document 91                Filed 11/21/19           Page 53 of 125

                                                               Federal Register / Vol. 84, No. 87 / Monday, May 6, 2019 / Rules and Regulations                                             19713

                                          DHS. Neither section 212(d)(3)(A)(i) of                 advance a significant U.S. public                     request. In cases where an applicant
                                          the INA nor Department regulations                      interest ; or                                         requests a waiver referral to State, the
                                          prescribe standards or criteria for the                    5. Urgent humanitarian or medical                  adjudicating consular officer will
                                          consular officers making referrals to                   reasons: The nonimmigrant visa                        determine whether the case involves
                                          State. While the INA makes no express                   applicant’s admission to the United                   one of the enumerated five criteria and
                                          provision for the submission by                         States is warranted due to urgent                     will inform the applicant whether or not
                                          nonimmigrant visa applicants of                         humanitarian or medical reasons.                      the officer will make the referral to
                                          requests for section 212(d)(3)(A)(i)                       Consistent with this exercise of the               State. While there is no mechanism for
                                          waivers, State created an avenue for                    Secretary’s authority to recommend a                  applicants to seek reconsideration or
                                          such requests in 22 CFR 40.301(a). See                  waiver under section 212(d)(3)(A)(i) of               appeal of a consular officer’s
                                          24 FR 6678, 6686 (1959) (formerly 22                    the INA, this rule also clarifies that                determination that the request does not
                                          CFR 41.95(a)).                                          requests by the Secretary for a consular
                                                                                                                                                        satisfy one of the enumerated criteria,
                                             This final rule modifies the non-                    officer to submit a report to State are
                                                                                                                                                        affected applicants may submit new
                                          statutory requirement for consular                      presumed to involve one of the
                                                                                                                                                        nonimmigrant visa applications with
                                          officers to refer section 212(d)(3)(A)(i)               enumerated circumstances. In addition,
                                                                                                  this rule includes technical edits to                 information justifying a waiver under
                                          waiver requests to State for                                                                                  one of the enumerated grounds.
                                          consideration based on an applicant’s                   improve the structure and clarity of 22
                                          request, by limiting it to specified                    CFR 40.301, revise the heading of                     Regulatory Findings
                                          circumstances. This rule will increase                  paragraph (b) to clarify that consular
                                                                                                  officers are permitted to submit                      Administrative Procedure Act
                                          transparency for inadmissible aliens
                                          seeking an exercise of the Secretary’s                  recommendations to a designated DHS
                                                                                                                                                          This rule constitutes a rule of policy
                                          authority to recommend DHS grant a                      office, and eliminate the requirement
                                                                                                  that the Secretary of State define certain            and procedure, and as a result, it is
                                          waiver, and will limit the requirement                                                                        exempt from notice and comment under
                                          that consular officers refer waiver                     categories of cases for which consular
                                                                                                  officers may recommend waivers                        5 U.S.C. 553(b)(3)(A). This final rule
                                          requests to circumstances that involve a                                                                      limits the non-statutory requirement
                                          key State interest, as reflected in the                 directly to DHS.
                                                                                                     The rule clarifies existing State                  that consular officers refer requests for
                                          enumerated criteria. This rule has no                                                                         waivers under INA section 212(d)(3)(A)
                                                                                                  guidance that consular officers may
                                          impact on cases involving security-                                                                           to the Department, by specifying limited
                                                                                                  refer to State, but may not submit
                                          related grounds of inadmissibility,                                                                           circumstances, based on a new policy,
                                                                                                  directly to DHS, a recommendation to
                                          which consular officers must consider                   DHS to waive certain security-related                 in which such referrals are required.
                                          in accordance with other State                          grounds of inadmissibility and the rule               Because this is a rule of policy and
                                          guidance, on consular officers’ existing                narrows the scope of other situations in              procedure, it is effective upon
                                          discretion to pursue waivers on behalf                  which consular officers must refer                    publication in the Federal Register.
                                          of ineligible visa applicants, or on the                waiver cases to State, upon request of
                                          factors DHS considers in exercising its                                                                       Regulatory Flexibility Act/Executive
                                                                                                  the applicant or on their own initiative,
                                          section 212(d)(3)(A) waiver authority.                                                                        Order 13272: Small Business
                                                                                                  to those cases the consular officer
                                             Under this rule, which constitutes an                believes meet one of the criteria                       Because this final rule is exempt from
                                          exercise of the Secretary of State’s                    enumerated below. This rule does not                  notice and comment rulemaking under
                                          authority under section 212(d)(3)(A)(i)                 affect consular officers’ existing
                                          of the INA, consular officers are                                                                             5 U.S.C. 553, it is exempt from the
                                                                                                  authority or discretion to submit non-                regulatory flexibility analysis
                                          required to refer waiver requests to State              security related waiver
                                          in response to a request from the                                                                             requirements set forth by the Regulatory
                                                                                                  recommendations directly to DHS or                    Flexibility Act (5 U.S.C. 603 and 604).
                                          Secretary of State, whose request shall                 refer cases to State. The vast majority of
                                          be presumed to meet one of the criteria                                                                       Nonetheless, consistent with the
                                                                                                  waiver recommendations to DHS under                   Regulatory Flexibility Act (5 U.S.C.
                                          (paragraphs 1–5) enumerated below, or                   section 212(d)(3)(A)(i) of the INA are
                                          in response to a request from a visa                                                                          605(b)), the Department of State certifies
                                                                                                  initiated by consular officers without                that this rule will not have a significant
                                          applicant for a case that the consular                  applicant requests. The rule does not
                                          officer has reason to believe involves                                                                        economic impact on a substantial
                                                                                                  limit, in any way, DHS’s independent                  number of small entities.
                                          one of the following circumstances:                     discretionary authority to approve or
                                             1. Foreign Relations: Refusal of the                 deny a waiver. Finally, the rule applies              Unfunded Mandates Reform Act of 1995
                                          nonimmigrant visa application would                     only to visa applications for which the
                                          become a bilateral irritant or be raised                consular officer conducts an in person                  The Unfunded Mandates Reform Act
                                          by a foreign government with a high                     interview under section 222(h) of the                 of 1995, 2 U.S.C. 1532, generally
                                          ranking United States Government                        INA on or after the rule’s effective date.            requires agencies to prepare a statement
                                          official;                                                  In all cases in which the consular                 before proposing any rule that may
                                             2. National Security: The                            officer: (1) Determines a nonimmigrant                result in an annual expenditure of $100
                                          nonimmigrant visa applicant’s                           visa applicant is not eligible for a visa             million or more by State, local, or tribal
                                          admission to the United States would                    due to inadmissibility; (2) decides not to            governments, or by the private sector.
                                          advance a U.S. national security                        recommend directly that DHS grant a                   This rule does not require the
                                          interest;                                               waiver; (3) would choose not to refer the             Department of State to prepare a
                                             3. Law Enforcement: The                              case to State to consider pursuing a                  statement because it will not result in
                                          nonimmigrant visa applicant’s                           waiver, but the applicant continues to                any such expenditure, nor will it
                                          admission to the United States would                                                                          significantly or uniquely affect small
jbell on DSK3GLQ082PROD with RULES




                                                                                                  request a waiver; (4) determines that
                                          advance an important U.S. law                           there is no reason to believe that one of             governments. This rule involves visas,
                                          enforcement objective;                                  the criteria for referral to State are met;           which involves individuals, and does
                                             4. Significant Public Interest: The                  the officer will refuse the visa                      not directly or substantially affect, state,
                                          nonimmigrant visa applicant’s                           application without referring the case to             local, or tribal governments, or
                                          admission to the United States would                    State, notwithstanding the applicant’s                businesses.

                                                                                                                        052
                                     VerDate Sep<11>2014   16:48 May 03, 2019   Jkt 247001   PO 00000   Frm 00015   Fmt 4700   Sfmt 4700   E:\FR\FM\06MYR1.SGM   06MYR1
                                                              Case 3:19-cv-01743-SI                       Document 91               Filed 11/21/19           Page 54 of 125

                                          19714                Federal Register / Vol. 84, No. 87 / Monday, May 6, 2019 / Rules and Regulations

                                          Small Business Regulatory Enforcement                   3(b)(2) of Executive Order 12988 to                   presumed to meet one of the criteria in
                                          Fairness Act of 1996                                    eliminate ambiguity, minimize                         paragraphs (a)(2)(i) through (v) of this
                                            This rule is not a major rule as                      litigation, establish clear legal                     section, or in response to a request from
                                          defined in 5 U.S.C. 804, for purposes of                standards, and reduce burden.                         a visa applicant for a case that the
                                          congressional review of agency                                                                                consular officer has reason to believe
                                                                                                  Executive Order 13175—Consultation                    meets one of the criteria in paragraphs
                                          rulemaking under the Small Business                     and Coordination With Indian Tribal
                                          Regulatory Enforcement Fairness Act of                                                                        (a)(2)(i) through (v), consular officers are
                                                                                                  Governments                                           required to submit a report to the
                                          1996. This rule will not result in an
                                          annual effect on the economy of $100                      The Department of State has                         Department for possible transmission to
                                          million or more; a major increase in                    determined that this rulemaking will                  the designated DHS office pursuant to
                                          costs or prices; or adverse effects on                  not have tribal implications, will not                INA 212(d)(3)(A) in the case of an alien
                                          competition, employment, investment,                    impose substantial direct compliance                  who is classifiable as a nonimmigrant
                                          productivity, innovation, or the ability                costs on Indian tribal governments, and               but whom the consular officer knows or
                                          of United States-based companies to                     will not pre-empt tribal law.                         believes is ineligible to receive a
                                          compete with foreign-based companies                    Accordingly, the requirements of                      nonimmigrant visa due to
                                          in domestic and import markets.                         Section 5 of Executive Order 13175 do                 inadmissibility under the provisions of
                                                                                                  not apply to this rulemaking.                         INA 212(a), other than INA
                                          Executive Orders 12866 and 13563                                                                              212(a)(3)(A)(i)(I), (3)(A)(ii), (3)(A)(iii),
                                                                                                  Executive Order 13771
                                             Executive Orders 13563 and 12866                                                                           (3)(C), (3)(E)(i), or (3)(E)(ii).
                                          direct agencies to assess costs and                       This rule is not subject to the                        (i) Foreign Relations: Refusal of the
                                          benefits of available regulatory                        requirements of Executive Order 13771                 nonimmigrant visa application would
                                          alternatives and, if regulation is                      because it is de minimis.                             become a bilateral irritant or be raised
                                          necessary, to select regulatory                                                                               by a foreign government with a high
                                                                                                  Paperwork Reduction Act
                                          approaches that maximize net benefits                                                                         ranking United States government
                                          (including potential economic,                            This rule does not impose any new                   official;
                                          environmental, public health and safety                 reporting or record-keeping                              (ii) National security. The
                                          effects, distributed impacts, and equity).              requirements subject to the Paperwork                 nonimmigrant visa applicant’s
                                          These Executive Orders stress the                       Reduction Act, 44 U.S.C. Chapter 35.                  admission to the United States would
                                          importance of quantifying both costs                    List of Subjects in 22 CFR Part 40                    advance a U.S. national security
                                          and benefits, of reducing costs, of                                                                           interest;
                                                                                                    Aliens, Immigration, Visas.                            (iii) Law enforcement. The
                                          harmonizing rules, and of promoting
                                          flexibility. The Department of State has                  Accordingly, for the reasons set forth              nonimmigrant visa applicant’s
                                          examined this rule in light of Executive                in the preamble, 22 CFR part 40 is                    admission to the United States would
                                          Order 13563, and has determined that                    amended to read as follows:                           advance an important U.S. law
                                          the rulemaking is consistent with the                                                                         enforcement objective;
                                                                                                  PART 40—REGULATIONS                                      (iv) Significant public interest. The
                                          guidance therein. The Department of                     PERTAINING TO BOTH
                                          State has reviewed this rulemaking to                                                                         nonimmigrant visa applicant’s
                                                                                                  NONIMMIGRANTS AND IMMIGRANTS                          admission to the United States would
                                          ensure its consistency with the
                                                                                                  UNDER THE IMMIGRATION AND                             advance a significant U.S. public
                                          regulatory philosophy and principles set
                                                                                                  NATIONALITY ACT, AS AMENDED                           interest, or
                                          forth in Executive Order 12866. The
                                          Office of Information and Regulatory                                                                             (v) Urgent humanitarian or medical
                                                                                                  ■ 1. The authority citation for part 40 is            reasons. The nonimmigrant visa
                                          Affairs (OIRA) has determined this rule                 revised to read as follows:
                                          to be a significant, though not                                                                               applicant’s admission to the United
                                                                                                      Authority: 8 U.S.C. 1104, 8 U.S.C. 1182.          States may be warranted due to urgent
                                          economically significant, regulatory
                                          action. Consequently, OIRA has                          ■ 2. Section 40.301 is revised to read as             humanitarian or medical reasons.
                                          reviewed this rule. This rule will ensure               follows:                                                 (b) Recommendation to designated
                                          consistency with U.S. and international                                                                       DHS office. Consular officers may
                                          law and the increased clarity will
                                                                                                  § 40.301 Waiver for ineligible                        recommend directly to the designated
                                                                                                  nonimmigrants under INA 212(d)(3)(A).                 DHS office that the alien be admitted
                                          benefit the U.S. public. There are no
                                          anticipated direct costs to the public                     (a) Recommendations under INA                      temporarily despite his or her
                                          associated with this rule.                              212(d)(3)(A)(i). (1) Consular officers, on            inadmissibility in any case where a
                                                                                                  their own initiative in cases they believe            waiver may be available, unless the
                                          Executive Orders 12372 and 13132:                       meet one of the criteria in paragraphs                consular officer has reason to believe
                                          Federalism                                              (a)(2)(i) through (v) of this section, may            that the applicant is inadmissible under
                                            This regulation will not have                         submit a report to the Department for                 INA 212(a)(3)(A)(i), (3)(A)(ii), (3)(A)(iii),
                                          substantial direct effect on the States, on             possible transmission to the designated               (3)(B), (3)(C), (3)(D), (3)(E)(i), (3)(E)(ii),
                                          the relationship between the national                   DHS office pursuant to INA                            (3)(E)(iii), (3)(F), or (3)(G) . The
                                          government and the States, or the                       212(d)(3)(A)(i) (8 U.S.C.                             Department may recommend that the
                                          distribution of power and                               1182(d)(3)(A)(i)), in the case of an alien            Secretary of Homeland Security waive
                                          responsibilities among the various                      who is classifiable as a nonimmigrant                 ineligibility under any ground in section
                                          levels of government. Nor will the rule                 but who the consular officer knows or                 212(a) of the INA, except for sections
                                          have federalism implications warranting                 believes is ineligible to receive a                   212(a)(3)(A)(i)(I), (3)(A)(ii), (3)(A)(iii),
                                          the application of Executive Orders                     nonimmigrant visa due to                              (3)(C), (3)(E)(i), and (3)(E)(ii).
jbell on DSK3GLQ082PROD with RULES




                                          12372 and 13132.                                        inadmissibility under the provisions of                  (c) Secretary of Homeland Security
                                                                                                  INA 212(a) (8 U.S.C. 1182(a)), other than             may impose conditions. When the
                                          Executive Order 12988: Civil Justice                    INA 212(a)(3)(A)(i)(I), (3)(A)(ii),                   Secretary of Homeland Security
                                          Reform                                                  (3)(A)(iii), (3)(C), (3)(E)(i), or (3)(E)(ii).        authorizes the temporary admission of
                                            The Department of State has reviewed                     (2) In response to a request from the              an inadmissible alien as a nonimmigrant
                                          the rule in light of sections 3(a) and                  Secretary of State, which shall be                    and the consular officer is so informed,

                                                                                                                        053
                                     VerDate Sep<11>2014   16:48 May 03, 2019   Jkt 247001   PO 00000   Frm 00016   Fmt 4700   Sfmt 4700   E:\FR\FM\06MYR1.SGM   06MYR1
                                                              Case 3:19-cv-01743-SI                      Document 91                Filed 11/21/19           Page 55 of 125

                                                               Federal Register / Vol. 84, No. 87 / Monday, May 6, 2019 / Rules and Regulations                                            19715

                                          the consular officer may proceed with                   I. Table of Abbreviations                             37°48′42″ N, 122°25′13″ W and thence
                                          the issuance of a nonimmigrant visa to                                                                        along the shore to the point of
                                          the alien, subject to the conditions, if                CFR Code of Federal Regulations                       beginning. Located within this footprint,
                                          any, imposed by the Secretary of                        DHS Department of Homeland Security                   there will be three separate regulated
                                          Homeland Security.                                      FR Federal Register                                   areas: Zone ‘‘A’’, the Official Race Box
                                                                                                  NPRM Notice of Proposed Rulemaking
                                                                                                                                                        Area; Zone ‘‘B’’, the Spectator Area;
                                          Carl C. Risch,                                          § Section
                                                                                                  COTP Captain of the Port                              Zone ‘‘C’’, the Regulated Waterfront
                                          Assistant Secretary for Consular Affairs,                                                                     Transit Area; and Zone ‘‘D’’ the No
                                          Department of State.                                    PATCOM Patrol Commander
                                                                                                  U.S.C. United States Code                             Loitering or Anchoring Zone.
                                          [FR Doc. 2019–09185 Filed 5–3–19; 8:45 am]                                                                       Zone ‘‘A’’, the Official Race Box Area,
                                          BILLING CODE 4710–06–P                                  II. Background, Purpose, and Legal                    will be marked by approximately 12
                                                                                                  Basis                                                 colored visual markers. The position of
                                                                                                                                                        these markers will be specified via
                                                                                                     On October 12, 2018, the LeadDog                   Broadcast Notice to Mariners at least 3
                                          DEPARTMENT OF HOMELAND                                  Marketing Corporation notified the
                                          SECURITY                                                                                                      days prior to the event. Because of the
                                                                                                  Coast Guard of an intention to conduct                hazards posed by the sailing
                                          Coast Guard                                             the ‘‘Sail Grand Prix 2019’’ in San                   competition, Zone ‘‘A’’ is necessary to
                                                                                                  Francisco Bay. Sail Grand Prix is a                   provide protection from the operation of
                                          33 CFR Part 100                                         sailing league featuring world-class                  the high-speed sailing vessels within
                                                                                                  sailors racing 50-foot foiling catamarans.            this area.
                                          [Docket No. USCG–2019–0010]                             The inaugural season started February                    Zone ‘‘B’’, the Spectator Area, will
                                                                                                  2019 in five iconic cities throughout the             include specified parts of the waters
                                          RIN 1625–AA08                                           world, traveling to San Francisco Bay in              immediately adjacent to racing Zone
                                                                                                  May 2019. In San Francisco, they                      ‘‘A’’ and will be defined by latitude and
                                          Special Local Regulation; Sail Grand
                                                                                                  proposed to take advantage of the                     longitude points as per Broadcast Notice
                                          Prix 2019 Race Event; San Francisco,
                                                                                                  natural amphitheater that the central                 to Mariners. Zone ‘‘B’’ will be further
                                          CA
                                                                                                  bay and city waterfront provide.                      divided into three additional sub-areas:
                                          AGENCY:    Coast Guard, DHS.                               In response, on March 18, 2019, the                Zone ‘‘B1 East’’, Zone ‘‘B1 West’’, and
                                          ACTION:   Temporary final rule.                         Coast Guard published a notice of                     Zone ‘‘B2’’. Zone ‘‘B1 East’’ and Zone
                                                                                                  proposed rulemaking (NPRM) titled                     ‘‘B1 West’’ will be the general spectator
                                          SUMMARY:   The Coast Guard is                           ‘‘Special Local Regulation; Sail Grand                zone that is open to all vessel spectators.
                                          establishing a temporary special local                  Prix 2019 Race Event; San Francisco,                  Zone ‘‘B2’’ will be a separate designated
                                          regulation in the navigable waters of                   CA’’ (84 FR 9727). There we stated why                spectator area marked by approximately
                                          San Francisco Bay in San Francisco, CA                  we issued the NPRM and invited                        four colored buoys that will be managed
                                          in support of the San Francisco Sail                    comments on our proposed regulatory                   by marine event sponsor officials. The
                                          Grand Prix 2019 race periods on May 4,                  action related to this sailing event.                 designation of Zone ‘‘B’’, to include
                                          2019 and May 5, 2019. This special                      During the comment period that ended                  Zone ‘‘B1 East’’, Zone ‘‘B1 West’’, and
                                          local regulation is necessary to ensure                 on April 17, 2019, we received one                    Zone ‘‘B2’’, will allow spectators to
                                          the safety of mariners transiting the area              comment.                                              observe the Sail Grand Prix 2019 race
                                          from the dangers associated with high-                     Based off lessons learned during the               event in a regulated area at a safe
                                          speed sailing activities associated with                multi-agency planning process, we are                 distance from the sailing race occurring
                                          the Sail Grand Prix 2019 race event.                    implementing an additional zone to the                in Zone ‘‘A’’.
                                          This temporary special local regulation                 Special Local Regulation, Zone ‘‘D’’.                    Zone ‘‘C’’ will be the designated
                                          will temporarily restrict vessel traffic                Zone ‘‘D’’ will be a no loitering or                  Waterfront Transit Area along the city of
                                          adjacent to the city of San Francisco                   anchoring area along the San Francisco                San Francisco waterfront marked by
                                          waterfront in the vicinity of the Golden                Waterfront that will allow vessels to                 buoys on one side and the shoreline on
                                          Gate Bridge and Alcatraz Island and                     transit, allowing for more accessibility              the other. This one-directional lane will
                                          prohibit vessels and persons not                        to the waterfront areas. Additionally, to             provide vessels the opportunity to pass
                                          participating in the race event from                    accommodate the updated, finalized                    along the San Francisco waterfront,
                                          entering the dedicated race area.                       event agenda, the times were altered to               avoiding interference with the other
                                          DATES: This rule is effective from 10:30                minimize impact to San Francisco                      established areas. Vessels will be
                                          a.m. on May 4, 2019 through 3:00 p.m.                   Waterfront.                                           authorized to transit through this zone
                                          on May 5, 2019.                                            Under 5 U.S.C. 533(d)(3), the Coast                with approval from the COTP or
                                                                                                  Guard finds that good cause exists for                designated authority. Zone ‘‘C’’ is
                                          ADDRESSES: To view documents
                                                                                                  making this rule effective less than 30               essential to provide vessels the
                                          mentioned in this preamble as being                     days after publication in the Federal                 opportunity to transit along the city of
                                          available in the docket, go to https://                 Register.                                             San Francisco waterfront while
                                          www.regulations.gov, type USCG–2019–                       This special local regulation will                 maintaining the integrity of the
                                          0010 in the ‘‘SEARCH’’ box and click                    encompass all navigable waters of the                 regulated areas for the race event. Due
                                          ‘‘SEARCH.’’ Click on Open Docket                        San Francisco Bay, from surface to                    to the dynamic nature of the Sail Grand
                                          Folder on the line associated with this                 bottom, within the area formed by                     Prix 2019, there is a need for a
                                          rule.                                                   connecting the following latitude and                 Waterfront Transit Area so mariners
                                          FOR FURTHER INFORMATION CONTACT: If                     longitude points in the following order:              along the waterfront can transit the
                                          you have questions about this rule, call
jbell on DSK3GLQ082PROD with RULES




                                                                                                  37°48′18″ N, 122°27′44″ W; thence to                  impacted waterways at designated
                                          or email Lieutenant Emily K. Rowan,                     37°48′30″ N, 122°27′56″ W; thence to                  times. This Zone ‘‘C’’ is necessary for
                                          U.S. Coast Guard District 11, Sector San                37°49′14″ N, 122°27′59″ W; thence to                  the protection of waterway users and
                                          Francisco, at 415–399–7443,                             37°49′30″ N, 122°25′36″ W; thence to                  participants in the sailing race event
                                          SFWaterways@uscg.mil.                                   37°49′10″ N, 122°25′10″ W; thence to                  while minimizing the impact to the city
                                          SUPPLEMENTARY INFORMATION:                              37°48′45″ N, 122°25′10″ W; thence to                  of San Francisco maritime community.

                                                                                                                        054
                                     VerDate Sep<11>2014   16:48 May 03, 2019   Jkt 247001   PO 00000   Frm 00017   Fmt 4700   Sfmt 4700   E:\FR\FM\06MYR1.SGM   06MYR1
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 56 of 125




                               055
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 57 of 125




                               056
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 58 of 125




                               057
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 59 of 125




                               058
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 60 of 125




                               059
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 61 of 125




                               060
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 62 of 125




                               061
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 63 of 125




                               062
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 64 of 125




                               063
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 65 of 125




                               064
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 66 of 125




                               065
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 67 of 125




                               066
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 68 of 125




                               067
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 69 of 125




                               068
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 70 of 125




                               069
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 71 of 125




                               070
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 72 of 125




                               071
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 73 of 125




                               072
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 74 of 125




                               073
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 75 of 125




                               074
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 76 of 125




                               075
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 77 of 125




                               076
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 78 of 125




                               077
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 79 of 125




                               078
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 80 of 125




                               079
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 81 of 125




                               080
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 82 of 125




                               081
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 83 of 125




                               082
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 84 of 125




                               083
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 85 of 125




                               084
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 86 of 125




                               085
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 87 of 125




                               086
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 88 of 125




                               087
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 89 of 125




                               088
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 90 of 125




                               089
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 91 of 125




                               090
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 92 of 125




                               091
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 93 of 125




                               092
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 94 of 125




                               093
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 95 of 125




                               094
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 96 of 125




                               095
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 97 of 125




                               096
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 98 of 125




                               097
Case 3:19-cv-01743-SI   Document 91   Filed 11/21/19   Page 99 of 125




                         Questions?




                               098
                                                                        43
                                                                  Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 100 of 125

                                               57142                       Federal Register / Vol. 84, No. 206 / Thursday, October 24, 2019 / Notices

                                                 Total Estimated Annual Hour Burden:                   DEPARTMENT OF STATE                                     • Average Time per Response: 60
                                               11,660.                                                                                                       minutes (10 minutes for applicants
                                                                                                       [Public Notice: 10932]
                                                                                                                                                             completing only questions 4 and 4A,
                                               Curtis Rich,
                                                                                                       60-Day Notice of Proposed Information                 estimated to be 500 of the 450,500 total
                                               Management Analyst.                                                                                           applicants).
                                                                                                       Collection: Public Charge
                                               [FR Doc. 2019–23199 Filed 10–23–19; 8:45 am]
                                                                                                       Questionnaire                                           • Total Estimated Burden Time:
                                               BILLING CODE 8026–03–P                                                                                        450,084 hours.
                                                                                                             Notice of request for public
                                                                                                       ACTION:                                                 • Frequency: Once per respondent’s
                                                                                                       comment.                                              application.
                                               SMALL BUSINESS ADMINISTRATION                                                                                   • Obligation to respond: Required to
                                                                                                       SUMMARY:    The Department of State                   Obtain or Retain a Benefit.
                                               [Disaster Declaration #15944 and #15945;                (‘‘Department’’) is seeking Office of                   We are soliciting public comments
                                               Mississippi Disaster Number MS–00111]                   Management and Budget (OMB)                           that assist the Department in:
                                                                                                       approval for the information collection                 • Evaluating whether the proposed
                                               Presidential Declaration Amendment of                   described below. In accordance with the               information collection is necessary for
                                               a Major Disaster for Public Assistance                  Paperwork Reduction Act of 1995, we                   the proper functions of the Department;
                                               Only for the State of Mississippi                       are requesting comments on this                         • Evaluating the accuracy of our
                                                                                                       collection from all interested                        estimate of the time and cost burden of
                                               AGENCY:U.S. Small Business                              individuals and organizations. The                    this proposed collection, including the
                                               Administration.                                         purpose of this notice is to allow 60                 validity of the methodology and
                                                                                                       days for public comment preceding                     assumptions used;
                                               ACTION:   Amendment 5.                                                                                          • Enhancing the quality, utility, and
                                                                                                       submission of the collection to OMB.
                                                                                                       DATES: The Department will accept
                                                                                                                                                             clarity of the information to be
                                               SUMMARY:   This is an amendment of the                                                                        collected; and,
                                                                                                       comments from the public up to
                                               Presidential declaration of a major                                                                             • Minimizing the reporting burden on
                                                                                                       December 23, 2019.
                                               disaster for Public Assistance Only for                                                                       those who are to respond, including the
                                               the State of Mississippi (FEMA–4429–                    ADDRESSES: You may submit comments                    use of automated collection techniques
                                               DR), dated 04/23/2019.                                  by any of the following methods:                      or other forms of information
                                                                                                          • Web: Persons with access to the                  technology.
                                                 Incident: Severe Storms, Straight-line                internet may comment on this notice by
                                               Winds, Tornadoes, and Flooding.                                                                                 Please note that comments submitted
                                                                                                       going to www.Regulations.gov. You can                 in response to this Notice are public
                                                 Incident Period: 02/22/2019 through                   search for the document by entering                   record. Before including any detailed
                                               08/23/2019.                                             ‘‘Docket Number: DOS–2019–0037’’ in                   personal information, you should be
                                                                                                       the Search field. Then click the                      aware that your comments as submitted,
                                               DATES: Issued on 10/16/2019.
                                                                                                       ‘‘Comment Now’’ button and complete                   including your personal information,
                                                 Physical Loan Application Deadline                    the comment form.                                     will be available for public review.
                                               Date: 06/24/2019.                                          • Email: PRA_BurdenComments@
                                                 Economic Injury (EIDL) Loan                           state.gov.                                            Abstract of Proposed Collection
                                               Application Deadline Date: 01/23/2020.                     You must include the DS form                          The Department seeks to better ensure
                                                                                                       number (if applicable), information                   that aliens subject to the public charge
                                               ADDRESSES:  Submit completed loan                       collection title, and the OMB control                 inadmissibility ground are self-
                                               applications to: U.S. Small Business                    number in any correspondence.                         sufficient and will not rely on public
                                               Administration, Processing and                          FOR FURTHER INFORMATION CONTACT:                      resources to meet their needs, but
                                               Disbursement Center, 14925 Kingsport                    Direct requests for additional                        rather, will rely on their own
                                               Road, Fort Worth, TX 76155.                             information regarding the collection                  capabilities, as well as the resources of
                                               FOR FURTHER INFORMATION CONTACT:     A.                 listed in this notice, including requests             sponsors. Through the DS–5540, the
                                               Escobar, Office of Disaster Assistance,                 for copies of the proposed collection                 Department will collect information in a
                                               U.S. Small Business Administration,                     instrument and supporting documents                   standardized format regarding
                                               409 3rd Street SW, Suite 6050,                          to Megan Herndon, who may be reached                  applicants’ ability to financially support
                                               Washington, DC 20416, (202) 205–6734.                   over telephone at (202) 485–7586 or                   themselves following entry into the
                                                                                                       email at PRA_BurdenComments@                          United States, without depending on
                                               SUPPLEMENTARY INFORMATION:     The notice               state.gov.                                            government assistance. Fields primarily
                                               of the President’s major disaster                                                                             pertain to the applicant’s health, family
                                               declaration for Private Non-Profit                      SUPPLEMENTARY INFORMATION:
                                                                                                         • Title of Information Collection:                  status, assets, resources, financial status,
                                               organizations in the State of Mississippi,                                                                    education, skills, health insurance
                                               dated 04/23/2019, is hereby amended to                  Public Charge Questionnaire.
                                                                                                         • OMB Control Number: New                           coverage, and tax history. The DS–5540
                                               re-establish the incident period for this                                                                     would also require applicants to provide
                                               disaster as beginning 02/22/2019 and                    Collection.
                                                                                                         • Type of Request: New Collection.                  information on whether they have
                                               continuing through 08/23/2019.
                                                                                                         • Originating Office: Bureau of                     received certain specified public
                                                 All other information in the original                 Consular Affairs, Visa Office (CA/VO).                benefits from a U.S. Federal, state, local
                                               declaration remains unchanged.                            • Form Number: DS–5540.                             or tribal government entity on or after
khammond on DSKJM1Z7X2PROD with NOTICES




                                               (Catalog of Federal Domestic Assistance                   • Respondents: Immigrant visa                       October 15, 2019. Consular officers will
                                               Number 59008)                                           applicants, including diversity visa                  use the completed forms in assessing
                                                                                                       applicants, and certain nonimmigrant                  whether an applicant is likely to become
                                               Rafaela Monchek,                                        visa applicants.                                      a public charge, and is thus ineligible
                                               Acting Associate Administrator for Disaster               • Estimated Number of Respondents:                  for a visa under section 212(a)(4)(A) of
                                               Assistance.                                             450,500.                                              the Immigration and Nationality Act
                                               [FR Doc. 2019–23193 Filed 10–23–19; 8:45 am]              • Estimated Number of Responses:                    (‘‘INA’’). This collection is consistent
                                               BILLING CODE 8026–03–P                                  450,500.                                              with the burden of proof on applicants

                                                                                                                              099
                                          VerDate Sep<11>2014   17:34 Oct 23, 2019   Jkt 250001   PO 00000   Frm 00144   Fmt 4703   Sfmt 4703   E:\FR\FM\24OCN1.SGM   24OCN1
                                                                  Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 101 of 125

                                                                           Federal Register / Vol. 84, No. 206 / Thursday, October 24, 2019 / Notices                                                    57143

                                               under section 291 of the INA to                         their immigrant visa application                      SURFACE TRANSPORTATION BOARD
                                               establish that they are eligible to receive             through the Consular Electronic
                                                                                                                                                             [Docket No. AB 33 (Sub–No. 342X)]
                                               a visa, including that they are not                     Application Center (CEAC).
                                               inadmissible under any provision of the                 Nonimmigrant visa applicants who are                  Union Pacific Railroad Company and
                                               INA.                                                    required to submit this form will be able             Jackson County, Mo.—Abandonment
                                                  Sponsors of immigrant visa applicants                to do so via email or in hard copy.                   Exemption—in Jackson County, Mo.
                                               must currently provide information
                                               regarding their ability to financially                  Carl C. Risch,                                            On October 4, 2019, Union Pacific
                                               support the applicant on an I–864,                      Assistant Secretary, Bureau of Consular               Railroad Company (UP) and Jackson
                                               Affidavit of Support, which consular                    Affairs, Department of State.                         County, Mo. (the County) (collectively,
                                               officers use in considering whether the                 [FR Doc. 2019–23219 Filed 10–23–19; 8:45 am]          Petitioners), jointly filed with the Board
                                               applicant is likely to depend on certain                BILLING CODE 4710–06–P                                a petition under 49 U.S.C. 10502 for
                                               forms of government assistance. Visa                                                                          exemption from the prior approval
                                               applicants provide limited optional                                                                           requirements of 49 U.S.C. 10903 to
                                               input on the I–864 regarding their                      DEPARTMENT OF STATE                                   abandon the railroad line extending
                                               assets. The DS–5540 will be used to                     [Public Notice: 10931]                                between milepost 288.3 and milepost
                                               collect more detailed information on an                                                                       270.6 in Jackson County, Mo. (the Line).
                                               applicant’s ability to support himself or               Notice of Determinations: Culturally                  The Line traverses U.S. Postal Service
                                               herself. Consular officers will use the                 Significant Object Imported for                       Zip Codes 64063, 64081, 64082, 64086,
                                               information to assess whether the                       Exhibition—Determinations: ‘‘Raphael                  64129, 64133, 64138, and 64139.
                                               applicant is likely to become a public                  and the Pope’s Librarian’’ Exhibition                     According to Petitioners, based on
                                               charge, based on the totality of the                                                                          information in their possession, the Line
                                               circumstances.                                          SUMMARY:    Notice is hereby given of the
                                                                                                                                                             does not contain federally granted
                                                  Applicants for immigrant visas,                      following determinations: I hereby
                                                                                                                                                             rights-of-way. Petitioners further state
                                               including diversity visas, will be                      determine that a certain object to be
                                                                                                                                                             that any documentation in the County’s
                                               required to complete the DS–5540,                       exhibited in the exhibition ‘‘Raphael
                                                                                                                                                             or UP’s possession will be made
                                               except for categories of applicants that                and the Pope’s Librarian’’, imported
                                                                                                                                                             available promptly to those requesting
                                               are exempt from the public charge                       from abroad for temporary exhibition
                                                                                                                                                             it.
                                               ground of inadmissibility. The                          within the United States, is of cultural                  In 2016, the County received
                                               exempted categories are listed in 8 CFR                 significance. The object is imported                  authority through the Board’s class
                                               212.23(a). Exempted categories include                  pursuant to a loan agreement with the                 exemption process at 49 CFR 1150.31 to
                                               applicants seeking immigrant visas                      foreign owner or custodian. I also                    acquire from UP and operate the Line.
                                               based on qualified service to the U.S.                  determine that the exhibition or display              Recently, however, the Board revoked
                                               government as an interpreter in                         of the exhibit object at the Isabella                 the County’s acquisition and operation
                                               Afghanistan or Iraq, visas based on a                   Stewart Gardner Museum, Boston,                       exemption. See Jackson Cty., Mo.—
                                               self-petition under the Violence Against                Massachusetts, from on or about                       Acquis. & Operation Exemption—Union
                                               Women Act, and visas for special                        October 31, 2019, until on or about                   Pac. R.R., FD 35982 (STB served July 31,
                                               immigrant juveniles. Additionally, a                    January 30, 2020, and at possible                     2019). Petitioners state that, in light of
                                               consular officer has discretion to require              additional exhibitions or venues yet to               that decision, to avoid doubt on how to
                                               a nonimmigrant visa applicant to                        be determined, is in the national                     proceed, they jointly seek an exemption
                                               complete the DS–5540, when the officer                  interest. I have ordered that Public                  to abandon the Line. Petitioners state
                                               determines the information is needed,                   Notice of these determinations be                     that there are no shippers on the Line
                                               for example, if the officer is not                      published in the Federal Register.                    and that there has not been any rail
                                               satisfied, based on other available                     FOR FURTHER INFORMATION CONTACT: Chi                  traffic on the Line in more than 20
                                               information, that the applicant would be                D. Tran, Paralegal Specialist, Office of              years.
                                               self-sufficient during his or her period                the Legal Adviser, U.S. Department of                     The County and UP indicate that they
                                               of stay. A consular officer may also                    State (telephone: 202–632–6471; email:                intend to enter into an interim trail use/
                                               request any immigrant visa applicant                    section2459@state.gov). The mailing                   rail banking agreement pursuant to the
                                               not subject to public charge, but subject               address is U.S. Department of State, L/               National Trails System Act, 16 U.S.C.
                                               to The Presidential Proclamation on the                 PD, SA–5, Suite 5H03, Washington, DC                  1247(d). If a NITU 1 is issued, the
                                               Suspension of Entry of Immigrants Who                   20522–0505.                                           County anticipates salvaging track and
                                               Will Financially Burden the United                      SUPPLEMENTARY INFORMATION: The                        track materials.
                                               States Healthcare System (Oct. 4, 2019),                foregoing determinations were made                        The interest of railroad employees
                                               to complete questions 4 and 4A from                     pursuant to the authority vested in me                will be protected by the conditions set
                                               Form DS–5540 to establish that the                      by the Act of October 19, 1965 (79 Stat.              forth in Oregon Short Line Railroad—
                                               applicant will be covered by an                         985; 22 U.S.C. 2459), Executive Order                 Abandonment Portion Goshen Branch
                                               approved health insurance plan within                   12047 of March 27, 1978, the Foreign                  Between Firth & Ammon, in Bingham &
                                               30 days of entry into the United States,                Affairs Reform and Restructuring Act of               Bonneville Counties, Idaho, 360 I.C.C.
                                               or that the applicant possesses sufficient              1998 (112 Stat. 2681, et seq.; 22 U.S.C.              91 (1979).
                                               financial resources to cover reasonably                 6501 note, et seq.), Delegation of                        By issuing this notice, the Board is
                                               foreseeable medical costs.                              Authority No. 234 of October 1, 1999,                 instituting an exemption proceeding
khammond on DSKJM1Z7X2PROD with NOTICES




                                               Methodology                                             and Delegation of Authority No. 236–3                 pursuant to 49 U.S.C. 10502(b). A final
                                                                                                       of August 28, 2000.
                                                 The DS–5540 will be available online                                                                           1 Although the County and UP indicate that the

                                               in fillable PDF format. Immigrant visa                  Marie Therese Porter Royce,                           County will seek issuance of a certificate of interim
                                               applicants will download the completed                  Assistant Secretary, Educational and Cultural         trail use or abandonment (CITU) (Pet. 8), the Board
                                                                                                       Affairs, Department of State.                         issues CITUs in abandonment application
                                               form and then upload and submit the                                                                           proceedings and notices of interim trail use or
                                               completed DS–5540 and other                             [FR Doc. 2019–23218 Filed 10–23–19; 8:45 am]          abandonment (NITUs) in abandonment exemption
                                               supporting documentation as a part of                   BILLING CODE 4710–05–P                                proceedings.


                                                                                                                              100
                                          VerDate Sep<11>2014   17:34 Oct 23, 2019   Jkt 250001   PO 00000   Frm 00145   Fmt 4703   Sfmt 4703   E:\FR\FM\24OCN1.SGM   24OCN1
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 102 of 125

                                           54996             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           DEPARTMENT OF STATE                                     FOR FURTHER INFORMATION CONTACT:                      the statute, ‘‘at any time,’’ to the existing
                                                                                                   Megan Herndon, Deputy Director for                    regulatory language. Next, the interim
                                           22 CFR Part 40                                          Legal Affairs, Visa Services, Bureau of               final rule adds a reference to INA
                                                                                                   Consular Affairs, Department of State,                212(a)(4)(D), 8 U.S.C. 1182(a)(4)(D), the
                                           [Public Notice: 10922]                                  600 19th St NW, Washington, DC 20006,                 requirement that an employment-based
                                                                                                   (202) 485–7586, VisaRegs@state.gov.                   immigrant whose relative filed the
                                           RIN 1400–AE87                                           SUPPLEMENTARY INFORMATION:                            immigrant visa petition or has a
                                                                                                                                                         significant ownership interest in the
                                           Visas: Ineligibility Based on Public                    I. What changes are in § 40.41?                       entity that filed the immigrant visa
                                           Charge Grounds                                             This interim final rule codifies                   petition, is ineligible unless such
                                                                                                   changes to 22 CFR 40.41, which is the                 relative has executed a sufficient
                                           AGENCY:  State Department.                              Department of State’s (‘‘Department’’)                affidavit of support for such alien. The
                                           ACTION: Interim final rule; request for                 interpretation and implementation of                  interim final rule adds language
                                           public comment.                                         the public charge ground of visa                      indicating that the consular officer will
                                                                                                   ineligibility, section 212(a)(4) of the               ‘‘consider whether any third party’’
                                           SUMMARY:    This final rule amends                      Immigration and Nationality Act (‘‘INA’’              listed in the affidavit of support will be
                                           Department of State (‘‘Department’’)                    or ‘‘Act’’), 8 U.S.C. 1182(a)(4). This                ‘‘willing and able to financially support
                                           regulations by prescribing how consular                 interim final rule supersedes all prior               the alien while the alien is in the United
                                           officers will determine whether an alien                inconsistent guidance on the public                   States.’’ The Department is not changing
                                           is ineligible for a visa under the                      charge visa ineligibility. Accordingly,               the temporal reference for the consular
                                           Immigration and Nationality Act                         this supersedes all Department guidance               officer’s determination, which currently
                                           (‘‘INA’’), because he or she is likely at               that previously limited the                           and under the interim final rule, is any
                                           any time to become a public charge.                     interpretation of ‘‘likely at any time to             time ‘‘after admission.’’
                                           Aliens who seek a visa, application for                 become a public charge’’ as likely to                    Next, in paragraph (a), the interim
                                           admission, or adjustment of status must                 become primarily dependent on the                     final rule incorporates ‘‘more likely than
                                           establish that they are not likely at any               government (federal, state, or local) for             not,’’ the preponderance of the evidence
                                           time to become a public charge, unless                  subsistence (previously limited to                    standard, as the Department’s
                                           Congress has expressly exempted them                    public cash assistance for income                     interpretation of ‘‘likely’’ relating to the
                                           from this ground of ineligibility or if the             maintenance or institutionalization for               standard that consular officers will use
                                           alien obtained a waiver. This interim                   long-term care at government expense).                when evaluating whether an alien is
                                           final rule adds certain definitions,                       The INA renders inadmissible (and                  likely to become a public charge.
                                           including definitions of public charge,                 therefore ineligible for a visa, ineligible              Additionally in paragraph (a), the
                                           public benefit, alien’s household, and                  for admission to the United States, and               interim final rule cites to the statutory
                                           receipt of public benefit. This interim                 ineligible for adjustment of status) any              requirement from section 212(a)(4) of
                                           final rule reflects the Department’s                    alien who, in the opinion of a consular               the INA, 8 U.S.C. 1182(a)(4), that
                                           interpretation of the pertinent section of              officer (or the Departments of Homeland               consular officers will at the time of visa
                                           the INA as it applies to visa applicants.               Security (‘‘DHS’’) or Justice (‘‘DOJ’’), as           application take into account statutory
                                           This rulemaking is also intended to                     applicable) is likely at any time to                  factors, including the alien’s age; health;
                                           align the Department’s standards with                   become a public charge. The statute                   family status; assets, resources, financial
                                           those of the Department of Homeland                     does not define the term ‘‘public                     status; and education and skills. More
                                           Security, to avoid situations where a                   charge.’’ The statutory public charge                 specifically, the interim final rule
                                           consular officer will evaluate an alien’s               provision provides that administering                 codifies Department of State Foreign
                                           circumstances and conclude that the                     agencies must ‘‘at a minimum consider                 Affairs Manual (‘‘FAM’’) guidance that
                                           alien is not likely at any time to become               the alien’s age; health; family status;               consular officers must consider, at a
                                           a public charge, only for the Department                assets, resources, and financial status;              minimum, those factors as part of the
                                           of Homeland Security to evaluate the                    and education and skills.’’ The agencies              totality of the applicant’s circumstances.
                                           same alien when he seeks admission to                   may also consider any affidavit of                    This interim final rule then explains the
                                           the United States on the visa issued by                 support, under section 213A of the INA,               Department’s interpretation of each
                                           the Department of State and finds the                   8 U.S.C. 1183a, (i.e., Form I–864,                    factor.
                                           alien inadmissible on public charge                     Affidavit of Support Under Section                       Age: Consular officers will consider
                                           grounds under the same facts. The                       213A of the INA) submitted on the                     whether the alien’s age makes the alien
                                           Department is also removing the                         alien’s behalf. INA 212(a)(4)(B), 8 U.S.C.            more likely than not to become a public
                                           reference to fee collection for review                  1182(a)(4)(B). In general, the public                 charge in the totality of the
                                           and assistance with submitting an                       charge ineligibility applies to both                  circumstances, such as by impacting the
                                           affidavit of support at consular posts as               nonimmigrants and immigrants,                         alien’s ability to work. Consular officers
                                           consular posts do not collect this fee,                 although some classes of nonimmigrants                will consider an alien’s age between 18
                                           and an obsolete process related to                      and immigrants are exempt from the                    and 62 as a positive factor. Age will be
                                           bonds.                                                  ineligibility ground. The DHS regulation              considered a negative factor for aliens
                                                                                                   at 8 CFR 212.23(a) lists the categories of            who are under the age of 18 or over 62.
                                           DATES:  This interim final rule is                                                                            However, consular officers may
                                                                                                   exempt aliens. This interim final rule
                                           effective 12 a.m., Eastern Time, October                                                                      consider other factors, such as the
                                                                                                   neither alters the classifications of
                                           15, 2019. The Department of State will                                                                        support provided to a minor child by a
                                                                                                   aliens who are exempt from this
                                           accept comments up to November 12,                                                                            parent, legal guardian, or other source,
                                                                                                   ineligibility ground nor bears on the
                                           2019.
jbell on DSK3GLQ082PROD with RULES3




                                                                                                   classifications of visas available to                 that in the totality of the circumstances
                                           ADDRESSES:  You may send comments,                      aliens.                                               may offset the alien’s age as a negative
                                           identified by [DOS–2019–0035 and/or                        The interim final rule makes several               factor. This generally restates current
                                           RIN: 1400–AE87], by the Federal                         changes to paragraph (a) Basis for                    FAM guidance that being under 18 years
                                           eRulemaking Portal: http://                             Determination of Ineligibility. First, the            old is a negative factor in the totality of
                                           www.regulations.gov.                                    interim final rule adds language from                 the circumstances if the visa applicant

                                                                                                                          101
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 103 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                         54997

                                           is neither accompanied by a parent or                   family size makes the alien unlikely to               officers may not consider any income
                                           guardian or following to join a parent or               receive public benefits at any time in                from illegal activities or sources, such as
                                           guardian. The interim final rule also                   the future.                                           proceeds from illegal gambling or drug
                                           codifies into regulation existing FAM                      Assets, resources, and financial                   sales, or income from public benefits, as
                                           guidance that an applicant’s age is a                   status: The interim final rule specifies              defined in the interim final rule. This
                                           negative factor in the totality of the                  several nonexclusive aspects of the                   policy is being explicitly articulated for
                                           circumstances, if the consular officer                  alien’s assets, resources, and financial              the first time. The interim final rule
                                           believes it adversely affects the person’s              status consular officers will consider.               then lists several specific nonexclusive
                                           ability to obtain or perform work or may                First, with regard to an alien’s                      factors consular officers will consider in
                                           increase the potential for healthcare                   household gross income, the interim                   evaluating whether the alien’s assets,
                                           related costs that would be borne by the                final rule specifies that annual gross                resources, and financial status make an
                                           public.                                                 income for the applicant’s household                  alien likely to become a public charge.
                                              Health: Under the interim final rule,                size of at least 125 percent of the most              These include the alien’s household
                                           consular officers will consider whether                 recent Federal Poverty Guidelines based               gross income; the alien’s cash assets and
                                           the alien’s health serves as a positive or              on the applicant’s household size (or                 resources; non-cash assets and resources
                                           negative factor in the totality of the                  100 percent for an applicant on active                that can be converted into cash within
                                           circumstances, including whether the                    duty, other than training, in the Armed               twelve months of the date of the visa
                                           alien has been diagnosed with a medical                 Forces), is a positive factor. Second, if             application; the alien’s financial
                                           condition that is likely to require                     the applicant’s annual household gross                liabilities; whether the alien has applied
                                           extensive medical treatment or                          income is less than 125 percent of the                for, been certified to receive or approved
                                           institutionalization or that will interfere             most recent Federal Poverty Guidelines                to receive, or received, one or more
                                           with the alien’s ability to provide and                 (or 100 percent for an applicant on                   public benefits, as defined in paragraph
                                           care for himself or herself, to attend                  active duty, other than training, in the              (c) of this section on or after October 15,
                                           school, or to work (if authorized). This                Armed Forces) based on the applicant’s                2019, or whether the alien has
                                           new provision clarifies current FAM                     household size, the applicant can                     disenrolled or requested to be
                                           guidance. The new provision adds that                   submit evidence of ownership of assets,               disenrolled from such benefits; whether
                                           consular officers will consider the                     which may affect the consular officer’s               the alien has received an immigration
                                           report of a medical examination                         determination. If the total value of the              benefit fee waiver from DHS on or after
                                           performed by the panel physician where                  household assets, offsetting for                      the interim final rule’s effective date;
                                           such examination is required, including                 liabilities, is at least five times the               and whether the applicant has private
                                           any medical conditions noted by the                     difference between the applicant’s                    health insurance or other financial
                                           panel physician. A Class B medical                      household gross income and 125                        resources sufficient to pay for
                                           condition, including Class B forms of                   percent of the Federal Poverty                        reasonably foreseeable medical costs.
                                           communicable diseases of public health                  Guidelines (or 100 percent for an                     This interpretation introduces two
                                           significance, as defined in 42 CFR part                 applicant on active duty, other than                  factors: past DHS fee waivers and
                                           34, will not, standing alone, result in a               training, in the Armed Forces) for the                private health insurance or other means
                                           finding of ineligibility for public charge.             applicant’s household size, then that                 to cover reasonably foreseeable medical
                                           In assessing the effect of the alien’s                  will be considered a positive factor.                 costs, both of which have direct bearing
                                           health on a public charge determination,                However, if the alien is the spouse or                on the visa applicant’s assets, resources,
                                           the interim final rule provides that the                child of a U.S. citizen, assets totaling
                                                                                                                                                         and financial status.
                                           consular officer will consider evidence                 three times the difference between the
                                           of health insurance or the ability to pay               alien’s household gross income and 125                   The interim final rule also changes
                                           for reasonably foreseeable medical                      percent of the Federal Poverty                        how consular officers will consider past
                                           expenses in the United States a positive                Guidelines (100 percent for those on                  receipt of public benefits. Current FAM
                                           factor in the totality of the                           active duty, other than training, in the              guidance directs consular officers to
                                           circumstances. Under this standard,                     Armed Forces) for the alien’s household               consider receipt of public assistance of
                                           lack of health insurance alone would                    size is a positive factor. If the alien is            any type by the visa applicant or a
                                           not make an alien more likely than not                  a child who will be adopted in the                    family member in the visa applicant’s
                                           to become a public charge at any time,                  United States and who will likely                     household when determining the
                                           but would instead be considered in the                  receive citizenship under INA 320, 8                  likelihood a visa applicant would
                                           totality of the alien’s circumstances.                  U.S.C. 1432, then assets equivalent to or             become a public charge. The interim
                                           This standard generally reflects existing               greater than the difference between the               final rule explicitly addresses the
                                           guidance that certain health issues                     alien’s household gross income and 125                applicant’s receipt of public benefits,
                                           could increase the burden on the                        percent of the Federal Poverty                        and incorporates the Department’s new
                                           applicant to provide information                        Guidelines (100 percent for those on                  definition of public benefit. Consular
                                           demonstrating the ability to pay for                    active duty, other than training, in the              officers will only consider listed public
                                           medical expenses in the United States,                  Armed Forces) for the alien’s household               benefits received on or after October 15,
                                           potentially including proof of health                   size is a positive factor. This reflects a            2019, except that consular officers will
                                           insurance.                                              change from existing FAM guidance,                    consider as a negative factor, but not a
                                              Family status: The interim final rule                which recognizes income above 125                     heavily weighted negative factor, receipt
                                           reflects that when considering an alien’s               percent of the Federal Poverty Guideline              of cash assistance for income
                                           family status, consular officers will                   and assets in the amount of five times                maintenance or programs supporting
                                           consider the size of the alien’s                        125 percent of the Federal Poverty                    institutionalization for long term care in
jbell on DSK3GLQ082PROD with RULES3




                                           household, and whether the alien’s                      Guideline generally as sufficient                     the United States, received, or certified
                                           household size makes the alien likely to                resources for overcoming public charge                for receipt before October 15, 2019.
                                           become a public charge at any time in                   concerns.                                             Additionally, the current FAM guidance
                                           the future. The term ‘‘alien’s                             The interim final rule provides that,              does not specifically limit a consular
                                           household’’ is defined in paragraph (d).                when considering an alien’s assets,                   officer’s consideration to U.S. forms of
                                           Household size is a positive factor if the              resources, and financial status, consular             public assistance, but the interim final

                                                                                                                          102
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 104 of 125

                                           54998             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           rule only covers United States (federal,                removed reference to fee collection for                  • The alien has private health
                                           state, local, or tribal) public assistance.             review and assistance with submitting                 insurance (other than health insurance
                                              Education and skills: When                           an affidavit of support at consular posts,            obtained with premium tax credits
                                           considering an alien’s education and                    as consular posts do not collect an                   under the Affordable Care Act) for use
                                           skills, consular officers will consider                 affidavit of support fee overseas.                    in the United States covering the
                                           both positive and negative factors                         Heavily Weighted Factors: The                      expected period of admission.
                                           associated with whether the alien has                   interim final rule then introduces                       Treatment of forms of public
                                           adequate education and skills to either                 certain factors and factual                           assistance received before October 15,
                                           obtain or maintain lawful employment                    circumstances that will weigh heavily in              2019. Under this interim final rule,
                                           with an income sufficient to avoid being                determining whether an alien is likely                consular officers will consider as a
                                           likely to become a public charge. In                    to become a public charge, including                  negative factor, but not as a heavily
                                           assessing whether the alien’s level of                  negative and positive factors. The                    weighted negative factor as described in
                                           education and skills makes the alien                    heavily weighted negative factors are:                paragraph (a)(8) of this section, forms of
                                           likely to become a public charge, the                      • The alien is not a full-time student             assistance received prior to October 15,
                                           consular officer must consider, among                   and is authorized to work, but is unable              2019 only if such assistance would have
                                           other factors, the alien’s history of                   to satisfy the consular officer that he or            been considered in the public charge
                                           employment, educational level (high                     she is currently employed, has recent                 determination between May 25, 1999
                                           school diploma, or its equivalent, or a                 employment history, or a reasonable                   and January 2, 2018. These are limited
                                           higher educational degree), any                         prospect of future employment;                        to (1) any amount of cash assistance for
                                           occupational skills, certifications, or                    • The alien has received, or has been              income maintenance, including
                                           licenses, and proficiency in English or                 certified or approved to receive, one or              Supplemental Security Income (‘‘SSI’’),
                                           proficiency in other languages in                       more public benefits, as defined in 22                Temporary Assistance for Needy
                                           addition to English. This standard                      CFR 40.41(c), for more than 12 months                 Families (‘‘TANF’’), State and local cash
                                           provides additional detail and in some                  in the aggregate within any 36-month                  assistance programs that provide
                                           respects changes the guidance currently                 period (such that for instance receipt of             benefits for income maintenance (often
                                           given to consular officers in the FAM.                  two benefits in one month, counts as                  called ‘‘General Assistance’’ programs),
                                           Currently, FAM guidance directs                         two months’ worth of benefits),                       and (2) programs (including Medicaid)
                                           consular officers to consider the                       beginning no earlier than 12 a.m.,                    supporting aliens who are
                                           applicant’s skills, length of                           October 15, 2019, or 36 months prior to               institutionalized for long-term care,
                                           employment, and frequency of job                        the adjudication of the alien’s visa                  received before October 15, 2019. Short-
                                           changes, and permitted consular offices                 application, whichever is later;                      term institutionalization for
                                           to consider that work experience is                        • The alien has been diagnosed with                rehabilitation (including under
                                           evidence of skills. The Department is                   a medical condition that is likely to                 Medicaid), received before October 15,
                                           superseding the FAM’s treatment of                      require extensive treatment or                        2019, will not be considered in the
                                           work experience as evidence of skills,                  institutionalization or that will interfere           public charge determination under the
                                           by requiring only that consular officers                with the alien’s ability to provide for               interim final rule. Under this interim
                                           consider the alien’s history of                         himself or herself, attend school, or                 final rule, the Department will no longer
                                           employment. The Department is also                      work;                                                 authorize consular officers to consider
                                           introducing the new concept of whether                     • The alien has no health insurance                other forms of public assistance,
                                           an alien is a primary caregiver,                        for use in the United States and has                  domestic or foreign, in the totality of the
                                           considering as a positive factor under                  neither the prospect of obtaining private             circumstances public charge
                                           the totality of the circumstances if the                health insurance, nor the financial                   calculation.
                                           alien is over 18 years of age and has                   resources to pay for reasonably                          Public Charge Definition: In paragraph
                                           ‘‘significant responsibility for actively               foreseeable medical costs related to such             (b), the interim final rule introduces a
                                           caring for and managing the well-being                  medical condition;                                    new definition of public charge. Under
                                           of a minor, elderly, ill, or disabled                      • The alien was previously found                   previous Department guidance in effect
                                           person residing in the alien’s                          inadmissible or deportable on public                  since May 1999, consular officers
                                           household, such that the alien lacks an                 charge grounds by an Immigration Judge                considered an applicant likely to
                                           employment history or current                           or the Board of Immigration Appeals.                  become a public charge if the applicant
                                           employment, or is not employed full                        The heavily weighted positive factors              is likely, at any time after admission, to
                                           time.’’                                                 are:                                                  become primarily dependent on the U.S.
                                              Prospective Visa Classification: The                    • The alien’s household has income,                Government (which includes Federal,
                                           interim final rule adds consideration of                assets, resources, or support of at least             state, or local governments) for
                                           the alien’s prospective visa                            250 percent of the Federal Poverty                    subsistence. Public charge, for purposes
                                           classification.                                         Guidelines for the alien’s household                  of INA 212(a)(4)(A) and (B), 8 U.S.C.
                                              Affidavit of Support: The interim final              size. Consular officers may not consider              1182(a)(4)(A) and (B), is defined under
                                           rule states that a sufficient Affidavit of              any income from illegal activities, e.g.,             the interim final rule as an alien who
                                           Support Under Section 213A of the INA,                  proceeds from illegal gambling or drug                receives one or more public benefits for
                                           where it is required, is a positive factor              sales, or any income derived from any                 more than 12 months in the aggregate
                                           in the totality of the circumstances if the             public benefit as defined in 22 CFR                   within any 36-month period (such that,
                                           sponsor is likely to actually provide the               40.41(c);                                             for instance, receipt of two benefits in
                                           alien with the statutorily required                        • The alien is authorized to work and              one month counts as two months’ worth
                                           amount of financial support and other                   is currently employed with an annual                  of benefits).
jbell on DSK3GLQ082PROD with RULES3




                                           related considerations that may indicate                income of at least 250 percent of the                    Public Benefit Definition: In
                                           the ability or willingness of the sponsor               Federal Poverty Guidelines for the                    paragraph (c), the interim final rule
                                           to provide support. Department                          alien’s household size. Consular officers             introduces a new definition of public
                                           guidance has reflected this                             may not consider any income from                      benefit. Prior guidance limited the types
                                           interpretation since January 2018. Also,                illegal activities, e.g., proceeds from               of benefits to receipt of public cash
                                           in paragraph (a)(7), the Department                     illegal gambling or drug sales; and                   assistance for income maintenance and

                                                                                                                          103
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 105 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                        54999

                                           institutionalization for long-term care at              the authority of 10 U.S.C. 504(b)(1)(B) or            maintenance and programs supporting
                                           U.S. Government expense. The                            10 U.S.C. 504(b)(2), or in the Ready                  institutionalization for long term care in
                                           Department adopted this interpretation                  Reserve component of the U.S. Armed                   the United States, as detailed in
                                           in the FAM based on the former                          Forces.                                               § 40.41(a)(9).
                                           Immigration and Naturalization Service                     For the purpose of visa adjudication                  Alien’s Household: The interim final
                                           (‘‘INS’’) interpretation of the public                  for which the public charge ground of                 rule sets out new standards to determine
                                           charge inadmissibility, as explained in                 ineligibility applies, public benefit, as             the members of an ‘‘alien’s household’’
                                           the INS Notice, Field Guidance on                       defined in this section, does not include             at paragraph (d). One standard applies
                                           Deportability and Inadmissibility on                    any public benefit received by an alien               to aliens who are twenty-one years of
                                           Public Charge Grounds, 64 FR 28689                      during periods in which the alien was                 age or older and also applies to married
                                           (May 26, 1999).                                         present in the United States in an                    individuals under twenty-one, whereas
                                              Under the Department’s new                           immigration category that is exempt                   a separate standard applies to children,
                                           definition, ‘‘public benefit’’ means:                   from the public charge ground of                      who are defined by the INA as
                                              • Any Federal, State, local, or tribal                                                                     unmarried persons under twenty-one
                                                                                                   inadmissibility, as set forth in 8 CFR
                                           cash assistance for income maintenance                                                                        years of age. If the alien is twenty-one
                                                                                                   212.23(a), or for which the alien
                                           (other than tax credits), including:                                                                          years of age or older, or married and of
                                                                                                   received a waiver of public charge
                                              Æ Supplemental Security Income                                                                             any age, the alien’s household includes:
                                                                                                   inadmissibility from DHS. Public
                                           (SSI), 42 U.S.C. 1381 et seq.;                                                                                   • The alien;
                                              Æ Temporary Assistance for Needy                     benefit does not include health services                 • The alien’s spouse, if physically
                                           Families (TANF), 42 U.S.C. 601 et seq.;                 for immunizations and for testing and                 residing or intending to physically
                                              Æ Federal, State or local cash benefit               treatment of communicable diseases,                   reside with the alien in the United
                                           programs for income maintenance (often                  including communicable diseases of                    States;
                                           called ‘‘General Assistance’’ in the State              public health significance as defined in                 • The alien’s children, as defined in
                                           context, but which also exist under                     42 CFR part 34. Public benefits are                   101(b)(1) of the INA, 8 U.S.C. 1101(b)(1),
                                           other names);                                           limited to benefits received from                     if physically residing or intending to
                                              • Supplemental Nutrition Assistance                  governmental and tribal entities in the               physically reside with the alien;
                                           Program (SNAP), 7 U.S.C. 2011 et seq.;                  United States and does not include                       • The alien’s other children, as
                                              • Medicaid under 42 U.S.C. 1396 et                   benefits from foreign governments.                    defined in section 101(b)(1) of the INA,
                                           seq., except for:                                       Public benefit also does not include any              8 U.S.C. 1101(b)(1), not physically
                                              Æ Benefits received for an emergency                 public benefit received by:                           residing or not intending to physically
                                           medical condition as described in                          • Children of U.S. citizens whose                  reside with the alien for whom the alien
                                           section 1903(v)(2)–(3) of Title XIX of the              lawful admission for permanent                        provides or is required to provide at
                                           Social Security Act, 42 U.S.C.                          residence and subsequent residence in                 least 50 percent of the children’s
                                           1396b(v)(2)–(3), 42 CFR 440.255(c);                     the legal and physical custody of their               financial support, as evidenced by a
                                              Æ services or benefits funded by                     U.S. citizen parent will result                       child support order or agreement, a
                                           Medicaid but provided under the                         automatically in the child’s acquisition              custody order or agreement, or any other
                                           Individuals with Disabilities Education                 of citizenship under the Child                        order or agreement specifying the
                                           Act (IDEA) 20 U.S.C. 1400 et seq.;                      Citizenship Act of 2000, Public Law                   amount of financial support to be
                                              Æ school-based services or benefits                  106–395, 114 Stat. 1631 (INA section                  provided by the alien;
                                           provided to individuals who are at or                   320(a)–(b), 8 U.S.C. 1431(a)–(b) in                      • Any other individuals (including a
                                           below the oldest age eligible for                       accordance with 8 CFR part 320);                      spouse not physically residing or not
                                           secondary education as determined                          • children of U.S. citizens whose                  intending to physically reside with the
                                           under State or local law; or                            lawful admission for permanent                        alien) to whom the alien provides, or is
                                              Æ benefits received by an alien under                residence will result automatically in                required to provide, at least 50 percent
                                           21 years of age, or a woman during                      the child’s acquisition of citizenship                of the individual’s financial support or
                                           pregnancy (and during the 60-day                        upon finalization of adoption, if the                 who are listed as dependents on the
                                           period beginning on the last day of the                 child satisfies the requirements                      alien’s United States federal income tax
                                           pregnancy).                                             applicable to adopted children under                  return; and
                                              • Public housing and rental                          INA 101(b)(1), 8 U.S.C. 1101(b)(1) in the                • Any individual who provides to the
                                           assistance programs under sections 8–9                  United States by the U.S. citizen                     alien at least 50 percent of the alien’s
                                           of the Housing Act of 1937, 42 U.S.C.                   parent(s) and meets other eligibility                 financial support, or who lists the alien
                                           1437f–g.                                                criteria as required by the Child                     as a dependent on his or her federal
                                              Exclusions from the Public Benefit                   Citizenship Act of 2000, Public Law                   income tax return.
                                           Definition: Public benefit, under the                   106–395, 114 Stat. 16341 (INA section                    If the alien is a child as defined in
                                           interim final rule, does not include any                320(a)–(b), 8 U.S.C. 1431(a)–(b), in                  section 101(b)(1) of the INA, 8 U.S.C.
                                           public benefit received by an alien who                 accordance with 8 CFR part 320); or                   1101(b)(1), the alien’s household
                                           at the time of receipt of the public                       • children of U.S. citizens who are                includes the following individuals:
                                           benefit, or at the time of visa application             entering the United States for the                       • The alien;
                                           or visa adjudication, is or was:                        purpose of attending an interview under                  • The alien’s children as defined in
                                              • Enlisted in the U.S. Armed Forces                  section 322 of the INA, 8 U.S.C. 1433,                section 101(b)(1) of the INA, 8 U.S.C.
                                           under the authority of 10 U.S.C.                        in accordance with 8 CFR part 322.                    1101(b)(1), physically residing or
                                           504(b)(1)(B) or 10 U.S.C. 504(b)(2) (or is                 Additionally, the interim final rule               intending to physically reside with the
                                           the spouse or child of such person),                    makes clear that only certain forms of                alien;
jbell on DSK3GLQ082PROD with RULES3




                                              • serving in active duty or in the                   public assistance received on or after                   • The alien’s other children as
                                           Ready Reserve component of the U.S.                     12:00 a.m., October 15, 2019 fall within              defined in section 101(b)(1) of the INA,
                                           Armed Forces (or is the spouse or child                 the definition of ‘‘public benefit’’ for the          8 U.S.C. 1101(b)(1), not physically
                                           of such person), or                                     purpose of applying the public charge                 residing or not intending to physically
                                              • the spouse or child of an individual               ground of ineligibility, with the                     reside with the alien, for whom the
                                           enlisted in the U.S. Armed Forces under                 exception of cash assistance for income               alien provides or is required to provide

                                                                                                                          104
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 106 of 125

                                           55000             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           at least 50 percent of the children’s                   not constitute receipt of public benefit,             consequence, an alien’s reliance on or
                                           financial support, as evidenced by a                    but it may be considered as a factor                  receipt of non-cash benefits such as
                                           child support order or agreement, a                     suggesting likelihood of future receipt.              SNAP, Medicaid, housing vouchers and
                                           custody order or agreement, or any other                An alien’s receipt of, application for, or            other housing subsidies, and other
                                           order or agreement specifying the                       certification for, a public benefit solely            programs that DHS now considers
                                           amount of financial support to be                       on behalf of another individual does not              ‘‘public benefit’’ pursuant to its new
                                           provided by the alien;                                  constitute receipt of, application for, or            definition of ‘‘public charge’’ were not
                                              • The alien’s parents, legal guardians,              certification for, such alien, regardless             previously considered by DHS or the
                                           or any other individual providing or                    of whether the alien might gain                       Department in determining whether an
                                           required to provide at least 50 percent                 personally from the third party’s benefit.            alien is deemed likely at any time to
                                           of the alien’s financial support to the                 This new standard will help consular                  become a public charge.
                                           alien as evidenced by a child support                   officers implement the new ‘‘public                      DHS revised its interpretation of
                                           order or agreement, a custody order or                  charge’’ definition at paragraph (b),                 ‘‘public charge’’ to incorporate
                                           agreement, or any other order or                        referring to an alien who receives one or             consideration of such benefits in order
                                           agreement specifying the amount of                      more public benefits, as defined in                   to better ensure that aliens subject to the
                                           financial support to be provided to the                 paragraph (c) of this section, for more               public charge inadmissibility ground are
                                           alien;                                                  than 12 months in the aggregate within                not dependent on public resources to
                                              • The parents’ or legal guardians’                   any 36-month period. It also clarifies                meet their needs, but rather rely on their
                                           other children as defined in section                    that consular officers must evaluate                  own capabilities, as well as the
                                           101(b)(1) of the INA, 8 U.S.C. 1101(b)(1),              whether the alien is likely to receive one            resources of family members, sponsors,
                                           physically residing or intending to                     or more public benefits, the impact of                and private organizations. The DHS rule
                                           physically reside with the alien;                       certification for future receipt of a                 redefines the term ‘‘public charge’’ to
                                              • The alien’s parents’ or legal                      public benefits, and that the relevant                mean an alien who receives one or more
                                           guardians’ other children as defined in                 consideration is the alien’s future                   designated public benefits for more than
                                           section 101(b)(1) of the INA, 8 U.S.C.                  receipt, or expected receipt, of public               12 months in the aggregate within any
                                           1101(b)(1), not physically residing or                                                                        36-month period (such that, for
                                                                                                   benefits, not an application or
                                           not intending to physically reside with                                                                       instance, receipt of two benefits in one
                                                                                                   certification solely on behalf of another
                                           the alien for whom the parent or legal                                                                        month counts as two months’ worth of
                                                                                                   person. Because 40.41(c) limits the
                                           guardian provides or is required to                                                                           benefits). The DHS final rule defines the
                                                                                                   definition of ‘‘public benefit’’ to
                                           provide at least 50 percent of the other                                                                      term ‘public benefit’ with a finite list of
                                                                                                   specified forms of public assistance
                                           children’s financial support, as                                                                              public benefits that are considered for
                                                                                                   received on or after 12 a.m., October 15,
                                           evidenced by a child support order or                                                                         purposes of the public charge
                                                                                                   2019, an alien will not be considered to
                                           agreement, a custody order or                                                                                 determination, including Federal, state,
                                                                                                   have received a public benefit before
                                           agreement, or any other order or                                                                              local or tribal cash assistance for income
                                                                                                   that date.
                                           agreement specifying the amount of                                                                            maintenance, Supplemental Security
                                                                                                      The paragraph in § 40.41 titled
                                           financial support to be provided by the                                                                       Income (‘‘SSI’’), SNAP, most forms of
                                                                                                   Prearranged Employment, formerly (e),
                                           parents or legal guardians; and                                                                               Medicaid, Section 8 Housing Assistance
                                              • Any other individual(s) to whom                    is redesignated (f). The interim final rule
                                                                                                   does not change the text of these                     under the Housing Choice Voucher
                                           the alien’s parents or legal guardians                                                                        (‘‘HCV’’) Program, Section 8 Project-
                                           provide, or are required to provide at                  sections. Finally, the Department is
                                                                                                   removing Posting of a Bond, formerly                  Based Rental Assistance, and certain
                                           least 50 percent of such individual’s                                                                         other forms of subsidized housing. See
                                           financial support or who is listed as a                 (d), and Joint Sponsors, formerly
                                                                                                   paragraph (c) and Use of the Federal                  Inadmissibility on Public Charge
                                           dependent on the parent’s or legal                                                                            Grounds, 84 FR 41292 (Aug. 14, 2019).
                                           guardian’s federal income tax return.                   Poverty Line Where INA 213A Not
                                                                                                                                                            Because section 212(a)(4) of the INA,
                                              This definition varies in certain                    Applicable, formerly paragraph (f).
                                                                                                                                                         8 U.S.C. 1182(a)(4), renders
                                           aspects from existing FAM guidance.                     These paragraphs were removed
                                                                                                                                                         inadmissible aliens ineligible to receive
                                           First, the Department is adopting                       because language was not necessary;
                                                                                                                                                         visas and ineligible to be admitted to the
                                           different standards for applicants who                  they either restated statutory
                                                                                                                                                         United States, the Department is also
                                           are at least 21 years of age (or married                requirements or were obsolete.
                                                                                                                                                         modifying its interpretation in some
                                           and any age), and children. Prior                       II. Why is the Department promulgating                respects. The Department’s new
                                           guidance did not make such distinctions                 this rule?                                            standards are intended to avoid
                                           and placed more focus on the alien’s                                                                          situations where a consular officer will
                                           sponsor, if required. However, the text                 A. Background
                                                                                                                                                         evaluate an alien’s circumstances and
                                           of INA 212(a)(4), 8 U.S.C. 1182(a)(4),                     On August 14, 2019, DHS issued a                   conclude that the alien is not likely at
                                           focuses on whether the visa applicant                   final rule outlining its new                          any time to become a public charge,
                                           will become a public charge and                         interpretation of the public charge                   only for DHS to evaluate the same alien
                                           requires the Department to consider the                 ground of inadmissibility. See                        when he seeks admission to the United
                                           applicant’s family status.                              Inadmissibility on Public Charge                      States on the visa issued by the
                                              Receipt of Public Benefit: In paragraph              Grounds, 84 FR 41292. Under DHS’s                     Department of State and finds the alien
                                           (e), the interim final rule sets out new                prior interpretation of ‘‘public charge’’             inadmissible on public charge grounds
                                           standards for what constitutes ‘‘receipt                an alien would be inadmissible if he or               under the same facts. Although the
                                           of public benefit.’’ Receipt of public                  she would be ‘‘primarily dependent on                 Department has chosen to follow DHS’s
                                           benefit occurs when a public benefit                    the Government for subsistence, as                    approach in many respects, this interim
jbell on DSK3GLQ082PROD with RULES3




                                           granting agency provides a public                       demonstrated by either the receipt of                 final rule reflects the Department’s
                                           benefit, as defined in § 40.41(c), to the               public cash assistance for income                     independent interpretations and
                                           visa applicant as a beneficiary, whether                maintenance or institutionalization for               policies. In addition, some aspects of
                                           in the form of cash, voucher, services,                 long-term care at Government expense.’’               the rule may deviate from the DHS
                                           or insurance coverage. Application or                   Since May 1999, Department guidance                   approach due to the differing
                                           certification for a public benefit does                 has used the same standard. As a                      circumstances of visa applicants, who

                                                                                                                          105
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 107 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                          55001

                                           reside outside the United States and                    U.S.C. 1361. However, most provisions                 positive factor, which takes into
                                           typically have not spent substantial time               in section 212(a) of the INA, 8 U.S.C.                consideration ‘‘early retirement age’’ for
                                           in the United States, as contrasted with                1182(a), also require consular officers               Social Security set forth in 42 U.S.C.
                                           applicants for USCIS-administered                       either to have a ‘‘reason to believe’’ or             416(l)(2). The 18-through-62 age range is
                                           benefits, which applicants commonly                     to evaluate whether as a factual matter               based on the ages at which people are
                                           are in the United States and have spent                 something has happened in the past                    generally able to work full-time and
                                           substantial time there.                                 (e.g., that a visa applicant was convicted            prior to an individual’s general ability to
                                                                                                   of a particular crime or engaged in                   retire with some social security
                                           B. Specific Provisions
                                                                                                   trafficking activity). The public charge              retirement benefits under Federal law.
                                             In addition to the reasons cited in                   provision, like certain other provisions,                Under this provision, being under 18
                                           Section (II)(A), the Department adopts                  requires a consular officer to assess the             would be a negative factor. The
                                           the interpretations set forth in the                    likelihood of an event happening in the               Department notes this approach reflects
                                           interim final rule based on the                         future, which here serves as the sole                 the common understanding of when
                                           additional considerations below.                        criterion for whether the ineligibility               people are generally able to work full-
                                           1. Basis for Determination of                           applies. To clarify the standard for                  time and that children under the age of
                                           Ineligibility                                           consular officers, the Department is                  18 generally face difficulties working
                                                                                                   interpreting ‘‘likely’’ as ‘‘more likely              full-time. Federal laws, such as the Fair
                                              The new reference to the Affidavit of                than not’’ in the context of the public               Labor Standards Act, and some state
                                           Support provision for certain                           charge ineligibility ground, which will               laws place restrictions on the ability of
                                           employment-based immigrants reflects                    eliminate ambiguity from the phrase                   children under the age of 18 to work
                                           the statutory requirement that aliens                   ‘‘likely at any time’’ by requiring a                 full-time. Additionally, individuals
                                           who are the beneficiary of petitions filed              consular officer to make a finding that               under the age of 18 may be more likely
                                           pursuant to section 212(a)(4)(D) of the                 it is probable, i.e., more likely than not,           to qualify for and receive public
                                           INA, 8 U.S.C. 1182(a)(4)(D), by a relative              that an applicant will at any time in the             benefits. For example, the U.S. Census
                                           or an entity in which a relative has a                  future become a public charge for this                reported that persons under the age of
                                           significant ownership interest are                      ground of ineligibility to apply.                     18 were more likely to receive means-
                                           ineligible without an Affidavit of                      Conversely, this standard makes clear to              tested benefits than other age groups.
                                           Support from such relative. Significant                 applicants that they can avoid                        See Jessica L. Semega et al., U.S. Census
                                           ownership interest means 5 percent or                   application of the public charge ground               Bureau, Income and Poverty in the
                                           more under existing Department                          of ineligibility by demonstrating that it             United States: 2016, at 13 tbl.3 (Sept.
                                           guidance. See also 8 CFR 213a.1. This                   is not more likely than not that they will            2017), available at https://
                                           addition does not reflect a policy                      become a public charge at any time in                 www.census.gov/content/dam/Census/
                                           change. The Department is also                          the future.                                           library/publications/2017/demo/P60-
                                           clarifying that consular officers will                     The interim final rule also cites in               259.pdf.
                                           consider whether a third party is willing               paragraph (a) to the statutory                           However, consular officers will also
                                           and able to financial support the alien                 requirement from section 212(a)(4)(B) of              review the support provided by a parent
                                           in the United States. A third party could               the INA, 8 U.S.C. 1182(a)(4)(B), that                 or other source (assets, resources, and
                                           be the sponsor, or, for example, for a B–               consular officers will, at the time of visa           financial status) as part of the totality of
                                           1/B–2 applicant, the alien’s parent or                  application, take into account statutory              the circumstances. For example, in the
                                           child. This clarifies current policy and                factors, including the alien’s age; health;           case of a 17-year old child in a United
                                           is not a policy change.                                 family status; assets, resources, financial           States boarding school, consular officers
                                              Also in paragraph (a), the interim                   status; and education and skills. The                 would consider age to be a negative
                                           final rule incorporates ‘‘more likely than              rule also explains that consular officers             factor. However, the alien’s financial
                                           not’’ as the standard that consular                     must consider those factors, among                    status or support, such as having
                                           officers will use when evaluating                       others, as part of the totality of the                education and living expenses paid for
                                           whether an alien is ‘‘likely’’ to become                applicant’s circumstances. The interim                by someone else, would be a positive
                                           a public charge. Section 212(a)(4) of the               final rule then explains the                          factor that in the totality of the
                                           INA, 8 U.S.C. 1182(a)(4), specifies that                Department’s interpretation of each                   circumstances could lead to the
                                           the public charge ground will apply to                  factor. The Department’s standards will               conclusion that the applicant is not
                                           ‘‘any alien who, in the opinion of the                  be implemented through guidance that                  likely to become a public charge.
                                           consular officer . . . is likely at any                 is consistent with standards announced                Likewise, in the case of a 17-year-old
                                           time to become a public charge’’. The                   in the DHS final rule, and will mitigate              who has a credible offer of lawful
                                           Department believes that the word                       against the possibility that consular                 employment that would make him- or
                                           ‘‘likely’’ could be ambiguous to consular               officers would issue a visa to an                     herself-sufficient, the alien’s age would
                                           officers, particularly given the overall                individual whom DHS would find                        be a negative factor, but a credible offer
                                           subjective nature of the standard (‘‘in                 inadmissible based on the same facts.                 of employment that would make the
                                           the opinion of the consular officer’’),                 However, the Department’s standards                   alien self-sufficient would be a positive
                                           and that both consular officers and visa                are in some ways tailored specifically                factor.
                                           applicants would benefit from having a                  for unique aspects of visa adjudication.                 In codifying existing FAM guidance
                                           more clear standard of proof and                                                                              that an applicant’s age above early
                                           adjudicatory framework.                                 a. Age                                                retirement age is a negative factor in the
                                              The requisite degree of proof in civil                  Consular officers will consider                    totality of the circumstances if the
                                           matters is generally a preponderance of                 whether the alien’s age makes the alien               consular officer believes it negatively
jbell on DSK3GLQ082PROD with RULES3




                                           the evidence, which is synonymous                       more likely than not to become a public               affects the person’s ability to work or
                                           with ‘‘more likely than not.’’ The                      charge in the totality of the                         may increase the potential for
                                           standard of proof specified by the INA                  circumstances, such as by impacting the               healthcare related costs, the Department
                                           that must be met by individuals                         alien’s ability to obtain and perform                 does not intend this standard to imply
                                           applying for visas is ‘‘to the satisfaction             work. Consular officers will consider an              that individuals over early retirement
                                           of the consular officer.’’ See INA 291, 8               alien’s age between 18 and 62 as a                    age are unable to work. These factors

                                                                                                                          106
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 108 of 125

                                           55002             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           will be weighed by consular officers in                 an alien who is part of a large household             framework DHS will use for public
                                           analyzing the totality of the applicant’s               may have his or her own income or                     charge inadmissibility determinations.
                                           circumstances.                                          access to additional assets and resources             See 8 CFR 212.22(b)(4).
                                                                                                   that would assist in supporting the                      It is still possible that other factors,
                                           b. Health                                                                                                     such as an alien’s health and inability
                                                                                                   household. All of these factors would be
                                              The interim final rule generally                     considered in the totality of the                     to pay for reasonably foreseeable health
                                           restates FAM guidance that directs                      circumstances.                                        costs, could mean that a consular officer
                                           consular officers to consider a visa                      The Department notes that this                      could find an alien with such financial
                                           applicant’s health when assessing                       approach deviates somewhat from the                   resources likely to become a public
                                           whether the applicant is likely to                      DHS rule, in that the Department’s                    charge. The Department recognizes that
                                           become a public charge. As explained                    approach focuses on the alien’s                       this factor will be more relevant to
                                           below, the rule introduces additional                   intended household in the United                      immigrant visa applicants who will
                                           factors related to assets, resources, and               States, rather than any members of his                reside permanently in the United States
                                           financial status, including whether an                  foreign household he or she will leave                than nonimmigrant applicants who
                                           applicant will have health insurance or                 behind. This difference in effect aligns              intend to travel to the United States for
                                           other means to cover reasonably                         the two Departments’ approaches.                      a short duration.
                                           foreseeable medical costs (relating to                                                                           The interim final rule introduces two
                                           health issues existing at the time of visa              d. Assets, Resources, and Financial                   factors related to assets, resources, and
                                           adjudication). Lack of health insurance                 Status                                                financial status: Previous DHS fee
                                           alone would not make an alien more                         The Department’s interpretation of                 waivers and health insurance or other
                                           likely than not to become a public                      this factor in the interim final rule                 means to cover foreseeable medical
                                           charge at any time, but would instead be                comports with the totality of the                     costs. DHS fee waivers are based on an
                                           considered in the totality of the alien’s               circumstances test. Household gross                   individual’s inability to pay. 8 CFR
                                           circumstances.                                          income above 125 percent of the Federal               103.7(c). A recently granted fee waiver
                                                                                                   Poverty Guidelines for the alien’s                    is relevant to whether an applicant is
                                           c. Family Status                                        household size (100 percent for an alien              likely to become a public charge,
                                              Under the interim final rule, consular               on active duty, other than training, in               although the factor is less relevant if the
                                           officers will consider whether the alien                the Armed Forces), or assets five times               applicant’s financial status has
                                           has a household to support, or whether                  the difference between the applicant’s                materially improved since the waiver
                                           the alien is being supported by another                 household gross income and the Federal                was granted. Additionally, a fee waiver
                                           household and whether the alien’s                       Poverty Guidelines for the applicant’s                granted by DHS is not considered as a
                                           household size makes the alien likely to                household, is a positive factor.                      factor in the public charge
                                           become a public charge. Household size                  However, if the alien is the spouse or                inadmissibility determination if the
                                           is a positive factor if the family size                 child of a U.S. citizen, assets totaling              alien applied for and was granted a fee
                                           makes the alien unlikely to receive                     three times the difference between the                waiver as part of an application for a
                                           public benefits at any time in the future.              alien’s household gross income and 125                benefit request for which a public
                                              The Department notes that consular                   percent of the Federal Poverty                        charge inadmissibility under section
                                           officers will frequently view family                    Guidelines (100 percent for those on                  212(a)(4) of the Act, 8 U.S.C. 1182(a)(4)
                                           status in connection with, among other                  active duty, other than training, in the              was not required.
                                           things, the alien’s assets and resources,               Armed Forces) for the alien’s household                  The interim final rule’s addition of
                                           because the amount of assets and                        size is a positive factor. If the alien is            private health insurance as a factor
                                           resources necessary to support a larger                 a child who will be adopted in the                    relevant to assets, resources, and
                                           number of people in a household is                      United States and who will likely                     financial status reflects the fact that
                                           generally greater. Thus, as described in                receive citizenship under INA 320, 8                  medical costs can be significant and
                                           the section below on ‘‘Assets, resources,               U.S.C. 1432, then assets equivalent to or             certain public benefits are designed to
                                           and financial status,’’ consular officers               greater than the difference between the               help individuals with limited resources
                                           will consider annual gross income for                   alien’s household gross income and 125                to cover medical costs. The fact that an
                                           the applicant’s household size of at least              percent the Federal Poverty Guidelines                applicant has health insurance or other
                                           125 percent of the most recent Federal                  (100 percent for those on active duty,                sufficient financial resources makes it
                                           Poverty Guidelines based on the                         other than training, in the Armed                     less likely that an alien will resort to
                                           applicant’s household size (or 100                      Forces) for the alien’s household size is             public benefits to cover medical
                                           percent for an applicant on active duty,                a positive factor. This significant assets            expenses. A consular officer will
                                           other than training, in the Armed                       provision allows an alien whose income                consider an alien’s health insurance
                                           Forces) a positive factor. The                          is below the applicable income                        coverage or other financial resources, in
                                           Department also recognizes DHS                          threshold to demonstrate assets to                    light of reasonably foreseeable medical
                                           analyses showing that receipt of non-                   support himself or herself, thereby                   costs (those related to medical issues
                                           cash benefits generally increases as                    reducing the likelihood of becoming a                 existing at the time of visa
                                           family size increases, and therefore                    public charge. This reflects a change                 adjudication), in the totality of the
                                           family size is relevant to assessing                    from existing FAM guidance, which                     applicant’s circumstances. Lack of
                                           whether an alien is likely to become a                  recognizes income above 125 percent of                health insurance alone would not make
                                           public charge. See Inadmissibility on                   the Federal Poverty Guidelines and                    an alien more likely than not to become
                                           Public Charge Grounds, 83 FR 51114,                     assets in the amount of five times 125                a public charge at any time, but would
                                           51185, Tables 16 and 17 (proposed Oct.                  percent of the Federal Poverty                        instead be considered in the totality of
jbell on DSK3GLQ082PROD with RULES3




                                           10, 2018). Regardless of household size,                Guidelines generally as sufficient                    the alien’s circumstances.
                                           an alien may present other factors (e.g.,               resources for overcoming public charge                   The Department also considered
                                           assets, resources, financial status,                    concerns. This new standard is more                   whether to include a visa applicant’s
                                           education, and skills) that weigh for or                consistent with DHS Affidavit of                      credit score or credit report among the
                                           against a finding that the alien is likely              Support requirements, outlined in 8                   other factors relevant to assets,
                                           to become a public charge. For instance,                CFR 213a.2(c)(2)(iii)(B), and the                     resources, and financial status. The

                                                                                                                          107
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 109 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                        55003

                                           Department is aware that the DHS final                  degree), any occupational skills,                     school graduates and 9.6 percent of
                                           rule includes an alien’s credit history                 certifications or licenses, and language              individuals with one or more years of
                                           and credit score among the types of                     proficiency. Current guidance directs                 college.
                                           evidence USCIS adjudicators consider.                   consular officers to consider the                        Additionally, data suggest that people
                                           The Department did not include credit                   applicant’s skills, length of                         who have lower education levels are not
                                           history or credit score in this interim                 employment, and frequency of job                      only more likely to receive public
                                           final rule, primarily because visa                      changes, and permitted consular offices               benefits but also more likely to receive
                                           applicants generally would not have an                  to consider work experience as evidence               them for longer periods. For example,
                                           active or recent credit history in the                  of skills. Although the interim final rule            49.4 percent of people with less than
                                           United States.                                          does not treat work experience as                     four years of high school who received
                                              The interim final rule codifies some                 evidence of skills, it does require that              public benefits from a major means-
                                           changes to how consular officers will                   consular officers consider the alien’s                tested program between January 2009
                                           consider past receipt of public benefits.               history of employment. Section                        and December 2012 continued to
                                           Current guidance directs consular                       212(a)(4) of the INA, 8 U.S.C. 1182(a)(4),            participate in the benefit program for 37
                                           officers to consider receipt of public                  directs officers to consider the alien’s              to 48 months. In contrast, only 39.3
                                           assistance of any type by the visa                      education and skills. The interim final               percent of high school graduates and
                                           applicant or a family member in the visa                rule implements Congress’s directive on               29.0 percent of those with one or more
                                           applicant’s household when                              this mandatory statutory factor. This                 years of college who received public
                                           determining the likelihood a visa                       formulation is also more similar to the               benefits during the same time period
                                           applicant would become a public                         new DHS guidance, and is aimed to                     continued to participate in the public
                                           charge. The interim final rule revises                  mitigate against situations where a                   benefit program for 37 to 48 months. See
                                           this by focusing on receipt of public                   consular officer will issue a visa to an              id. The data suggests that a lack of
                                           benefits only by the applicant and                      alien who is later found inadmissible by              education increases the likelihood of
                                           incorporates the Department’s new                       DHS on the same facts.                                poverty and unemployment, which may
                                           definition of public benefit. Both of                                                                         in turn increase the likelihood of
                                                                                                      The interim final rule introduces a
                                           these elements align with the DHS rule,                                                                       applying for, and participating in,
                                                                                                   requirement that consular officers
                                           ensure consistent administration of the                                                                       public assistance programs.
                                                                                                   consider the following additional                        The Department’s treatment of
                                           INA’s public charge provisions, and
                                                                                                   information relevant to education and                 education and skills in the interim final
                                           minimize the possibility of a consular
                                           officer issuing a visa to an alien who is               skills: Educational level (high school                rule is supported by DHS’s analysis of
                                           later found to be inadmissible by DHS                   diploma, or its equivalent, or higher                 Survey of Income and Program
                                           on the same facts.                                      educational degree), any occupational                 Participation data, which shows a
                                              The Department’s new definition of                   skills, certifications or licenses, and               relationship between education level
                                           ‘‘public benefit’’ includes only certain                language proficiency. Various studies                 and self-sufficiency. See Inadmissibility
                                           forms of public assistance received on                  and data show that a higher level of                  on Public Charge Grounds, 83 FR 51114,
                                           or after 12 a.m., October 15, 2019,                     education and skills is a positive                    51190–51196 (proposed Oct. 10, 2018).
                                           although, as explained below in Section                 indicator of self-sufficiency. The U.S.                  The interim final rule recognizes the
                                           (II)(B)(1)(i), consular officers may                    Bureau of Labor Statistics (BLS)                      implications of whether the alien is a
                                           consider any amount of cash assistance                  observed in 2016 a relationship between               primary caregiver. This factor is
                                           for income maintenance, including                       educational level and the                             intended to take into consideration
                                           Supplemental Security Income (SSI),                     unemployment rate. See U.S. Bureau of                 difficult-to-monetize contributions by
                                           Temporary Assistance for Needy                          Labor Statistics, Employment                          aliens who may lack current
                                           Families (TANF), State and local cash                   Projections, Unemployment Rates and                   employment or an employment history
                                           assistance programs that provide                        Earnings by Educational Attainment,                   due to their full-time, unpaid care of
                                           benefits for income maintenance (often                  2016, available at https://www.bls.gov/               household members. For example, a
                                           called ‘‘General Assistance’’ programs),                emp/chart-unemployment-earnings-                      visa applicant may care for a household
                                           and programs (including Medicaid)                       education.htm (last updated Mar. 27,                  member who will not travel with the
                                           supporting aliens who are                               2018). According to that report, the                  visa applicant to the United States. The
                                           institutionalized for long-term care,                   unemployment rate for an individual                   visa applicant’s employment history
                                           received, or certified for receipt, before              with a doctoral degree was only 1.6                   would not accurately reflect the alien’s
                                           October 15, 2019 as a negative factor                   percent, compared to 7.4 percent for an               unpaid work as a primary caregiver. In
                                           (but not a heavily weighted negative                    individual with less than a high school               this respect, serving as a primary
                                           factor).                                                diploma. According to the U.S. Census                 caregiver could be a positive factor in
                                                                                                   Bureau, lower educational attainment                  the totality of the circumstances.
                                           e. Education and Skills                                 was associated with higher public
                                              When considering an alien’s                          benefit program participation rates for               f. Prospective Visa Classification
                                           education and skills, consular officers                 people over the age of 18. See Shelley                   The interim final rule adds that
                                           will consider whether the alien has                     K. Irving & Tracy A. Loveless, U.S.                   consular officers will consider the visa
                                           adequate education and skills to either                 Census Bureau, Dynamics of Economic                   classification sought. This factor relates
                                           obtain or maintain lawful employment                    Well-Being: Participation in Government               to the alien’s ability to financially
                                           with an income sufficient to avoid being                Programs, 2009–2012: Who Gets                         support himself or herself and the
                                           likely to become a public charge. In                    Assistance? (May 2015), available at                  members of his or her household while
                                           assessing whether the alien’s level of                  https://www.census.gov/content/dam/                   in the United States. For example, a
jbell on DSK3GLQ082PROD with RULES3




                                           education and skills makes the alien                    Census/library/publications/2015/                     consular officer’s public charge analysis
                                           likely to become a public charge, the                   demo/p70-141.pdf. That report reflected               of an applicant for a B–1 nonimmigrant
                                           consular officer must consider, among                   that in 2012, 37.3 percent of people who              visa, who plans to attend a week-long
                                           other factors, the alien’s history of                   did not graduate from high school                     business meeting, would differ from a
                                           employment, educational level (high                     received means-tested benefits,                       longer term nonimmigrant applicant,
                                           school diploma or higher educational                    compared with 21.6 percent of high                    such as an H–1B nonimmigrant

                                                                                                                          108
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 110 of 125

                                           55004             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           specialty worker, who would reside and                  submit a sufficient Affidavit of Support              and 2009 to 2012, which show that, in
                                           work in the United States for years at a                is ineligible as a public charge. To be               each of the covered years, individuals
                                           time, and would differ even more from                   sufficient, an Affidavit of Support must              with full-time work were less likely to
                                           an immigrant visa applicant who                         meet the requirements of 8 CFR part                   receive means-tested benefits during the
                                           intends to reside permanently in the                    213a. Also, in paragraph (b), the                     year (ranging from 4.5 percent to 5.1
                                           United States and may not have pre-                     Department removed reference to fee                   percent of full-time workers who
                                           arranged employment. In this respect,                   collection for review and assistance                  received benefits) than those who were
                                           the visa classification, including the                  with submitting an affidavit of support               unemployed (ranging from 24.8 percent
                                           purpose and duration of travel, are                     at consular posts because consular posts              to 31.2 percent of unemployed
                                           relevant to assessing the likelihood that               do not collect an affidavit of support fee            individuals who received benefits). See
                                           an alien would avail himself or herself                 overseas.                                             Jeongsoo Kim, Shelley K. Irving, & Tracy
                                           of public benefits (noting that in many                                                                       A. Loveless, U.S. Census Bureau,
                                                                                                   h. Heavily Weighted Factors
                                           cases visa applicants may not be eligible                                                                     Dynamics of Economic Well-Being:
                                           for public benefits in the United States),                The interim final rule provides that                Participation in Government Programs,
                                           and therefore consular officers must                    certain factors or factual circumstances              2004 to 2007 and 2009—Who Gets
                                           evaluate these factors on a case-by-case                will weigh heavily in determining                     Assistance? (July 2012), available at
                                           basis.                                                  whether an alien is likely to become a                https://www2.census.gov/library/
                                              That is not to say that a B–1                        public charge. The mere presence of one               publications/2012/demo/p70-130.pdf;
                                           nonimmigrant applicant is subject to a                  of these enumerated circumstances                     Shelley K. Irving & Tracy A. Loveless,
                                           lower standard than an H–1B                             would not, alone, be determinative. A                 U.S. Census Bureau, Dynamics of
                                           nonimmigrant or immigrant under the                     heavily weighted factor could be                      Economic Well-Being: Participation in
                                           statute or this interim final rule, but the             outweighed by countervailing evidence                 Government Programs, 2009–2012: Who
                                           immigration status sought by the                        in the totality of the circumstances.                 Gets Assistance? (May 2015), available
                                           applicant will be highly relevant context               While heavily weighted factors are                    at https://www.census.gov/content/
                                           for the consular officer’s totality of the              circumstances the Department considers                dam/Census/library/publications/2015/
                                           circumstances determination. An                         particularly indicative of the likelihood             demo/p70-141.pdf. The Department
                                           applicant with a serious chronic health                 an alien will become a public charge,                 recognizes that not everyone authorized
                                           condition seeking medical treatment in                  they are evaluated in conjunction with                to work needs to work and thus the
                                           the United States on a tourist visa                     other relevant positive and negative                  Department does not require a working
                                           would be expected to establish that he                  factors in the totality of the alien’s                age alien to have an employment history
                                           or she has the means and intent to pay                  circumstances.                                        as part of the public charge
                                           for all reasonably foreseeable treatment.                                                                     determination. Some aliens may have
                                                                                                   i. Heavily Weighted Negative Factors
                                           By demonstrating the ability to cover                                                                         sufficient assets and resources,
                                           the medical expenses anticipated on a                      The interim final rule provides that               including a household member’s
                                           short-term trip to the United States, the               certain factors are weighted as heavily               income and assets, which may
                                           applicant can demonstrate that even                     negative because these factors are                    overcome any negative factor related to
                                           though health presents as a negative                    particularly indicative of a likelihood               lack of employment. For example, some
                                           factor, the applicant has financial                     that the alien would become a public                  student visa applicants may have
                                           resources that make it unlikely the                     charge, particularly with regard to the               scholarships that cover the cost of
                                           applicant would avail himself or herself                alien’s ability to be self-sufficient.                education as well as living expenses
                                           of one or more public benefits.                         Heavily weighted negative factors                     during the time of their studies. Further,
                                           However, an immigrant visa applicant                    include:                                              students generally acquire skills as part
                                           with the same serious chronic health                    a. Lack of Recent Employment or                       of their studies so that post-education
                                           condition and need for ongoing                          Prospect of Future Employment                         they will be able to obtain employment.
                                           treatment would have to satisfy a                                                                             Consular officers will review those
                                           consular officer that he or she has the                    As long as an alien is not a full-time             considerations in the totality of the
                                           means to pay for long-term care.                        student and is authorized to work in the              circumstances.
                                                                                                   alien’s place of residence abroad and, if
                                           g. Affidavit of Support                                 relevant, in the United States, the                   b. Current or Certain Past Receipt of
                                              The interim final rule provides that a               interim final rule sets the absence of                Public Benefits
                                           properly filed, non-fraudulent, and                     current employment, employment                           Under § 40.41(a)(8)(i)(B), receipt of
                                           sufficient Affidavit of Support, in those               history, or reasonable prospect of future             one or more public benefits, as defined
                                           cases where it is required, is a positive               employment as a heavily weighted                      in § 40.41(c), is a heavily weighted
                                           factor in the totality of the                           negative factor. Self-sufficiency                     negative factor in a consular officer’s
                                           circumstances. In the totality of the                   generally involves people being capable               public charge determination if an alien
                                           circumstances review, the consular                      and willing to work and being able to                 has received or has been certified or
                                           officer would take into consideration                   secure and maintain gainful                           approved to receive one or more public
                                           the likelihood that the sponsor actually                employment. Various studies and data                  benefits for more than 12 months in the
                                           would provide the required financial                    show that a person’s education, skills,               aggregate within any 36-month period,
                                           support, based on the any available                     and employment history, are positive                  beginning no earlier than 36 months
                                           relevant information about the sponsor.                 factors for self-sufficiency. See Section             prior to the alien’s visa application or
                                           Since January 2018, FAM guidance has                    (II)(B)(1)(e), above. In addition, the lack           after October 15, 2019, whichever is
                                           reflected that a properly filed, non-                   of positive employment history and                    later. Under this interim final rule,
jbell on DSK3GLQ082PROD with RULES3




                                           fraudulent Affidavit of Support, in those               demonstrable marketable skills are                    receipt of two benefits in one month
                                           cases where it is required, is a positive               indicative of an increased likelihood                 counts as two months’ worth of benefits.
                                           factor in the totality of the                           that an individual would avail himself                Current receipt of one or more public
                                           circumstances analysis, and that an                     or herself of public benefits. This                   benefits, alone, will not always justify a
                                           alien who is required to submit an                      concept is supported by two Census                    finding of ineligibility on public charge
                                           Affidavit of Support but who fails to                   Bureau studies covering 2004 to 2007                  grounds. However, an alien’s current

                                                                                                                          109
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 111 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                        55005

                                           receipt of one or more public benefits                  benefit received within the previous                  conditions through panel physician
                                           suggests that the alien may continue to                 three years prior to the visa application             medical examinations or the alien’s
                                           receive one or more public benefits in                  and for more than twelve months                       disclosure of a medical condition. If a
                                           the future and would be more likely to                  (assuming the twelve months occurred                  consular officer has reason to believe a
                                           be a public charge as defined under                     after October 15, 2019 and was for more               visa applicant’s medical condition will
                                           § 40.41(b).                                             than 12 of 36 months in the aggregate)                require extensive medical treatment or
                                             With regard to current receipt of                     is considered a heavily weighted                      institutionalization, or will interfere
                                           public benefits, according to U.S.                      negative factor. The weight given to the              with the alien’s ability to provide for
                                           Census Bureau data, the largest share of                receipt of public benefits will depend                himself or herself, attend school, or
                                           participants (43.0 percent) who                         not only on how long ago and for how                  work, the consular officer will require
                                           benefited from one or more means-                       long the alien received the benefits, but             the visa applicant to explain how he or
                                           tested assistance programs between                      also on whether the alien received                    she will cover medical costs in the
                                           January 2009 and December 2012                          multiple benefits.                                    United States. It is a heavily weighted
                                           continued to receive program benefits                      The interim final rule makes clear that            negative factor if such an alien does not
                                           for between 37 and 48 months. See U.S.                  consular officers will only consider past             have private health insurance to cover
                                           Census Bureau, News Release: 21.3                       receipt of public benefits on or after                such expenses in the United States and
                                           Percent of U.S. Population Participates                 October 15, 2019, as a heavily weighted               has neither the prospect of obtaining
                                           in Government Assistance Programs                       negative factor. The definition of                    private health insurance to cover
                                           Each Month (May 28, 2015), available at                 ‘‘public benefit’’ in § 40.41(c) only                 medical expenses in the United States,
                                           https://www.census.gov/newsroom/                        applies to benefits received on or after              nor the financial resources to pay for
                                           press-releases/2015/cb15-97.html. A                     October 15, 2019.                                     reasonably foreseeable medical costs
                                           separate U.S. Census Bureau study                                                                             related to such medical condition.
                                                                                                   c. Lack of Financial Means to Pay for
                                           showed that an individual who received
                                                                                                   Medical Costs                                         d. Prior Public Charge Inadmissibility or
                                           benefits at any point during a two-year
                                           timespan was likely to receive benefits                    An alien presents a high risk of                   Deportability Finding
                                           every month during the period studied,                  becoming a public charge if he or she                    A prior finding by an Immigration
                                           suggesting relatively long periods of                   does not have private health insurance                Judge or the Board of Immigration
                                           receipt of benefits. Between January                    and also lacks the prospect of obtaining              Appeals that the visa applicant was
                                           2004 and December 2005, a greater                       private health insurance or the financial             inadmissible under INA 212(a)(4), 8
                                           share of the population received one or                 resources to pay for reasonably                       U.S.C. 1182(a)(4), or deportable under
                                           more means-tested benefits for the                      foreseeable medical costs related to an               INA 237(a)(5), 8 U.S.C. 1227(a)(5) (for
                                           entire 24-month study period (10.2                      existing medical condition. The risk                  having become a public charge within
                                           percent) than for either one to 11                      increases if the alien is likely to require           five years after date of entry to the
                                           months (8.5 percent) or 12 to 23 months                 extensive medical treatment or                        United States, not from causes
                                           (6.5 percent). See Jeongsoo Kim, Shelley                institutionalization or the condition will            affirmatively shown to have arisen since
                                           K. Irving, & Tracy A. Loveless, U.S.                    interfere with the alien’s ability to                 entry) is a heavily weighted negative
                                           Census Bureau, Dynamics of Economic                     provide care for him- or herself, to                  factor; however, a past public charge
                                           Well-Being: Participation in Government                 attend school, or to work. If the                     finding is not necessarily dispositive of
                                           Programs, 2004 to 2007 and 2009—Who                     applicant has no medical conditions                   whether the individual subsequently
                                           Gets Assistance? (July 2012), available at              existing at the time of visa adjudication,            will be denied a visa on public charge
                                           https://www2.census.gov/library/                        he or she would have no reasonably                    grounds. The Department recognizes
                                           publications/2012/demo/p70-130.pdf.                     foreseeable medical costs.                            that individual circumstances can
                                           The Department views current receipt of                    Certain chronic medical conditions                 change with the passage of time. This
                                           public benefits as a strong indicator that              can be costly to treat and an alien is a              approach aligns with the DHS final rule.
                                           an alien will continue to receive public                high risk of incurring significant
                                           benefits after admission to the United                  medical costs if he or she has such a                 ii. Heavily Weighted Positive Factors
                                           States and is, therefore, likely to become              condition. See U.S. Dep’t of Health &                    The interim final rule provides that
                                           a public charge. However, an alien may                  Human Servs., Research In Action, Issue               certain factors will be weighted as
                                           be able to establish circumstances                      #19: The High Concentration of U.S.                   heavily positive, because they strongly
                                           indicating that the receipt of public                   Health Care Expenditures (June 2006),                 indicate the alien would not become a
                                           benefits will stop in the near future,                  available at https://archive.ahrq.gov/                public charge. Heavily weighted
                                           prior to admission to the United States                 research/findings/factsheets/costs/                   positive factors include:
                                           on the visa being sought.                               expriach/expendria.pdf; see also
                                                                                                   https://www.cdc.gov/chronicdisease/                   a. Alien’s Household Has Income,
                                              An alien’s past receipt of public
                                           benefits at any time on or after October                about/costs/index.htm (costs associated               Assets, Resources, or Support of at Least
                                           15, 2019, for more than 12 months in                    with certain chronic diseases).                       250 Percent of the Federal Poverty
                                           the aggregate within the 36 months                         Certain conditions may adversely                   Guidelines
                                           immediately preceding his or her                        affect an applicant’s ability and capacity               If the alien’s household has financial
                                           application is a heavily weighted                       to obtain and retain gainful                          assets, resources, support or annual
                                           negative factor in determining whether                  employment. Other conditions could                    income of at least 250 percent of the
                                           the alien is likely to become a public                  result in long-term institutionalization              Federal Poverty Guidelines for the
                                           charge. However, an alien’s past receipt                in a health care facility. Id. According              alien’s household size, then that will be
                                           of T any designated public benefits is                  to the Multiple Chronic Conditions                    considered a heavily weighted positive
jbell on DSK3GLQ082PROD with RULES3




                                           considered a negative factor, even if not               Chartbook 2010 Medical Expenditure                    factor in the totality of the
                                           a heavily weighted one. For example,                    Panel Survey Data, 86 percent of the                  circumstances. DHS’s analysis of Survey
                                           the receipt of a public benefit five years              nation’s $2.7 trillion annual health care             of Income and Program Participation
                                           ago (assuming the evaluation was on or                  expenditures were for individuals with                data on income and participation in
                                           after October 1, 2024) would be a                       chronic or mental health conditions. Id.              public benefit programs shows that
                                           negative factor; however, a public                      Consular officers will learn of medical               participation in programs that

                                                                                                                          110
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 112 of 125

                                           55006             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           administer ‘‘public benefits,’’ as defined              i. Treatment of Benefits Received Before              depend on public resources to meet
                                           for the purpose of this rule, declines                  October 15, 2019                                      their needs, but rather rely on their own
                                           significantly for individuals with an                      Under the interim final rule, consular             capabilities and the resources of their
                                           income at least 250 percent of the                      officers will consider, as a negative                 families, their sponsors, and private
                                           Federal Poverty Guidelines. See                         factor, but not as a heavily weighted                 organizations.’’ See 8 U.S.C. 1601(2)(A).
                                           Inadmissibility on Public Charge                                                                                 There is a scarcity of legislative
                                                                                                   negative factor, any amount of cash
                                           Grounds, 83 FR 51206, (October 10,                                                                            guidance and case law interpreting
                                                                                                   assistance for income maintenance,
                                           2018) (noting, e.g., that use of SNAP                                                                         public charge. Legislative history,
                                                                                                   including Supplemental Security
                                                                                                                                                         however, suggests a link between public
                                           benefits declines from a 21.2 percent                   Income (SSI), Temporary Assistance for
                                                                                                                                                         charge and the receipt of public
                                           participation rate for those with income                Needy Families (TANF), State and local
                                                                                                                                                         benefits. According to a 1950 Senate
                                           between 125–250 percent of the Federal                  cash assistance programs that provide
                                                                                                                                                         Judiciary Committee report, which led
                                           Poverty Guidelines to 15 percent for                    benefits for income maintenance (often
                                                                                                                                                         up to passage of the INA in 1952, a
                                           those with incomes between 250–400                      called ‘‘General Assistance’’ programs),              Senate subcommittee highlighted
                                           percent of the Federal Poverty                          and programs (including Medicaid)                     concerns raised by an immigration
                                           Guidelines). This approach aligns with                  supporting aliens who are                             inspector about aliens receiving old age
                                           the DHS final rule. Accordingly, the                    institutionalized for long-term care,                 assistance. The Senate subcommittee
                                           Department will treat income, assets,                   received, or certified for receipt, before            recommended against establishing a
                                           resources, or support that is at least 250              October 15, 2019. This is reflective of               strict statutory definition of public
                                           percent of the Federal Poverty                          the fact that under previous Department               charge. Because the circumstances that
                                           Guidelines as a heavily weighted                        guidance in effect since May 1999,                    indicate any given individual’s
                                           positive factor.                                        consular officers considered an                       likelihood of becoming a public charge
                                                                                                   applicant likely to become a public                   vary, the subcommittee instead
                                           b. Alien With Work Authorization Has                    charge if the applicant was likely, at any            recommended that the determination of
                                           Income of at Least 250 Percent of the                   time after admission, to become                       whether an alien is likely to become a
                                           Federal Poverty Guidelines                              primarily dependent on the U.S.                       public charge should rest within the
                                                                                                   Government (which includes Federal,                   discretion of consular officers and the
                                              The Department will consider an                      state, or local governments) for                      Commissioner. See 1950 Omnibus
                                           alien with work authorization and                       subsistence. However, the mere receipt                Report of the Senate Judiciary
                                           income of at least 250 percent of the                   of these benefits does not automatically              Committee, S. Rep. No. 81–1515, at 349
                                           Federal Poverty Guidelines as a heavily                 make an alien ineligible for the visa.                (1950).
                                           weighted positive factor. In addition to                Consular officers will make each                         In setting the standard as receipt of
                                           the reasons provided in the prior                       determination on a case-by-case basis in              public benefits for more than 12 months
                                           paragraph, this level of income suggests                the context of the totality of the                    in the aggregate within any 36-month
                                           that the alien has obtained a level of                  circumstances. The Department will not                period (such that, for instance, receipt of
                                           self-sufficiency and that he or she                     consider as a negative factor any other               two benefits in one month counts as two
                                           would be less likely to become a public                 public assistance received, or certified              months’ worth of benefits) the
                                           charge, barring unforeseen changes in                   for receipt, before October 15, 2019.                 Department recognizes that States have
                                           circumstances. This aligns with the DHS                 2. Public Charge Definition                           developed widely varying approaches to
                                           final rule.                                                                                                   the imposition of time limits for the
                                                                                                      The Department’s interim final rule                receipt of public benefits. On the
                                           c. Alien Has Private Health Insurance                   interprets public charge as the receipt of            Federal level, PRWORA established a
                                                                                                   one or more public benefits, as defined               60-month time limit on the receipt of
                                              Additionally, consular officers will                 in paragraph (b) of § 40.41, for more                 federally funded Temporary Assistance
                                           consider as a heavily weighted positive                 than 12 months in the aggregate within                for Needy Families (TANF) program
                                           factor that an alien is covered by private              any 36-month period. Receipt of two                   benefits. See 42 U.S.C. 608(a)(7) and 45
                                           health insurance (other than health                     benefits in one month counts as                       CFR 264.1. Some states have adopted
                                           insurance obtained with premium tax                     receiving benefits for two months. Prior              shorter lifetime limits on benefit receipt;
                                           credits under the Affordable Care Act)                  Department guidance limited the                       in 2017, fourteen States had lifetime
                                           that can be used in the United States                   interpretation of ‘‘likely to become a                limits of less than 60 months and nine
                                           during the entire period of the alien’s                 public charge’’ to ‘‘likely to become                 states had intermittent time limits. See
                                           anticipated stay in the United States.                  primarily dependent on the U.S.                       Heffernan, Christine, Benjamin
                                           This approach is supported by DHS’s                     Government (which includes Federal,                   Goehring, Ian Hecker, Linda Giannarelli,
                                           analysis of Survey of Income and                        state, or local governments) for                      and Sarah Minton (2018). Welfare Rules
                                           Program Participation data, which                       subsistence’’ (previously meaning                     Databook: State TANF Policies as of July
                                           indicates that the fact that an alien has               receipt of public cash assistance for                 2017, OPRE Report 2018- 109,
                                           health insurance is indicative of the                   income maintenance or                                 Washington, DC: Office of Planning,
                                           alien’s ability to be self-sufficient. See              institutionalization for long-term care at            Research, and Evaluation,
                                           Inadmissibility on Public Charge                        U.S. Government expense). The                         Administration for Children and
                                           Grounds, 84 FR 41292, 41449 (Aug. 14,                   Department believes this new, more                    Families, U.S. Department of Health and
                                           2019). In excluding health insurance                    rigorous implementation of the public                 Human Services https://wrd.urban.org/
                                                                                                   charge visa ineligibility is consistent               wrd/data/databooks/2017%20Welfare
                                           obtained with premium tax credits
                                                                                                   with section 212(a)(4) of the INA, 8                  %20Rules%20Databook%20(final
                                           under the Affordable Care Act from the
jbell on DSK3GLQ082PROD with RULES3




                                                                                                   U.S.C. 1182(a)(4), and congressional                  %2010%2031%2018).pdf (last visited
                                           category of heavily weighted positive                   objectives stated in the Personal                     Sept. 13, 2019).
                                           factors, though not from consideration                  Responsibility and Work Opportunity                      The Department’s position is that an
                                           as a positive factor, the Department                    Act of 1996 (PRWORA), where Congress                  individual who receives public benefits
                                           observes that DHS adopted this                          noted that aliens subject to the public               for more than 12 months, in the
                                           approach in its final rule.                             charge visa ineligibility should ‘‘not                aggregate, during a 36-month period is

                                                                                                                          111
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00012   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 113 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                         55007

                                           neither self-sufficient nor on the road to              benefit’’ that extend significantly                   forms of assistance represent an
                                           achieving self-sufficiency, and may                     beyond the Department’s prior guidance                appropriately comprehensive and also
                                           appropriately be considered a public                    in the public charge context. While                   readily administrable application of the
                                           charge. The Department’s                                PRWORA allows some aliens to receive                  public charge ground of ineligibility.
                                           implementation deems receipt of public                  certain benefits covered under its                    The interim final rule will supersede the
                                           benefits for such a duration as                         expansive definitions, Congress did not               current policy, which allows consular
                                           exceeding what could reasonably be                      exclude the lawful receipt of such                    officers to consider past receipt of any
                                           defined as a nominal level of support                   benefits from consideration for purposes              forms of public assistance, at any time.
                                           that merely supplements an alien’s                      of INA section 212(a)(4), 8 U.S.C.                    The Department observes that DHS
                                           independent ability to meet his or her                  1182(a)(4). Further, the Department’s                 proposed a similar approach in its
                                           basic living needs. This new definition                 definition of ‘‘public benefit’’ is                   NPRM, but, following public comments,
                                           aligns with the new DHS rule.                           consistent with the Congressional goals               opted for the approach reflected in this
                                           3. Public Benefit                                       articulated in PRWORA, specifically
                                                                                                                                                         interim final rule when it finalized its
                                                                                                   that aliens subject to the public charge
                                              In general: As described above, the                                                                        rule. For consistency with the DHS
                                                                                                   visa ineligibility should ‘‘not depend on
                                           Department’s prior guidance interpreted                 public resources to meet their needs, but             standard, as well as for increased
                                           the public charge ground of ineligibility               rather rely on their own capabilities and             transparency and to provide a clear and
                                           to include only public cash assistance                  the resources of their families, their                helpful limitation on the scope of
                                           for income maintenance and                              sponsors, and private organizations.’’                review for consular officers and visa
                                           institutionalization for long-term care at              See 8 U.S.C. 1601(2)(A). The                          applicants, the Department is adopting
                                           U.S. Government expense. Guidance on                    Department chose to include the                       the DHS final rule’s approach.
                                           public cash assistance for income                       specific non-cash benefits covered
                                           maintenance was further clarified to                                                                          a. Exception for Certain Individuals
                                                                                                   under the definition of ‘‘public benefit’’            Enlisted or Serving in the U.S. Armed
                                           include supplemental security income                    because these benefits assist recipients
                                           (SSI); TANF cash assistance, but not                                                                          Forces, Spouse, and Children
                                                                                                   in meeting basic living requirements,
                                           supplemental cash benefits or any non-                  namely food, housing, and medical care.
                                           cash benefits provided under TANF;                                                                               Under the interim final rule, consular
                                                                                                   The receipt of any of the listed benefits             officers will not consider receipt of
                                           and state and local cash assistance                     indicates that the recipient, rather than
                                           programs that provide for income                                                                              public benefits by those enlisted in the
                                                                                                   being self-sufficient, needs the                      U.S. Armed Forces, or serving in active
                                           maintenance (often referenced as ‘‘state
                                                                                                   government’s assistance to meet basic                 duty or in the Ready Reserve component
                                           general assistance’’). This previous
                                                                                                   living requirements.                                  of the U.S. Armed Forces, and their
                                           guidance explicitly excluded other                         Since 1999, the Department, when
                                           benefits including non-cash benefits                                                                          families, when assessing whether such
                                                                                                   applying the public charge ineligibility
                                           such as the SNAP, Medicaid, housing                                                                           individuals are likely to become a
                                                                                                   ground, has considered only whether an
                                           vouchers and other housing subsidies,                   alien is likely to become primarily                   public charge. The United States
                                           and other programs. The Department                      dependent for subsistence on the U.S.                 Government is profoundly grateful for
                                           adopted this interpretation based on an                 Government, which includes Federal,                   the unparalleled sacrifices of the
                                           INS interpretation of the public charge                                                                       members of our armed services and
                                                                                                   state, or local governments, by resorting
                                           inadmissibility, as explained in the INS                                                                      their families. The Department
                                                                                                   to income maintenance and
                                           Notice, Field Guidance on Deportability                                                                       recognizes that some service members,
                                                                                                   institutionalization for long-term care at
                                           and Inadmissibility on Public Charge                                                                          during their service, or their family
                                                                                                   government expense. However, current
                                           Grounds, 64 FR 28689 (May 26, 1999).                                                                          members, qualify for and receive public
                                              The new rule broadens the                            FAM guidance says:
                                                                                                     There are many forms of public assistance
                                                                                                                                                         benefits in addition to the salary and
                                           Department’s interpretation of ‘‘public
                                                                                                   that an applicant may have accepted in the            benefits provided by the U.S.
                                           benefit’’ for purposes of applying the
                                                                                                   past, or that you may reasonably believe an           government. Their sacrifices, including
                                           public charge ground of ineligibility to
                                                                                                   applicant might receive after admission to            risking life and limb, are so vital to the
                                           include public cash assistance for                      the United States, that are of a non-cash and/
                                           income maintenance, SNAP, most forms                                                                          public’s safety and security that the
                                                                                                   or supplemental nature and should not be              Department finds this exception
                                           of Medicaid, Section 8 Housing                          considered to be benefits when examining
                                           Assistance under the Housing Choice                     the applicant under INA 212(a)(4), and may            warranted. The Department understands
                                           Voucher (HCV) Program, Section 8                        only be considered as part of the totality of         that many of the individuals who enlist
                                           Project-Based Rental Assistance, and                    the applicant’s circumstances in determining          in the military are early in their careers,
                                           certain other forms of subsidized                       whether an applicant is likely to become a            and therefore, consistent with statutory
                                                                                                   public charge.                                        pay authorities, earn relatively low
                                           housing.
                                              The Department believes this                            Under the interim final rule, the                  salaries that are supplemented by
                                           interpretation of public benefit is                     Department will only treat receipt of the             certain other allowances and tax
                                           consistent with INA section 212(a)(4), 8                specified forms of public assistance on               advantages provided by the U.S.
                                           U.S.C. 1182(a)(4). The sparse statutory                 or after 12:00 a.m., October 15, 2019 as              government. See Inadmissibility on
                                           language and legislative history allows                 a ‘‘public benefit’’ for the purposes of              Public Charge Grounds, 84 FR 41371;
                                           for a wide range of interpretations,                    applying the public charge ground of                  see also Final Rule, Inadmissibility on
                                           including both the Department’s                         ineligibility, and will only consider cash            Public Charge Grounds; Correction, 84
                                           previous more limited definition of                     assistance for income maintenance and                 FR 52357 (Oct. 10, 2019). This approach
                                           public benefit focused on cash                          programs supporting institutionalization              is consistent with the DHS rule. For
jbell on DSK3GLQ082PROD with RULES3




                                           assistance and this broader definition.                 for long term care in the United States               these reasons, the Department’s interim
                                              The definition of ‘‘public benefit’’ in              that are not included in the new                      final rule excludes consideration of the
                                           this interim final rule is also consistent              definition of ‘‘public benefit’’ that were
                                                                                                                                                         receipt of any public benefits by active
                                           with PRWORA. That statute includes                      received or certified for receipt prior to
                                                                                                                                                         duty service members and their spouses
                                           broad definitions of ‘‘federal public                   October 15, 2019. The Department
                                           benefit’’ and ‘‘state or local public                   believes that consideration of these                  and children.

                                                                                                                          112
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00013   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 114 of 125

                                           55008             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           b. Exception for Aliens Present in the                  criteria. International adoptions vary                   The following categories of children
                                           United States in an Immigration                         depending on the laws of the country of               are lawfully admitted for permanent
                                           Category Exempt from the Public Charge                  origin, the laws of the U.S. State of                 residence for finalization of adoption:
                                           Ground                                                  residence, and multiple other factors. In                • IR–4/IR–9 (Orphan to be adopted by
                                                                                                   the majority of cases, adoptions are                  a U.S. citizen). Generally, the parent(s)
                                              For the purpose of immigration
                                                                                                   finalized in the country of origin before             must complete the adoption in the
                                           benefit adjudication, DHS does not
                                                                                                   the child enters the United States and                United States. However, the child will
                                           consider public benefits received by an
                                                                                                   the child automatically acquires U.S.                 also be admitted as an IR–4 if the
                                           alien during periods in which the alien
                                                                                                   citizenship upon admission to the                     foreign adoption was obtained without
                                           was present in the United States in an
                                                                                                   United States. Children whose                         either parent having seen the child
                                           immigration category that is exempt                                                                           during the adoption proceedings, or
                                           from the public charge ground of                        adoptions are not finalized until after
                                                                                                   their admission or who were subject to                when the parent(s) must establish that
                                           inadmissibility or for which the alien                                                                        they have either ‘‘readopted’’ the child
                                           received a waiver of public charge                      custody orders permitting immigration
                                                                                                   to and adoption in the United States do               or obtained recognition of the foreign
                                           inadmissibility. 8 CFR 212.21(b)(8).                                                                          adoption in the State of residence (this
                                           Likewise, for the purpose of                            not automatically acquire citizenship
                                                                                                   after admission. They may acquire                     requirement can be waived if there is a
                                           adjudicating visa applications, consular                                                                      statute or precedent decision that
                                           officers will not consider public benefits              citizenship, however, upon completing
                                                                                                   an adoption in the United States or                   clearly shows that the foreign adoption
                                           an alien received during any periods in                                                                       is recognized in the State of residence).
                                           which the alien was present in the                      having the foreign adoption recognized
                                                                                                   by the State where they are permanently               See 8 CFR 320.1.
                                           United States in an immigration                                                                                  • IH–4 (Hague Convention Adoptee to
                                           category that is exempt from the public                 residing, after which they would be
                                                                                                   eligible to naturalize. See U.S. Dep’t of             be adopted by a U.S. citizen). These
                                           charge ground of visa ineligibility, or if                                                                    children are lawfully admitted for
                                           the alien was the recipient of a waiver                 State, 2018 Annual Report on
                                                                                                   Intercountry Adoptions, available at                  permanent residence and the parent(s)
                                           of the public charge ground of                                                                                must complete the adoption in the
                                           ineligibility.                                          https://travel.state.gov/content/travel/
                                                                                                   en/Intercountry-Adoption/adopt_ref/                   United States. INA section 101(b)(1), 8
                                           c. Exception for Foreign-Born Children                  adoption-publications.html.                           U.S.C. 1101(b).
                                           of U.S. Citizens                                                                                                 Furthermore, children of U.S.
                                                                                                      The following categories of children               citizens, who are residing outside of the
                                              In some cases, the children of U.S.                  acquire citizenship upon lawful                       United States and are eligible to
                                           citizens will acquire citizenship upon                  admission for permanent residence and                 naturalize under section 322 of the INA,
                                           finalization of their adoption in the                   beginning to reside in the legal and                  8 U.S.C. 1433, must apply for an
                                           United States, under section 320 of the                 physical custody of their U.S. citizen                immigrant or nonimmigrant visa to
                                           INA, 8 U.S.C. 1431, or the children will                parent(s):                                            enter the United States before they
                                           naturalize upon taking the Oath of                         • IR–2/IR–7 (Child of a U.S. citizen)—             naturalize. These children are generally
                                           Allegiance (or having it waived) under                  requires an approval of a Form I–130                  issued a B–2 nonimmigrant visa in order
                                           section 322 of the INA, 8 U.S.C. 1433.                  (Petition for Alien Relative). These                  to complete the process for
                                           In other cases, the children of U.S.                    children, excluding stepchildren who                  naturalization through an interview and
                                           citizens will acquire citizenship upon                  have not been adopted by the U.S.                     take the Oath of Allegiance under
                                           taking up residence in the United States                citizen parent, are generally lawfully                section 322 of the INA, 8 U.S.C. 1433.
                                           in the legal and physical custody of                    admitted for permanent residence or                   Congress has enacted numerous laws
                                           their U.S. citizen parent pursuant to a                 their status is adjusted to that of lawful            over the last two decades to ensure that
                                           lawful admission. The definition of                     permanent resident. The child must                    foreign-born children of U.S. citizens
                                           ‘‘public benefits’’ does not include any                then file a Form N–600 (Application for               are not subject to adverse immigration
                                           benefits that were or will be received by               Certificate of Citizenship) to receive the            consequences in the United States on
                                           aliens described in this paragraph.                     Certificate of Citizenship. The                       account of their foreign birth. Most
                                              Children of U.S. citizens eligible for               Certificate generally uses the date the               notably, the Child Citizenship Act of
                                           automatic acquisition of citizenship                    child was lawfully admitted for                       2000 provides that children, including
                                           under section 320 of the INA, 8 U.S.C.                  permanent residence.                                  adopted children, of U.S. citizen parents
                                           1431, are exempt from the affidavit of                                                                        automatically acquire U.S. citizenship if
                                           support requirement. See Child                             • IR–3/IR–8 (Orphan adopted abroad                 certain conditions are met. See Dep’t of
                                           Citizenship Act, Public Law 106–395,                    by a U.S. citizen)—requires an approval               State, FAQ: Child Citizenship Act of
                                           114 Stat. 1631 (Oct. 30, 2000); 8 CFR                   of the Form I–600 (Petition to Classify               2000, available at https://
                                           213a.2(a)(2)(ii)(E). Therefore, consular                Orphan as an Immediate Relative).                     travel.state.gov/content/travel/en/
                                           officers will not require any affidavit of              These children are generally admitted                 Intercountry-Adoption/adopt_ref/
                                           support forms from sponsors of visa                     for permanent residence, and USCIS                    adoption-FAQs/child-citizenship-act-of-
                                           applicants who will benefit from section                will send a Certificate of Citizenship to             2000.html (last visited July 30, 2019).
                                           320 of the INA, 8 U.S.C. 1431.                          the child without a Form N–600 being                  See also 8 CFR part 320. The same year,
                                              Children of U.S. citizens, including                 filed or adjudicated.                                 Congress passed the Intercountry
                                           those adopted abroad, typically receive                    • IH–3 (Hague Convention orphan                    Adoption Act of 2000 (IAA), 42 U.S.C.
                                           one of several types of immigrant visas                 adopted abroad by a U.S. citizen)—                    14901–14954, to implement the Hague
                                           as listed below and are lawfully                        requires an approval of the Form I–800                Convention on Protection of Children
                                           admitted to the United States for                       (Petition to Classify Convention                      and Co-operation in Respect of
jbell on DSK3GLQ082PROD with RULES3




                                           permanent residence. Such children                      Adoptee as an Immediate Relative).                    Intercountry Adoption, which
                                           may become U.S. citizens (1)                            These children are generally admitted                 established international standards of
                                           automatically, (2) following their                      for permanent residence and USCIS will                practices for intercountry adoptions.
                                           admission to the United States and                      send a Certificate of Citizenship to the              The United States signed the
                                           upon the finalization of their adoption,                child without a Form N–600 being filed                Convention in 1994, and the Convention
                                           or (3) upon meeting other eligibility                   or adjudicated.                                       entered into force for the United States

                                                                                                                          113
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00014   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 115 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                             55009

                                           on April 1, 2008. Deposit of Instrument                 furnished the child if admitted to the                that the availability of public benefits
                                           of Ratification by the United States of                 United States.’’ Federal regulations                  should not constitute an incentive for
                                           the Hague Convention on Protection of                   already require submission of a home                  immigration to the United States. 8
                                           Children and Co-operation in Respect of                 study in cases involving the proposed                 U.S.C. 1601.
                                           Intercountry Adoption, 72 FR 71730                      adoption of children with special needs.                 This provision also aligns with the
                                           (Dec. 18, 2007). The full text of the                   The home studies in those cases must                  DHS final rule. Accordingly, the interim
                                           Convention is available at https://                     assess the adoptive parents’                          final rule excludes receipt of benefits by
                                           www.hcch.net/en/instruments/                            ‘‘preparation, willingness, and ability’’             foreign-born children of United States
                                           conventions/full-text/?cid=69 (last                     to provide proper care for such children.             citizens from its interpretation of
                                           visited July 30, 2019). The IAA protects                8 CFR 204.3(e)(4) and 204.311(p). The                 ‘‘public benefits,’’ as explained in
                                           the rights of children, birth families, and             Department believes that Congress, by                 Section I, above.
                                           adoptive parents, and improves the                      imposing a parental suitability                       4. Alien’s Household
                                           Government’s ability to assist U.S.                     determination that must be satisfied
                                           citizens seeking to adopt children from                 before an immigrant petition may be                      The federal poverty guidelines do not
                                           abroad. IAA section 2, 42 U.S.C.                        approved or a visa may be granted, has                define how to determine household
                                           14901(a). See also Hague Convention on                  frontloaded aspects of the public charge              size, and different agencies and
                                           Intercountry Adoption; Intercountry                     determination for certain adoptive                    programs have different requirements.
                                           Adoption Act of 2000; Accreditation of                  children and conveyed a preference that               See Annual Update of the HHS Poverty
                                           Agencies; Approval of Persons, 71 FR                    concerns directly related to public                   Guidelines, 84 FR 1167 (Feb. 1, 2019).
                                           8064 (Feb. 15, 2006).                                   charge for adoptive families be assessed              Public benefit-granting agencies
                                              Many U.S. citizens seek to adopt                     at early stages of the immigration                    generally consider an applicant’s
                                           children with disabilities or serious                   process, rather than waiting until the                income for purposes of public benefit
                                           medical conditions, and a significant                   time of the visa application at the very              eligibility and either use the household
                                           proportion of children adopted abroad                   end of the process. Additionally,                     size or family size to determine the
                                           by U.S. citizens have special medical                   excluding consideration of the receipt of             income threshold needed to qualify for
                                           needs. U.S. citizens seeking to adopt                   public benefits by such children is                   a public benefit. Each federal program
                                           foreign-born children abroad generally                  consistent with Congress’ strong interest             administrator or State determines the
                                           must undergo a rigorous home study                      in supporting U.S. citizens seeking to                general eligibility requirements needed
                                           that includes a detailed assessment of                  adopt and welcome foreign-born                        to qualify for the public benefits and
                                           finances, emotional, mental, and                        children into their families, as reflected            how to determine whose income is
                                           physical health, and other factors to                   in the IAA section 2, 42 U.S.C. 14901(a).             included for purposes of determining
                                           determine their eligibility and                         See also 146 Cong. Rec. S8938–01,                     income based eligibility thresholds. For
                                           suitability as prospective adoptive                     S8938 (daily ed. Sept. 21, 2000)                      example, SNAP uses the term
                                           parents. See 8 CFR 204.3(e),                            (statement by Sen. Landrieu) (‘‘I have                ‘‘household’’ to include ‘‘individuals
                                           204.311(g)(3). Accordingly, such parents                said it before and I believe it rings true            who live together and customarily
                                           generally will have sufficient financial                here, adoption brings people, whether                 purchase food and prepare meals
                                           resources to provide for the child. See                 they are Republican, Democrat,                        together for home consumption.’’ 7
                                           8 CFR 204.311(h) (financial                             conservative, liberal, American, Russian              U.S.C. 2012(m)(1). The Department did
                                           considerations); see also USCIS, Home                   or Chinese, together. United by the                   not incorporate the SNAP definition
                                           Study Information, available at https://                                                                      because an alien may have significant
                                                                                                   belief that all children deserve to grow
                                           www.uscis.gov/adoption/home-study-                                                                            financial obligations to children who do
                                                                                                   in the love of a permanent family.
                                           information (last visited July 30, 2019).                                                                     not reside in the same residence.
                                              Nevertheless, many U.S. citizens who                 Adoption breaks down barriers and
                                                                                                   helps build families.’’). See also Public             Instead, the standard in the interim final
                                           have adopted or are in the process of                                                                         rule takes into account individuals for
                                           adopting foreign-born children with                     Law 106–139, 113 Stat. 1696 (1999)
                                                                                                   (amending the definition of ‘‘child’’ in              whom the alien or the alien’s parent(s)
                                           special medical needs may seek                                                                                or legal guardian(s) or other individual
                                           Medicaid for their children. See Public                 section 101(b)(1)(E) of the INA, 8 U.S.C.
                                                                                                   1101(b)(1)(E), a change that allowed                  is providing at least 50 percent of
                                           Law 97–248, 96 Stat. 324. Medicaid                                                                            financial support because such
                                           programs vary by State, and may be                      children adopted abroad to maintain
                                                                                                   their familial relationship with their                expenditure would have significant
                                           based on the child’s disability alone                                                                         bearing on whether the alien has
                                           rather than financial means of the                      natural siblings, making it easier for
                                                                                                   siblings to be adopted together).                     sufficient assets, resources, and
                                           parents, or have higher income                                                                                financial status in the context of a
                                           eligibility thresholds. As enrollment in                   Furthermore, because these children                public charge determination.
                                           Medicaid programs by children who are                   are being brought to the United States                   The U.S. Department of Housing and
                                           under 21 years of age will not be                       by their U.S. citizen parents (including              Urban Development (HUD) uses the
                                           considered a ‘‘public benefit’’ for the                 adoptive parents) and will generally                  term ‘‘families,’’ which includes:
                                           purposes of this interim final rule, and                become U.S. citizens upon or after
                                                                                                                                                            [F]amilies with children and, in the cases
                                           because the adoptive parents have been                  admission, and because the adoptive                   of elderly families, near-elderly families, and
                                           found to have sufficient resources to                   families have been found to have the                  disabled families, means families whose
                                           meet the needs of their adoptive child,                 resources to care for them, such an                   heads (or their spouses), or whose sole
                                           these visa applicants will not be                       interpretation is not at odds with                    members, are elderly, near-elderly, or
                                           considered likely to become public                      Congress’ concerns in enacting                        persons with disabilities, respectively. The
                                           charges. Specifically, Congress has                     PRWORA, or as reflected in concurrent                 term includes, in the cases of elderly
jbell on DSK3GLQ082PROD with RULES3




                                           already imposed a requirement on                        immigration legislation restating the                 families, near-elderly families, and disabled
                                                                                                   public charge ground of visa                          families, 2 or more elderly persons, near-
                                           adoptees under INA sections
                                                                                                                                                         elderly persons, or persons with disabilities
                                           101(b)(1)(F) or (G), 8 U.S.C.                           ineligibility noting that aliens should               living together, and 1 or more such persons
                                           1101(b)(1)(F) or (G), that requires their               rely on their own capabilities and the                living with 1 or more persons determined
                                           parents to demonstrate to the                           resources of their families, their                    under the public housing agency plan to be
                                           government that ‘‘proper care will be                   sponsors, and private organizations; and              essential to their care or well-being.

                                                                                                                          114
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 116 of 125

                                           55010             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           42 U.S.C. 1437a(b)(3). The U.S. Housing                 provided by the person filing (over 50                include those individuals the alien may
                                           Act of 1937 (the 1937 Act), 42 U.S.C.                   percent). IRS Publication 501 (Jan 2,                 not have a legal responsibility to
                                           1437 to 1437zz–10, requires that                        2018), available at https://www.irs.gov/              support but may nonetheless be
                                           dwelling units assisted under it must be                pub/irs-pdf/p501.pdf. In general, the                 supporting. For example, this could
                                           rented only to families who are low-                    dependent must also be a U.S. citizen or              include a parent, sibling, or a
                                           income at the time of their initial                     lawful permanent resident in order to                 grandparent living with the alien, or an
                                           occupancy. Section 3 of the 1937 Act                    qualify as a dependent for tax purposes.              adult child, sibling, or any other adult
                                           also defines income, with respect to a                  Id.                                                   who the alien may be supporting or
                                           family, as:                                                The IRS definition of ‘‘dependent’’                required to support or who contributes
                                             [I]ncome received from all sources by each            would generally exclude nonresident                   to the alien’s financial support.
                                           member of the household who is 18 years of              aliens. However § 40.41(d) does not.
                                           age or older or is the head of household or             This will result in a larger number of                5. Receipt of Public Benefits
                                           spouse of the head of the household, plus               people being included than if the
                                           unearned income by or on behalf of each                 Department tracked the IRS’s definition                  The interim final rule clarifies that
                                           dependent who is less than 18 years of age,             of ‘‘dependent’’ in order to more                     receipt of public benefits occurs when a
                                           as determined in accordance with the criteria           accurately capture the alien’s actual                 public benefit-granting agency provides
                                           prescribed by the Secretary [of Housing and
                                                                                                   financial obligations. As used in                     a public benefit, as defined in § 40.41(c),
                                           Urban Development], in consultation with                                                                      to the visa applicant as a beneficiary,
                                           the Secretary of Agriculture [. . .].                   paragraph (d), ‘‘alien’s household’’ also
                                                                                                   considers those individuals who are                   whether in the form of cash, voucher,
                                           42 U.S.C. 1437a(b)(4), as amended by                    supported by the alien and are                        services, or insurance coverage. The
                                           the Housing Opportunity Through                         themselves aliens, or those who may be                Department clarifies that application or
                                           Modernization Act of 2016, Public Law                   contributing to the alien’s income, in                certification for a public benefit does
                                           114–201, section 102, 130 Stat. 782, 787                order to determine whether the alien’s                not constitute receipt of public benefits,
                                           (2016). Beyond the statutory framework                  financial resources are sufficient to                 but it may be considered as a factor
                                           defining families, and as provided by                   support the alien and other members of                suggesting likelihood of future receipt.
                                           the 1937 Act, HUD allows public                         the alien’s household. For example, if                Likewise, certification for future receipt
                                           housing agencies the discretion to                      an alien resides with a younger sibling               of a public benefit does not constitute
                                           determine particularities related to                    who is attending school and the alien                 receipt of public benefits, although it
                                           family composition, as determined                       provides 50 percent or more financial                 may suggest a likelihood of future
                                           under each public housing agency’s                      support for the younger sibling, that                 receipt. An alien’s receipt of,
                                           plan.                                                   sibling is a part of the alien’s household,           application for, or certification for,
                                              ‘‘Alien’s household,’’ under paragraph               even though the younger sibling may be                public benefits solely on behalf of
                                           (e) of the interim final rule,                          earning some wages from a part-time                   another individual does not constitute
                                           encompasses many of the individuals                     job. Those part-time wages would be                   receipt of, application for, or
                                           identified in various HUD definitions of                counted toward the requisite income                   certification for, such alien. This
                                           ‘‘family,’’ including spouses and                       threshold. Similarly, if the alien has an             standard will help consular officers
                                           children as defined under the INA. The                  older sibling who is providing 50                     implement the new ‘‘public charge’’
                                           definition of child in INA section                      percent or more of financial support to               definition at § 40.41(b) as an alien who
                                           101(b), 8 U.S.C. 1101(b), generally                     the alien but not residing with the alien,            receives one or more public benefits, as
                                           includes unmarried persons under 21                     that older sibling would also be                      defined in paragraph (c) of § 40.41, for
                                           years of age who are born in or out of                  included in the alien’s household and                 more than 12 months in the aggregate
                                           wedlock, stepchildren, legitimated                      his/her income counted toward the                     within any 36-month period (such that,
                                           children, adopted children if adopted                   requisite income threshold along with                 for instance, receipt of two benefits in
                                           under the age of 16 or the age of 18 if                 any income earned by the alien.                       one month counts as two months’ worth
                                           natural siblings of another adopted                        As used in § 40.41(d), ‘‘alien’s                   of benefits). It also clarifies that consular
                                           child. In addition, the Department’s                    household’’ adopts the IRS standard of                officers must evaluate whether the alien
                                           interpretation focuses on both                          the amount of support being provided to               is likely to receive one or more public
                                           individuals who the alien anticipates                   the individual (50 percent) as the                    benefits, the impact of certification for
                                           will live in the alien’s home or                        standard for deeming an individual part               future receipt of public benefits, and
                                           physically reside with the alien in the                 of the household in the public charge                 that the relevant consideration is the
                                           United States, as well as individuals not               determination. See Internal Revenue                   alien’s receipt of public benefits, not
                                           living in the alien’s home but for whom                 Serv., Dependency Exemptions,                         application or certification solely on
                                           the alien and/or the alien’s parent(s)/                 available at https://apps.irs.gov/app/                behalf of another person.
                                           legal guardian(s) is providing or is                    vita/content/globalmedia/4491_
                                           required to provide at least 50 percent                 dependency_exemptions.pdf (last                       6. Deletion of Posting of Bond
                                           of financial support, whether in the                    visited Jul. 30, 2019); see also Internal
                                           United States or abroad.                                Revenue Serv., Table 2: Dependency                       The Department removed the
                                              The IRS defines ‘‘dependent’’ to                     Exemption for Qualifying Relative,                    provision in former 22 CFR 40.41(d),
                                           include a qualifying child or a                         available at https://apps.irs.gov/app/                which said that a consular officer may
                                           qualifying relative. See 26 U.S.C. 152;                 vita/content/globalmedia/table_2_                     issue a visa to an alien who is within
                                           see also IRS Publication 501 (Jan 2,                    dependency_exemption_relative_                        the purview of INA 212(a)(4), 8 U.S.C.
                                           2018), available at https://www.irs.gov/                4012.pdf (last visited Jul. 30, 2019). The            1182(a)(4), upon receipt of notice from
                                           pub/irs-pdf/p501.pdf. These tests                       Department believes that the ‘‘at least 50            DHS of the giving of a bond, and
jbell on DSK3GLQ082PROD with RULES3




                                           generally include some type of                          percent of financial support’’ standard               provided the consular officer is satisfied
                                           relationship to the person filing                       used by the IRS is reasonable to apply                that the giving of such bond removes the
                                           (including step and foster children and                 to the determination of who is a member               likelihood that the alien will become a
                                           their children) whether or not the                      of an alien’s household, without regard               public charge. The Department is
                                           dependent is living with the person                     to whether these individuals physically               removing this provision because it
                                           filing and the amount of support being                  reside in the alien’s home. This would                reflects an obsolete process.

                                                                                                                          115
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 117 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                               55011

                                           7. Deletion of Use of the Federal Poverty                  Notice and comment on this rule,                   this is not a major rule as defined by 5
                                           Line Where INA 213A Not Applicable                      along with a 30-day delay in its effective            U.S.C. 804.
                                              The Department removed the                           date, would be impracticable and
                                                                                                                                                         Executive Orders 12866, 13563, and
                                           discussion in former 22 CFR 40.41(f),                   contrary to the public interest. On
                                                                                                                                                         13771
                                           which stated that an immigrant visa                     August 14, 2019, DHS published a final
                                                                                                   rule on inadmissibility on public charge                The new public charge standards will
                                           applicant, not subject to the
                                                                                                   grounds of inadmissibility. 84 FR 41292.              impose additional costs on many
                                           requirements of INA 213A, 8 U.S.C.
                                                                                                   That rule, which will be effective                    individuals, by requiring applicants to
                                           1183a, and relying solely on personal
                                                                                                   October 15, 2019, changes how DHS                     provide detailed information about their
                                           income to establish eligibility under
                                                                                                   interprets the public charge ground of                age, health, family status, finances, and
                                           INA 212(a)(4), 8 U.S.C. 1182(a)(4), who
                                                                                                   inadmissibility, section 212(a)(4) of the             education and skills. These costs are
                                           does not demonstrate an annual income
                                                                                                   INA, 8 U.S.C. 1182(a)(4). Coordination                analyzed in the notice required under
                                           above the Federal poverty line, as
                                                                                                   of Department and DHS implementation                  the Paperwork Reduction Act of a new
                                           defined in INA 213A(h), 8 U.S.C.
                                                                                                   of the public charge inadmissibility                  form, the DS–5540, Public Charge
                                           1183a(h), and who is without other
                                                                                                   ground is critical to the Department’s                Questionnaire, which certain categories
                                           adequate financial resources, shall be
                                                                                                   interest in preventing inconsistent                   of applicants will be required to
                                           presumed ineligible under INA
                                                                                                   adjudication standards and different                  complete to help inform the consular
                                           212(a)(4), 8 U.S.C. 1182(a)(4). The new
                                                                                                   outcomes between determinations of                    officer’s public charge assessment. The
                                           language in sections (a) through (g)
                                                                                                   visa eligibility and determinations of                Department is separately seeking OMB
                                           provide the framework consular officers
                                                                                                   admissibility at a port of entry. If                  approval of a new information
                                           will use to assess the public charge visa
                                                                                                   implementation of the rule is delayed                 collection (form) for this purpose. The
                                           ineligibility, including for immigrant
                                                                                                   pending completion of notice and                      Department estimates 12,736,034 visa
                                           visa applicants who are subject to the
                                                                                                   comment, consular officers would apply                applicants per year will be affected by
                                           public charge ground of ineligibility, but
                                                                                                   public charge-related ineligibility                   this interim final rule based on the
                                           not the Affidavit of Support
                                                                                                   standards differing from those applied                average number of visa applicants
                                           requirement. Instead of retaining a                                                                           subject to the public charge ineligibility
                                           second framework for one subset of                      by DHS and, consequently, might issue
                                                                                                   visas to applicants who would later                   ground for the years 2017 and 2018.
                                           individuals subject to the public charge                                                                      Specifically, in 2017, 624,317 immigrant
                                           ground, the Department will apply this                  arrive at a port of entry and be found
                                                                                                                                                         visa applications were subject to the
                                           standard uniformly.                                     inadmissible by U.S. Customs and
                                                                                                                                                         public charge ineligibility ground. The
                                                                                                   Border Protection under the new DHS
                                           8. Deletion of Joint Sponsor                                                                                  number was 630,340 in 2018. In 2017,
                                                                                                   public charge standards, based on the
                                              The Department removed the                                                                                 12,356,864 nonimmigrant visa
                                                                                                   same information that was presented to
                                           discussion in former 22 CFR 40.41(g),                                                                         applications were in categories subject
                                                                                                   the adjudicating consular officer. This
                                           which stated that submission of one or                                                                        to the public charge ineligibility, and
                                                                                                   inconsistency between the two agencies’
                                           more additional affidavits of support by                                                                      11,860,545 in 2018. While the
                                                                                                   adjudications would create a public
                                           a joint sponsor is required if the relative                                                                   Department estimates 12,736,034 visa
                                                                                                   harm and would significantly disrupt
                                                                                                                                                         applicants will be affected by this
                                           sponsor’s income and assets and the                     the Department’s interest in issuing
                                                                                                                                                         interim final rule per year, the
                                           immigrant’s assets do not meet the                      visas only to individuals who appear to               Department estimates that only 450,000
                                           Federal poverty requirements. This                      qualify for admission to the United                   applicants per year will be asked to
                                           language has been deleted as it merely                  States. The Department has determined                 submit this information; given that the
                                           restates statutory requirements of INA                  that the need to minimize the                         majority of nonimmigrant visa
                                           213A, 8 U.S.C. 1183a, and as such is not                occurrence of situations in which visa                applicants would not overcome 214(b) if
                                           necessary in the 22 CFR 40.41.                          holders arrive at a port of entry and are             they were also deemed likely to be a
                                           Regulatory Findings                                     found inadmissible under the new DHS                  public charge and thus would be
                                                                                                   public charge standards supports a                    refused as such. The average burden per
                                           Administrative Procedure Act                            finding of good cause under 5 U.S.C.                  response is estimated to be 60 minutes.
                                              The Department has concluded that                    553.                                                  The Department estimates that the
                                           the good cause exceptions in 5 U.S.C.                   Regulatory Flexibility Act/Executive                  annual hour burden to visa applicants
                                           553(b)(B) and (d)(3) apply to this rule,                Order 13272: Small Business                           posed by the additional questions is
                                           as the delay associated with notice and                                                                       450,000 hours (450,000 applicants × 60
                                           comment rulemaking would be                               Because this interim final rule is                  minutes). The weighted wage hour cost
                                           impracticable, unnecessary, or contrary                 exempt from notice-and-comment                        burden for this collection is $15,737,400
                                           to the public interest. 5 U.S.C.                        rulemaking under 5 U.S.C. 553, it is                  based on the calculation of $24.98 1
                                           553(b)(3)(B); 5 U.S.C. 553(d)(3). Those                 exempt from the Regulatory Flexibility                (average hourly wage) × 1.4 (weighted
                                           exceptions relieve agencies of the                      Act (5 U.S.C. 601 et seq.). Nonetheless,              wage multiplier) × 450,000 hours.
                                           notice-and-comment requirement in                       consistent with the Regulatory                          The Department believes the benefits
                                           emergency situations, or in                             Flexibility Act, the Department certifies             of rigorously applying the public charge
                                           circumstances where ‘‘the delay created                 that this rule will not have a significant            ineligibility ground, informed by
                                           by the notice and comment                               economic impact on a substantial                      relevant information that can only be
                                           requirements would result in serious                    number of small entities because this                 provided by applicants, outweighs the
                                           damage to important interests.’’ Woods                  rule only regulates individual visa                   costs associated with the new rule. Visa
                                           Psychiatric Inst. v. United States, 20 Cl.              applicants and does not regulate any                  applicants and their representatives will
jbell on DSK3GLQ082PROD with RULES3




                                           Ct. 324, 333 (1990), aff’d, 925 F.2d 1454               small entities or businesses.                         already need to adjust to the new DHS
                                           (Fed. Cir. 1991); see also United States                Small Business Regulatory Enforcement
                                           v. Dean, 604 F.3d 1275, 1279 (11th Cir.                 Fairness Act of 1996
                                                                                                                                                           1 Source: Data from the U.S. Bureau of Labor

                                           2010); Nat’l Fed’n of Federal Emps. v.                                                                        Statistics’ May 2018 National Occupational
                                                                                                                                                         Employment and Wage Estimates for all
                                           Nat’l Treasury Emps. Union, 671 F.2d                      The Office of Information and                       occupations (http://www.bls.gov/oes). Retrieved
                                           607, 611 (D.C. Cir. 1982).                              Regulatory Affairs has determined that                September 10, 2019.


                                                                                                                          116
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 118 of 125

                                           55012             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           public charge inadmissibility standard,                 provisions of the Paperwork Reduction                    (1) The alien’s age. Consular officers
                                           so the information requested for the                    Act, 44 U.S.C. Chapter 35. The                        will consider whether the alien’s age
                                           purpose of enforcing the Department’s                   Department is separately seeking OMB                  makes the alien more likely than not to
                                           new rule substantially overlaps with the                approval of a new form, which certain                 become a public charge in the totality of
                                           information requested by DHS when the                   applicants will be required to complete               the circumstances, such as by impacting
                                           applicant applies for admission or other                to assist with the consular officer’s                 the alien’s ability to work. Consular
                                           immigration-related benefits in the                     public charge assessment.                             officers will consider an alien’s age
                                           United States. Most importantly, this                                                                         between 18 and early retirement age as
                                                                                                   List of Subjects in 22 CFR Part 40                    defined in 42 U.S.C. 416(l)(2) as a
                                           interpretation seeks to mitigate against
                                           the possibility that consular officers                    Administrative practice and                         positive factor. Age is a negative factor
                                           would issue a visa to an individual who                 procedure, foreign relations, passports               for aliens who are under the age of 18.
                                           DHS would find inadmissible and deny                    and visas, aliens.                                    However, consular officers may
                                           U.S. entry, based on the same facts. This                 For the reasons stated in the                       consider other factors, such as the
                                           benefits applicants by preventing the                   preamble, the Department amends 22                    support provided to a minor child by a
                                           investment of time and expenditure of                   CFR part 40 as follows:                               parent, legal guardian, or other source,
                                           personal funds on travel to the United                                                                        that in the totality of the circumstances
                                           States in the event that DHS ultimately                 PART 40—REGULATIONS                                   may offset the alien’s age as a negative
                                           finds them inadmissible.                                PERTAINING TO BOTH                                    factor. An alien’s age above early
                                              This rule is an E.O. 13771 regulatory                NONIMMIGRANTS AND IMMIGRANTS                          retirement age is a negative factor in the
                                           action.                                                 UNDER THE IMMIGRATION AND                             totality of the circumstances, if the
                                                                                                   NATIONALITY ACT, AS AMENDED                           consular officer believes it adversely
                                           Executive Orders 12372 and 13132:                                                                             affects the alien’s ability to obtain or
                                           Federalism                                              ■ 1. The authority citation for part 40 is            perform work, or may increase the
                                             This regulation will not have                         revised to read as follows:                           potential for healthcare related costs
                                           substantial direct effects on the States,                 Authority: 8 U.S.C. 1104, 1182, 1183a,              that would be borne by the public.
                                           on the relationship between the national                1641                                                     (2) The alien’s health. Consular
                                           government and the States, or the                                                                             officers will consider whether the
                                           distribution of power and                               ■ 2. Section 40.41 is revised to read as              alien’s health is a positive or negative
                                           responsibilities among the various                      follows:                                              factor in the totality of the
                                           levels of government. The Department                    § 40.41    Public charge.                             circumstances, including whether the
                                           does not expect that this interim final                                                                       alien, has been diagnosed with a
                                                                                                      (a) Basis for determination of                     medical condition that is likely to
                                           rule will impose substantial direct
                                                                                                   ineligibility. Any determination that an              require extensive medical care or
                                           compliance costs on State and local
                                                                                                   alien is ineligible under INA 212(a)(4)               institutionalization, or that will interfere
                                           governments, or preempt State law. The
                                                                                                   must be predicated upon circumstances                 with the alien’s ability to provide and
                                           rule will not have federalism
                                                                                                   indicating that, taking into account any              care for himself or herself, to attend
                                           implications warranting the application
                                                                                                   Affidavit of Support under section 213A               school, or to work, if authorized.
                                           of Executive Orders 12372 and 13132.
                                                                                                   of the INA that may have been filed on                Consular officers will consider the
                                           Executive Order 12988: Civil Justice                    the alien’s behalf, the alien is likely at            report of a medical examination
                                           Reform                                                  any time to become a public charge after              performed by the panel physician where
                                              The Department has reviewed the                      admission, or, if applicable, that the                such examination is required, including
                                           regulation in light of sections 3(a) and                alien has failed to submit a sufficient               any medical conditions noted by the
                                           3(b)(2) of Executive Order 12988 to                     Affidavit of Support Under Section                    panel physician. An individual with a
                                           eliminate ambiguity, minimize                           213A of the INA as set forth in either                Class B medical condition, including
                                           litigation, establish clear legal                       INA 212(a)(4)(C) or 212(a)(4)(D).                     Class B forms of communicable diseases
                                           standards, and reduce burden.                           Consular officers will consider whether               of public health significance, as defined
                                                                                                   any identified third party is willing and             in 42 CFR part 34, is not alone a
                                           Executive Order 13175—Consultation                      able to financially support the alien                 determinative factor for public charge
                                           and Coordination With Indian Tribal                     while the alien is in the United States.              purposes. The medical condition will be
                                           Governments                                             When considering the likelihood of an                 taken into consideration with all factors
                                             The Department has determined that                    alien becoming a public charge at any                 under the totality of circumstances. In
                                           this rulemaking will not have a                         time through receipt of public benefits,              assessing the effect of the alien’s health
                                           substantial direct effect on one or more                as defined in paragraph (c) of this                   on a public charge ineligibility
                                           Indian tribes, will not impose                          section, consular officers will use a                 determination, the consular officer will
                                           substantial direct compliance costs on                  more likely than not standard and take                consider evidence of health insurance or
                                           Indian tribal governments, on the                       into account the totality of the alien’s              the ability to pay for reasonably
                                           relationship between the Federal                        circumstances at the time of visa                     foreseeable medical expenses in the
                                           Government and Indian tribes, or on the                 application, including at a minimum:                  United States a positive factor in the
                                           distribution of power and                               The alien’s age; health; family status;               totality of the circumstances.
                                           responsibilities between the Federal                    assets, resources, and financial status;                 (3) The alien’s family status. When
                                           Government and Indian tribes, and will                  and education and skills. No one                      considering an alien’s family status,
                                           not pre-empt tribal law. Accordingly,                   enumerated factor alone, apart from the               consular officers will consider the size
                                           the requirements of Section 5 of                        lack of a sufficient Affidavit of Support             of the alien’s household, as defined in
jbell on DSK3GLQ082PROD with RULES3




                                           Executive Order 13175 do not apply to                   under section 213A of the Act where                   paragraph (e) of this section, and
                                           this rulemaking.                                        required, will make the alien more                    whether the alien’s household size is a
                                                                                                   likely than not to become a public                    positive or negative factor in the totality
                                           Paperwork Reduction Act                                 charge. For immigration classifications               of the circumstances.
                                             This rule imposes a new information                   exempt from the public charge ground                     (4) The alien’s assets, resources, and
                                           collection requirements under the                       of ineligibility, see 8 CFR 212.23(a).                financial status—(i) In general. Consular

                                                                                                                          117
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 119 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                         55013

                                           officers will consider, among other                        (F) Whether the alien has received an              Section 213A of the INA on a form that
                                           relevant factors, the following aspects of              immigration benefit fee waiver from                   complies with terms and conditions
                                           an alien’s assets, resources, and                       DHS on or after October 15, 2019, unless              established by the Secretary of
                                           financial status:                                       the fee waiver was applied for or                     Homeland Security. A properly filed,
                                              (A) If the alien’s annual gross income               granted as part of an application for                 non-fraudulent, sufficient Affidavit of
                                           for the alien’s household size is at least              which a public charge inadmissibility                 Support Under Section 213A of the INA,
                                           125 percent of the most recent Federal                  under section 212(a)(4) of the Act was                in those cases where it is required, is a
                                           Poverty Guidelines based on the alien’s                 not required; and                                     positive factor in the totality of the
                                           household size (or 100 percent for an                      (G) Whether the alien has private                  circumstances if the sponsor is likely to
                                           alien on active duty, other than training,              health insurance or other financial                   actually provide the alien with the
                                           in the Armed Forces), consular officers                 resources sufficient to cover reasonably              statutorily-required amount of financial
                                           will consider the alien’s income a                      foreseeable costs related to a medical                support and other related
                                           positive factor;                                        condition in the United States.                       considerations.
                                              (B) If the alien’s annual household                     (iii) Income from illegal activities or               (8) Heavily weighted factors. The
                                           gross income is less than 125 percent of                sources. Consular officers may not                    factors below will weigh heavily in an
                                           the most recent Federal Poverty                         consider any income from illegal                      ineligibility determination based on
                                           Guidelines (100 percent for those on                    activities or sources, such as proceeds               public charge.
                                           active duty, other than training, in the                from illegal gambling or drug sales, or                  (i) Heavily weighted negative factors.
                                           Armed Forces) based on the alien’s                      income from any public benefit listed in              The following factors will weigh heavily
                                           household size, consular officers will                  paragraph (c) of this section.                        in favor of a finding that an alien is
                                                                                                      (5) The alien’s education and skills.              likely at any time in the future to
                                           consider a total value of the household
                                                                                                   When considering an alien’s education                 become a public charge:
                                           assets and resources that is at least five
                                                                                                   and skills, consular officers will                       (A) The alien is not a full-time student
                                           times the difference between the alien’s
                                                                                                   consider both positive and negative                   and is authorized to work in his or her
                                           household gross income and 125
                                                                                                   factors associated with whether the                   country of residence or the United
                                           percent of the Federal Poverty
                                                                                                   alien has adequate education and skills               States, as appropriate, but is unable to
                                           Guidelines for the alien’s household
                                                                                                   to either obtain or maintain lawful                   satisfy the consular officer that he or she
                                           size as a positive factor. However, if the
                                                                                                   employment with an income sufficient                  is currently employed, has recent
                                           alien is the spouse or child of a U.S.                  to avoid being likely to become a public
                                           citizen, assets totaling three times the                                                                      employment history, or a reasonable
                                                                                                   charge. In assessing whether the alien’s              prospect of future employment;
                                           difference between the alien’s                          level of education and skills makes the                  (B) The alien has received or has been
                                           household gross income and 125                          alien likely to become a public charge,               certified or approved to receive one or
                                           percent of the Federal Poverty                          the consular officer must consider,                   more public benefits, as defined in
                                           Guidelines (100 percent for those on                    among other factors, the alien’s history              paragraph (c) of this section, for more
                                           active duty, other than training, in the                of employment, educational level (high                than 12 months in the aggregate within
                                           Armed Forces) for the alien’s household                 school diploma, or its equivalent, or                 any 36-month period (such that, for
                                           size is a positive factor. If the alien is              higher educational degree), any                       instance, receipt of two benefits in one
                                           a child who will be adopted in the                      occupational skills, certifications or                month counts as two months’ worth of
                                           United States and who will likely                       licenses, and English language                        benefits), beginning no earlier than
                                           receive citizenship under section 320 of                proficiency or proficiency in languages               October 15, 2019, or for more than 12
                                           the INA, then assets equivalent to or                   in addition to English. Consular officers             months in the aggregate within the 36
                                           greater than the difference between the                 will take into positive consideration an              month period prior to the adjudication
                                           alien’s household gross income and 125                  alien who is a primary caregiver 18                   of the alien’s visa application,
                                           percent the Federal Poverty Guidelines                  years of age or older who has significant             whichever is later.
                                           (100 percent for those on active duty,                  responsibility for actively caring for and               (C)(1) The alien has been diagnosed
                                           other than training, in the Armed                       managing the well-being of a minor,                   with a medical condition that is likely
                                           Forces) for the alien’s household size is               elderly, ill, or disabled person residing             to require extensive medical treatment
                                           a positive factor.                                      in the alien’s household, such that the               or institutionalization or that will
                                              (ii) Factors to consider. When                       alien lacks an employment history or                  interfere with the alien’s ability to
                                           considering an alien’s assets, resources,               current employment, or is not employed                provide for himself or herself, attend
                                           and financial status, consular officers                 full time. Only one alien within a                    school, or work; and
                                           must consider assets, resources, and                    household can be considered a primary                    (2) The alien has no health insurance
                                           financial status including:                             caregiver of the same individual within               for use in the United States and has
                                              (A) The alien’s household annual                     the household.                                        neither the prospect of obtaining private
                                           gross income;                                              (6) Prospective visa classification.               health insurance for use in the United
                                              (B) The alien’s cash assets and                      When considering the likelihood at any                States, nor the financial resources to pay
                                           resources;                                              time of an alien becoming a public                    for reasonably foreseeable medical costs
                                              (C) Non-cash assets and resources that               charge, consular officers will consider               related to such medical condition;
                                           can be converted into cash within                       the visa classification sought.                          (D) The alien was previously found
                                           twelve months of the visa application;                     (7) Affidavit of Support Under Section             inadmissible or deportable on public
                                              (D) The alien’s financial liabilities;               213A of the Act. Any alien seeking an                 charge grounds by an Immigration Judge
                                              (E) Whether the alien has applied for,               immigrant visa under INA 201(b)(2),                   or the Board of Immigration Appeals.
                                           been certified to receive, been approved                203(a), or 203(b), based upon a petition                 (ii) Heavily weighted positive factors.
jbell on DSK3GLQ082PROD with RULES3




                                           to receive, or received one or more                     filed by a relative of the alien (or in the           The following factors will weigh heavily
                                           public benefits, as defined in paragraph                case of a petition filed under INA 203(b)             in favor of a finding that an alien is not
                                           (c) of this section on or after October 15,             by an entity in which a relative has a                likely at any time to become a public
                                           2019, or whether the alien has                          significant ownership interest), shall be             charge:
                                           disenrolled or requested to be                          required to present to the consular                      (A) The alien’s household has income,
                                           disenrolled from such public benefits.                  officer an Affidavit of Support Under                 assets, resources, or support of at least

                                                                                                                          118
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 120 of 125

                                           55014             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations

                                           250 percent of the Federal Poverty                         (ii) Supplemental Nutrition                        benefit does not include health services
                                           Guidelines for the alien’s household                    Assistance Program (SNAP), 7 U.S.C.                   for immunizations and for testing and
                                           size. Consular officers may not consider                2011 et seq.;                                         treatment of communicable diseases,
                                           any income from illegal activities, e.g.,                  (iii) Housing Choice Voucher                       including communicable diseases of
                                           proceeds from illegal gambling or drug                  Program, as authorized under section                  public health significance as defined in
                                           sales, or any income derived from any                   8(o) of the United States Housing Act of              42 CFR part 34.
                                           public benefit as defined in paragraph                  1937 (42 U.S.C. 1437f);                                  (4) Public benefit, as defined in this
                                           (c) of this section;                                       (iv) Project-Based Rental Assistance               section, does not include any form of
                                              (B) The alien is authorized to work                  (including Moderate Rehabilitation)                   assistance listed in paragraphs (c)(1)(i)
                                           and is currently employed with an                       authorized under section 8 of the United              through (vi) of this section that were or
                                           annual income of at least 250 percent of                States Housing Act of 1937 (42 U.S.C.                 will be received by:
                                           the Federal Poverty Guidelines for the                  1437f);                                                  (i) Children of U.S. citizens whose
                                           alien’s household size. Consular officers                  (v) Medicaid under 42 U.S.C. 1396 et               lawful admission as permanent
                                           may not consider any income from                        seq., except for:                                     residents and subsequent residence in
                                           illegal activities, e.g., proceeds from                    (A) Benefits received for an                       the legal and physical custody of their
                                           illegal gambling or drug sales;                         emergency medical condition as                        U.S. citizen parent will result
                                              (C) The alien has private health                     described in section 1903(v)(2)–(3) of                automatically in the child’s acquisition
                                           insurance (other than health insurance                  Title XIX of the Social Security Act, 42              of citizenship;
                                           obtained with premium tax credits                       U.S.C. 1396b(v)(2)–(3), 42 CFR                           (ii) Children of U.S. citizens whose
                                           under the Affordable Care Act) for use                  440.255(c);                                           lawful admission as permanent
                                           in the United States covering the                          (B) Services or benefits funded by                 residents will result automatically in the
                                           expected period of admission.                           Medicaid but provided under the                       child’s acquisition of citizenship upon
                                              (9) Treatment of benefits received                   Individuals with Disabilities Education               finalization of adoption; or
                                           before October 15, 2019. When                           Act (IDEA) 20 U.S.C. 1400 et seq.;                       (iii) Children of U.S. citizens who are
                                           considering whether an alien is more                       (C) School-based services or benefits              entering the United States for the
                                           likely than not to become a public                      provided to individuals who are at or                 purpose of attending an interview under
                                           charge under this section, consular                     below the oldest age eligible for                     INA 322 in accordance with 8 CFR part
                                           officers will consider, as a negative                   secondary education as determined                     322.
                                           factor, but not as a heavily weighted                   under State or local law; and                            (d) Alien’s household. For purposes of
                                           negative factor as described in                            (D) Benefits received by an alien                  public charge ineligibility
                                           paragraph (a)(8) of this section, any                   under 21 years of age, or a woman                     determinations under INA 212(a)(4):
                                           amount of cash assistance for income                    during pregnancy (and during the 60-                     (1) If the alien is 21 years of age or
                                           maintenance, including Supplemental                     day period beginning on the last day of               older, or under the age of 21 and
                                           Security Income (SSI), Temporary                        the pregnancy).                                       married, the alien’s household includes:
                                           Assistance for Needy Families (TANF),                      (vi) Public Housing under section 9 of                (i) The alien;
                                           State and local cash assistance programs                the U.S. Housing Act of 1937 (42 U.S.C.                  (ii) The alien’s spouse, if physically
                                           that provide benefits for income                        1437g).                                               residing or intending to physically
                                           maintenance (often called ‘‘General                        (2) Public benefit, as defined in this             reside with the alien in the United
                                           Assistance’’ programs), and programs                    section, does not include any form of                 States;
                                           (including Medicaid) supporting aliens                  assistance listed in paragraphs (c)(1)(i)                (iii) The alien’s children, as defined in
                                           who are institutionalized for long-term                 through (vi) of this section received by              INA 101(b)(1), if physically residing or
                                           care, received, or certified for receipt,               an alien who at the time of receipt of the            intending to physically reside with the
                                           before October 15, 2019.                                public benefit, or at the time of visa                alien in the United States;
                                              (b) Public charge. Public charge                     application or visa adjudication, is or                  (iv) The alien’s other children, as
                                           means, for the purpose of INA                           was:                                                  defined in INA 101(b)(1), not physically
                                           212(a)(4)(A) and (B), an alien who                         (i) Enlisted in the U.S. Armed Forces              residing or not intending to physically
                                           receives one or more public benefits, as                under the authority of 10 U.S.C.                      reside with the alien for whom the alien
                                           defined in paragraph (c) of this section,               504(b)(1)(B) or 10 U.S.C. 504(b)(2), or               provides or is required to provide at
                                           for more than 12 months in the                             (ii) Serving in active duty or in the              least 50 percent of financial support, as
                                           aggregate within any 36-month period                    Ready Reserve component of the U.S.                   evidenced by a child support order or
                                           (such that, for instance, receipt of two                Armed Forces, or                                      agreement, a custody order or
                                           benefits in one month counts as two                        (iii) Is the spouse or child as defined            agreement, or any other order or
                                           months’ worth of benefits).                             in INA101(b), of an individual described              agreement specifying the amount of
                                              (c) Public benefit. (1) Public benefit               in paragraph (c)(2)(i) or (ii) of this                financial support to be provided by the
                                           means any of the following forms of                     section, or of a citizen of the United                alien;
                                           assistance received on or after October                 States described in paragraph (c)(2)(i) or               (v) Any other individuals (including a
                                           15, 2019:                                               (ii).                                                 spouse not physically residing or
                                              (i) Any Federal, State, local, or tribal                (3) Public benefit, as defined in this             intending to physically reside with the
                                           cash assistance for income maintenance                  section, does not include any form of                 alien) to whom the alien provides, or is
                                           (other than tax credits), including:                    assistance listed in paragraphs (c)(1)(i)             required to provide, at least 50 percent
                                              (A) Supplemental Security Income                     through (vi) of this section received by              of the individual’s financial support or
                                           (SSI), 42 U.S.C. 1381 et seq.;                          an alien during periods in which the                  who are listed as dependents on the
                                              (B) Temporary Assistance for Needy                   alien was present in the United States                alien’s United States federal income tax
jbell on DSK3GLQ082PROD with RULES3




                                           Families (TANF), 42 U.S.C. 601 et seq.;                 in an immigration category that is                    return; and
                                              (C) Federal, State or local cash benefit             exempt from the public charge ground                     (vi) Any individual who provides to
                                           programs for income maintenance (often                  of inadmissibility, as set forth in 8 CFR             the alien at least 50 percent of the
                                           called ‘‘General Assistance’’ in the State              212.23(a), or for which the alien                     alien’s financial support, or who lists
                                           context, but which also exist under                     received a waiver of public charge                    the alien as a dependent on his or her
                                           other names); and                                       inadmissibility from DHS. Public                      federal income tax return.

                                                                                                                          119
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\11OCR3.SGM   11OCR3
                                                              Case 3:19-cv-01743-SI                       Document 91                Filed 11/21/19           Page 121 of 125

                                                             Federal Register / Vol. 84, No. 198 / Friday, October 11, 2019 / Rules and Regulations                                             55015

                                              (2) If the alien is a child as defined in            INA 101(b)(1), physically residing or                 coverage. Application or certification for
                                           INA 101(b)(1), the alien’s household                    intending to physically reside with the               a public benefit does not constitute
                                           includes the following individuals:                     alien in the United States;                           receipt of public benefit, but it may be
                                              (i) The alien;                                          (vi) The alien’s parents’ or legal                 considered as a factor suggesting
                                              (ii) The alien’s children as defined in              guardians’ other children as defined in               likelihood of future receipt. An alien’s
                                           INA 101(b)(1), physically residing or                   INA 101(b)(1), not physically residing or             receipt of, application for, or
                                           intending to physically reside with the                 intending to physically reside with the               certification for public benefit solely on
                                           alien in the United States;                             alien for whom the parent or legal                    behalf of another individual does not
                                              (iii) The alien’s other children as                  guardian provides or is required to                   constitute receipt of, application for, or
                                           defined in INA 101(b)(1) not physically                 provide at least 50 percent of the other              certification for such alien.
                                           residing or intending to physically                     children’s financial support, as
                                           reside with the alien for whom the alien                                                                         (f) Prearranged employment. An
                                                                                                   evidenced by a child support order or                 immigrant visa applicant relying on an
                                           provides or is required to provide at                   agreement, a custody order or
                                           least 50 percent of the children’s                                                                            offer of prearranged employment to
                                                                                                   agreement, or any other order or                      establish eligibility under INA 212(a)(4),
                                           financial support, as evidenced by a
                                                                                                   agreement specifying the amount of                    other than an offer of employment
                                           child support order or agreement, a
                                                                                                   financial support to be provided by the               certified by the Department of Labor
                                           custody order or agreement, or any other
                                                                                                   parents or legal guardians; and                       pursuant to INA 212(a)(5)(A), must
                                           order or agreement specifying the
                                           amount of financial support to be                          (vii) Any other individual to whom                 provide written confirmation of the
                                           provided by the alien;                                  the alien’s parents or legal guardians                relevant information sworn and
                                              (iv) The alien’s parents, legal                      provide, or are required to provide at                subscribed to before a notary public by
                                           guardians, or any other individual                      least 50 percent of each individual’s                 the employer or an authorized employee
                                           providing or required to provide at least               financial support, or who is listed as a              or agent of the employer. The signer’s
                                           50 percent of the alien’s financial                     dependent on the parent’s or legal                    printed name and position or other
                                           support to the alien as evidenced by a                  guardian’s federal income tax return.                 relationship with the employer must
                                           child support order or agreement, a                        (e) Receipt of public benefit. Receipt             accompany the signature.
                                           custody order or agreement, or any other                of public benefit occurs when a public
                                                                                                   benefit-granting agency provides a                    Carl C. Risch,
                                           order or agreement specifying the
                                           amount of financial support to be                       public benefit, as defined in paragraph               Assistant Secretary for Consular Affairs,
                                           provided to the alien;                                  (c) of this section, to the alien as a                Department of State.
                                              (v) The alien’s parents’ or legal                    beneficiary, whether in the form of cash,             [FR Doc. 2019–22399 Filed 10–10–19; 8:45 am]
                                           guardians’ other children as defined in                 voucher, services, or insurance                       BILLING CODE 4710–06–P
jbell on DSK3GLQ082PROD with RULES3




                                                                                                                          120
                                      VerDate Sep<11>2014   18:48 Oct 10, 2019   Jkt 250001   PO 00000   Frm 00021   Fmt 4701   Sfmt 9990   E:\FR\FM\11OCR3.SGM   11OCR3
                   Case 3:19-cv-01743-SI                      Document 91             Filed 11/21/19            Page 122 of 125

                                                                 U.S. Department of State                                        OMB CONTROL NO. 1405-XXXX
                                                                                                                                 EXPIRES: XX/XX/20XX
                                                PUBLIC CHARGE QUESTIONNAIRE                                                      ESTIMATED BURDEN: 60 Minutes

PART 1 - INFORMATION ABOUT YOU




                                          DRAFT
1. Your Current Legal Name (Do not provide a nickname)
Family Name (Last Name)                                   Given Name (First Name)                                   Middle Name

2. Date of Birth (mm-dd-yyyy)


3. Have you ever been to the United States before?
        Yes             No

PART 2 - YOUR HEALTH
4. Do you currently have health insurance coverage in the United States?
        Yes             No

If you answered "Yes" to Item number 4, attach evidence of health insurance and skip to Part 3.
If you answered "No" to Item number 4, proceed to Item A.
4A. Will you be covered by health insurance in the United States within 30 days of your entry into the United States?
        Yes             No

If you answered "yes" to Item A, identify the specific health insurance plan and date coverage will begin.




PART 3 - YOUR HOUSEHOLD SIZE
5. What is your expected household size in the United States? Household size includes anyone physically residing with you, any dependents for whom
you are responsible for at least 50% of their livelihood, and any individual who provides at least 50% of your financial support or who listed you as a
dependent on his or her United States tax return. List expected members of your household in the table below. If you need additional space to
complete any item number in this Part, use the space provided in Part 8, Additional Information.
                                                                                                                                  On active duty, other than
                                                                                                                 United States
                                                                                                                                  training, in the U.S. Armed
                       Name                             Age     Relationship to you           Current Job           Citizen
                                                                                                                                  Forces or Ready Reserve?
                                                                                                                   (yes / no)
                                                                                                                                            (yes / no)




PART 4 - YOUR ASSETS, RESOURCES, AND FINANCIAL STATUS
6. List below all U.S. federal tax returns you have filed within the last three years and attach your IRS transcript (or copy of the complete, filed tax
return) for your most recent U.S. federal tax return.
                 Federal Tax Year                        Did you file a Federal tax return?                       Gross Income (U.S. dollars)




                                          DRAFT
                                                                Yes                 No


                                                                Yes                 No


                                                                Yes                 No


                                                                Yes                 No

7. Did you work in the United States in the last three years but not file a U.S. federal tax return?
        Yes             No

If you answered "yes", explain.




DS-5540                                                                                                                                           Page 1 of 4
09-2019


                                                                           121
                    Case 3:19-cv-01743-SI                     Document 91             Filed 11/21/19           Page 123 of 125

8. Income
8A. What is your current salary in U.S. dollars? 8B. If you currently have a job awaiting your arrival in the United States, who is the employer and
                                                 what is the annual salary in U.S. dollars?




                                           DRAFT
8C. List below any income not listed above that you will continue to receive after your arrival in the United States (for example, rent, stock dividends,
foreign pension, child support). Consular Officers may request additional information or evidence for confirmation.




                                                        How often do you receive this income? (annually,
                  Type of Income                                                                                       Amount (U.S. Dollars)
                                                                        monthly, etc.)




                                                                                                   Total

9. List the assets available to you in the table below. For example, cash assets may include checking and savings accounts, etc. Non-cash assets may
include equity in real estate, annuities, securities, etc.

                                   Type of Asset                                                 Location of Asset               Amount (U.S. Dollars)




                                                                              Total

10. List your liabilities and/or debts in the table below.


                                          Type of Liability or Debt                                                    Amount (U.S. Dollars)




                                           DRAFT
                                                                                                   Total

DS-5540                                                                                                                                        Page 2 of 4




                                                                            122
                     Case 3:19-cv-01743-SI                         Document 91               Filed 11/21/19             Page 124 of 125

11. For purposes of this form, a public benefit means any of the following forms of assistance received on or after October 15, 2019: 1) Any Federal,
state, local, or tribal cash assistance for income maintenance, including supplemental security income (SSI) and Temporary Assistance for Needy
Families (TANF); 2) Supplemental Nutrition Assistance Program (SNAP); 3) Housing Choice Voucher Program; 4) Project-Based Rental Assistance
(including Moderate Rehabilitation); 5) Subsidized Housing; or 6) Medicaid, except for benefits received for an emergency medical condition, services




                                             DRAFT
or benefits funded by Medicaid but provided under the Individuals with Disabilities Education Act (IDEA), school-based services or benefits provided to
individuals of secondary school age, benefits received by an alien under 21 years of age, or benefits received by a woman during pregnancy or during
the 60-day period beginning on the last day of the pregnancy.

Have you requested or received public benefits in the United States from a Federal, state, local, or tribal government entity on or after October 15,
2019?
         Yes                No          If you answered "Yes," provide the information below.

          Type of Benefit                                                                   Agency That Grants The Benefit
 11A.

Date Benefit Was            Date Benefit Ended or         Reason For Requesting or Receiving The Benefit
Granted (mm-dd-yyyy)        Expires (mm-dd-yyyy)

          Type of Benefit                                                                   Agency That Grants The Benefit
 11B.

Date Benefit Was            Date Benefit Ended or         Reason For Requesting or Receiving The Benefit
Granted (mm-dd-yyyy)        Expires (mm-dd-yyyy)

          Type of Benefit                                                                   Agency That Grants The Benefit
 11C.

Date Benefit Was            Date Benefit Ended or         Reason For Requesting or Receiving The Benefit
Granted (mm-dd-yyyy)        Expires (mm-dd-yyyy)


12. Are you likely to request or receive any of the public benefits described in Question 11 in the future in the United States from any Federal, state,
local, or tribal government entity?
         Yes                No

If you answered "Yes," provide an explanation.


13. Have you ever received a fee waiver when applying for an immigration benefit from USCIS?
         Yes                No

If you answered "Yes," provide the information in the table below. In Part 8. Additional Information, explain the circumstances that caused you to apply
for a fee waiver and if those circumstances have changed.



Date Fee Waiver Received (mm/dd/yyyy)                       Type of Immigrant Benefit (Form Number)               Receipt Number




PART 5 - YOUR EDUCATION AND SKILLS
14. Have you graduated high school or earned a high school equivalent diploma?
         Yes                No          If you answered "No," then list the highest grade completed.

                                        If you answered "Yes," list any other educational degrees you have earned..




                                             DRAFT
15. Do you have any occupational skills?
         Yes                No          If you answered "Yes," provide the information below.

          Certification/License Type/Occupational Skill                                                           Date Obtained (mm/dd/yyyy)
 15A.

Who issued your license? (if any)                           License Number (if any)                               Expiration/Renewal Date (if any)


          Certification/License Type/Occupational Skill                                                           Date Obtained (mm/dd/yyyy)
 15B.

Who issued your license? (if any)                           License Number (if any)                               Expiration/Renewal Date (if any)


          Certification/License Type/Occupational Skill                                                           Date Obtained (mm/dd/yyyy)
 15C.

Who issued your license? (if any)                           License Number (if any)                               Expiration/Renewal Date (if any)



DS-5540
                                                                                      123                                                            Page 3 of 4
                      Case 3:19-cv-01743-SI                        Document 91                  Filed 11/21/19               Page 125 of 125

PART 6 - TRANSLATOR
16. Did you use a translator to help you complete this form? (If yes, provide the following information about the translator you used.)
         Yes               No




                                               DRAFT
16A. Translator's Name
Family Name (Last Name)                                          Given Name (First Name)                                          Middle Name

16B. Translator's Business or Organization name? (if any)


16C. Translator's Street Address                                                          16D. Translator's City


                                                                                          16E. Translator's State/Province


                                                                                          16F. Translator's Postal/Zip Code               16G. Translator's Country


16H. Translator's Phone Number                              16I. Translator's Email Address


PART 7 - PREPARER
17. Did anyone, other than a translator, help you complete this form? (If yes, provide the following information about the preparer you used.)
         Yes               No

17A. Preparer's Name
Family Name (Last Name)                                          Given Name (First Name)                                          Middle Name

17B. Preparer's Business or Organization name? (if any)


17C. Preparer's Street Address                                                            17D. Preparer's City


                                                                                          17E. Preparer's State/Province


                                                                                          17F. Preparer's Postal/Zip Code                 17G. Preparer's Country


17H. Preparer's Phone Number                                17I. Preparer's Email Address


PART 8 - ADDITIONAL INFORMATION (if needed)
If further space is required, attach additional sheets. Please ensure you specify to what question(s) you are responding.
PART 9 - DECLARANT'S SIGNATURE
I understand all the information I have provided in, or in support of, this application may be provided to other U.S. government agencies authorized to use such information
for purposes including enforcement of the laws of the United States. I understand all of the information contained in this form and I certify under penalty of perjury under the
laws of the United States of America that the foregoing is complete, true, and correct. I understand that any willfully false or misleading statement or willful concealment of a
material fact made by me herein may result in refusal of the visa, denial of admission to the United States, and may subject me to criminal prosecution and/or removal from
the United States.




                                               DRAFT
                                               Signature                                                                                    Date



                                            Name (Printed)

Federal Agency Disclosure and Authorizations

PAPERWORK REDUCTION ACT STATEMENT:
   Public reporting burden for this collection of information is estimated to average 60 minutes per response, including time required for searching existing data sources,
gathering the necessary documentation, providing the information and/or documents required, and reviewing the final collection. You do not have to supply this information
unless this collection displays a currently valid OMB control number. If you have comments on the accuracy of this burden estimate and/or recommendations for reducing it,
please send them to: PRA_BurdenComments@state.gov.

CONFIDENTIALITY STATEMENT:
  INA Section 222(f) provides that visa issuance and refusal records shall be considered confidential and shall be used only for the formulation, amendment,
administration, or enforcement of the immigration, nationality, and other laws of the United States. Visa records may be disclosed in certain situations, as described in INA
Section 222(f), including disclosure to a court as needed in a case pending before the court.

DS-5540                                                                                                                                                            Page 4 of 4


                                                                                    124
